Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 1 of 159
Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 2 of 159
Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 3 of 159
Rnponr oF THE PnocBBDINGS
oF THE Juorcra.r CoNTBRENCE
oF THE UNrrBn SrarBs


September 14,2010


                      The Judicial Conference of the United States convened in Washington,
             D.C., on September 14,2010, pursuant to the call of the Chief Justice of the
             United States issued under 28 U.S.C. $ 33 1. The Chief Justice presided, and
             the following members of the Conference were present:

                    First Circuit:

                                Chief Judge Sandra L. Lynch
                                Chief Judge Mark L. Wolf,
                                       District of Massachuseffs

                    Second Circuit:

                                Chief Judge Dennis Jacobs
                                Chief Judge William K. Sessions III,
                                       District of Vermont

                    Third Circuit:

                               Chief Judge Theodore A. McKee
                               Chief Judge Harvey Bartle III,
                                      Eastern District of Pennsylvania
                    Fourth Circuit:

                                Chief Judge William B. Traxler, Jr.
                                Judge James P. Jones,
                                       Westem District of Virginia

                    Fifth Circuit:

                                Chief Judge Edith Hollan Jones
                                Judge Sim Lake III,
                                       Southern District of Texas




   Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 4 of 159
Judicial Conference of the United States                                            September 14, 2010



                               Sixth Circuit:

                                           Chief Judge Alice M. Batchelder
                                           Chief Judge Solomon Oliver, Jr.,
                                                  Northern District of Ohio

                               Seventh Circuit:

                                           Chief Judge Frank H. Easterbrook
                                           Chief Judge Richard L. Young,
                                                  Southern District of Indiana

                               Eighth Circuit:

                                           Chief Judge William Jay Riley
                                           Judge Rodney W. Sippel,
                                                  Eastern District of Missouri

                               Ninth Circuit:

                                           Chief Judge Alex Kozinski
                                           Judge Charles R. Breyer,
                                                  Northern District of California

                               Tenth Circuit:

                                           Chief Judge Mary Beck Briscoe
                                           Judge Robin J. Cauthron,
                                                  Western District of Oklahoma

                               Eleventh Circuit:

                                           Chief Judge Joel F. Dubina
                                           Judge Myron H. Thompson,
                                                  Middle District of Alabama

                               District of Columbia Circuit:

                                           Chief Judge David Bryan Sentelle
                                           Chief Judge Royce C. Lamberth,
                                                  District of Columbia

                                                               2


        Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 5 of 159
Judicial Conference of the United States                                             September 14, 2010




                                Federal Circuit:

                                           Chief Judge Randall R. Rader

                                Court of International Trade:

                                           Chief Judge Jane A. Restani

                               The following Judicial Conference committee chairs attended the
                       Conference session: Circuit Judges Bobby R. Baldock, Julia Smith Gibbons,
                       Michael S. Kanne, M. Margaret McKeown, Jeffrey S. Sutton, and Richard C.
                       Tallman, and District Judges Julie E. Carnes, Rosemary M. Collyer, Janet C.
                       Hall, Robert L. Hinkle, D. Brock Hornby, George H. King, Mark R. Kravitz,
                       Barbara M.G. Lynn, J. Frederick Motz, Donald C. Pogue, Michael A. Ponsor,
                       Julie A. Robinson, Lee H. Rosenthal, Charles R. Simpson III, George Z.
                       Singal, and Laura Taylor Swain. Bankruptcy Judge Rosemary Gambardella
                       and Magistrate Judge Anthony J. Battaglia were also in attendance, and
                       Collins Fitzpatrick of the Seventh Circuit represented the circuit executives.

                               James C. Duff, Director of the Administrative Office of the United
                       States Courts, attended the session of the Conference, as did Jill C. Sayenga,
                       Deputy Director; William R. Burchill, Jr., Associate Director and General
                       Counsel; Laura C. Minor, Assistant Director, and Wendy Jennis, Deputy
                       Assistant Director, Judicial Conference Executive Secretariat; Cordia
                       A. Strom, Assistant Director, Legislative Affairs; and David A. Sellers,
                       Assistant Director, Public Affairs. District Judge Barbara Jacobs Rothstein,
                       Director, and John S. Cooke, Deputy Director, Federal Judicial Center, and
                       Judith W. Sheon, Staff Director, United States Sentencing Commission, were
                       in attendance at the session of the Conference, as was Jeffrey P. Minear,
                       Counselor to the Chief Justice. Scott Harris, Supreme Court Counsel, and the
                       2010-2011 Supreme Court Fellows also observed the Conference proceedings.

                               Acting Deputy Attorney General Gary Grindler addressed the
                       Conference on matters of mutual interest to the judiciary and the Department
                       of Justice. Senators Patrick Leahy and Jeff Sessions spoke on matters pending
                       in Congress of interest to the Conference.




                                                                3


         Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 6 of 159
Judicial Conference of the United States                                              September 14, 2010



             R EPORTS
                              Mr. Duff reported to the Conference on the judicial business of the
                      courts and on matters relating to the Administrative Office (AO). Judge
                      Rothstein spoke to the Conference about Federal Judicial Center (FJC)
                      programs, and Chief Judge Sessions, in his capacity as Chair of the United
                      States Sentencing Commission, reported on Sentencing Commission
                      activities. Judge Gibbons, Chair of the Committee on the Budget, presented a
                      special report on the budget outlook.


             E XECUTIVE C OMMITTEE

                      RESOLUTION

                              The Judicial Conference approved a recommendation of the Executive
                      Committee to adopt the following resolution recognizing the substantial
                      contributions made by the Judicial Conference committee chairs whose terms
                      of service end in 2010:

                                    The Judicial Conference of the United States recognizes
                               with appreciation, respect, and admiration the following
                               judicial officers:

                                         HONORABLE DONALD C. POGUE
                               Committee on Audits and Administrative Office Accountability

                                       HONORABLE BARBARA M. G. LYNN
                                 Committee on the Administration of the Bankruptcy System

                                               HONORABLE JULIE E. CARNES
                                                 Committee on Criminal Law

                                           HONORABLE CHARLES R. SIMPSON III
                                           Committee on International Judicial Relations

                                           HONORABLE LAURA TAYLOR SWAIN
                                            Advisory Committee on Bankruptcy Rules




                                                                4


        Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 7 of 159
Judicial Conference of the United States                                               September 14, 2010



                                            HONORABLE ROBERT L. HINKLE
                                           Advisory Committee on Rules of Evidence

                                Appointed as committee chairs by the Chief Justice of the
                                United States, these outstanding jurists have played a vital role
                                in the administration of the federal court system. These judges
                                served with distinction as leaders of their Judicial Conference
                                committees while, at the same time, continuing to perform their
                                duties as judges in their own courts. They have set a standard
                                of skilled leadership and earned our deep respect and sincere
                                gratitude for their innumerable contributions. We acknowledge
                                with appreciation their commitment and dedicated service to
                                the Judicial Conference and to the entire federal judiciary.


                       JUDICIARY STRATEGIC PLANNING

                               In 2008, with the permission of the Chief Justice, the Executive
                       Committee formed an Ad Hoc Advisory Committee on Judiciary Planning to
                       propose a new planning process for the federal judiciary. The group, which
                       was comprised of current and former Conference committee chairs and
                       members of the Executive Committee, as well as court executives, also took
                       on the role of developing a new strategic plan that would potentially replace
                       the Long Range Plan for the Federal Courts adopted by the Conference in
                       1995 (see JCUS-SEP 95, pp. 38-63). After two years of work and extensive
                       consultation within the judiciary, in August 2010, the Ad Hoc Advisory
                       Committee proposed a strategic plan that was intended to serve as a broad
                       action agenda addressing judiciary trends, issues, challenges, and
                       opportunities. Beginning with restatements of the vision, mission, and core
                       values of the judiciary, the plan identifies seven key issues and sets forth 13
                       strategies and more than 30 goals by which the judiciary could address those
                       issues. The Ad Hoc Advisory Committee also made several recommendations
                       with regard to an approach to planning.

                              On recommendation of the Executive Committee, and after discussion,
                       the Judicial Conference approved the proposed Strategic Plan for the Federal
                       Judiciary, as well as a recommended approach to planning, both with minor
                       changes recommended by the Executive Committee on the Conference floor.
                       With regard to the planning approach, the Conference agreed that—




                                                               5


         Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 8 of 159
Judicial Conference of the United States                                              September 14, 2010



                      a.       The Executive Committee chair may designate for a two-year
                               renewable term an active or senior judge, who will report to that
                               Committee, to serve as the judiciary planning coordinator. The
                               planning coordinator will have responsibility to facilitate and
                               coordinate the strategic planning efforts of the Judicial Conference and
                               its committees.

                      b.       With suggestions from Judicial Conference committees and others, and
                               the input of the judiciary planning coordinator, the Executive
                               Committee will identify issues, strategies, or goals to receive priority
                               attention over the next two years.

                      c.       The committees of the Judicial Conference will integrate the Strategic
                               Plan for the Federal Judiciary into committee planning and policy
                               development activities.

                      d.       For every goal in the Strategic Plan, a mechanism to measure or assess
                               the judiciary's progress will be developed.

                      e.       Any substantive changes to the Strategic Plan will require the approval
                               of the Judicial Conference, but the Executive Committee will have the
                               authority, as needed, to approve technical and non-controversial
                               changes to the Strategic Plan. A review of the Strategic Plan will take
                               place every five years.

                      f.       The new Strategic Plan for the Federal Judiciary will supersede the
                               December 1995 Long Range Plan for the Federal Courts as a planning
                               instrument to guide future policy-making and administrative actions
                               within the scope of Conference authority. This action, however,
                               should not be interpreted as an across-the-board rescission of the
                               individual Conference policies articulated in the recommendations and
                               implementation strategies of the earlier plan.


                      MISCELLANEOUS ACTIONS

                               The Executive Committee —

                      •        Approved a statement on behalf of the Conference in reaction to
                               pending legislation – as it related to the judiciary – that would have
                               clarified the Government Accountability Office’s (GAO’s) ability to

                                                               6


        Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 9 of 159
Judicial Conference of the United States                                               September 14, 2010



                                enforce its existing authority to see records and expanded its interview
                                authority, as well as its power to make and retain copies of agency
                                records; and endorsed pursuit of formal protocols for GAO’s
                                interactions with the judiciary;

                       •        Declined to recommend action by the Judicial Conference on a request
                                for Conference review of a Judicial Conduct and Disability Act
                                complaint that had been dismissed and for which the petition for
                                review had been denied by the Committee on Judicial Conduct and
                                Disability, on delegation from the Conference;

                       •        Pending final congressional action on the judiciary's appropriations for
                                fiscal year (FY) 2011, approved FY 2011 interim financial plans for
                                the Salaries and Expenses, Defender Services, Court Security, and
                                Fees of Jurors and Commissioners accounts, and endorsed a strategy
                                for distributing court allotments among the court programs;

                       •        Discussed challenges faced by the judiciary with regard to its
                                courthouse construction program and decided to form an ad hoc group
                                of judges to discuss how the judiciary should approach these
                                challenges; and endorsed a letter to be sent by the Director of the
                                Administrative Office on behalf of the judiciary to the President
                                regarding FY 2012 funding for new federal courthouse construction
                                projects.


              C OMMITTEE ON A UDITS AND
              A DMINISTRATIVE O FFICE A CCOUNTABILITY

                       COMMITTEE ACTIVITIES

                               The Committee on Audits and Administrative Office Accountability
                       reported that it was briefed on the scope, methodology, findings, and
                       identified risks in recent audits. It also reviewed an analysis of audit data over
                       the past ten years, which showed a downward trend in the average number of
                       audit findings since the implementation of numerous enhancements to the
                       judiciary's financial management, audit, and internal control programs over the
                       last decade. Noting that the minority of court units which do not complete
                       annual internal control evaluations tend to have more audit findings, the
                       Committee asked the AO to consider how best to encourage those courts to


                                                               7


        Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 10 of 159
Judicial Conference of the United States                                               September 14, 2010



                      complete the annual self-evaluations. The Committee selected two AO
                      employees to receive the Leonidas Ralph Mecham Award for Exemplary
                      Service to the Courts, and the Committee determined to expand the award’s
                      scope to recognize career excellence and outstanding leadership.


             C OMMITTEE ON THE A DMINISTRATION
             OF THE B ANKRUPTCY S YSTEM

                      BANKRUPTCY JUDGESHIP VACANCIES

                              In accordance with 28 U.S.C. § 152(b)(3), the Judicial Conference
                      conducts a comprehensive review of all judicial districts every other year to
                      assess the continuing need for authorized bankruptcy judgeships. By
                      December 31 of each even-numbered year, the Conference reports its
                      recommendations to Congress for the elimination of any authorized
                      bankruptcy judgeship position that can be eliminated when a vacancy exists by
                      reason of resignation, retirement, removal, or death. On recommendation of
                      the Bankruptcy Committee, which relied on the results of the 2010 continuing
                      needs survey, the Judicial Conference agreed to take the following actions:

                      a.       Recommend to Congress that no bankruptcy judgeship be statutorily
                               eliminated; and

                      b.       Advise the Eighth Circuit Judicial Council with regard to the District
                               of South Dakota and the Northern District of Iowa and the Ninth
                               Circuit Judicial Council with regard to the District of Alaska to
                               consider not filling vacancies in those districts that currently exist or
                               may occur by reason of resignation, retirement, removal, or death, until
                               there is a demonstrated need to do so.


                      CRITERIA FOR ADDITIONAL BANKRUPTCY JUDGESHIPS

                              In March 1991, the Judicial Conference adopted a policy statement
                      regarding the standards to be used for considering requests for additional
                      bankruptcy judgeships. At the same time, the Conference adopted bankruptcy
                      case weights developed by the Federal Judicial Center to be used in
                      administering those standards (JCUS-MAR 91, pp. 12-13). The Federal
                      Judicial Center recently developed new case weights that reflect the effects of

                                                               8


       Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 11 of 159
Judicial Conference of the United States                                               September 14, 2010


                       economic, technological, and legislative developments since 1991 (such as the
                       enactment of the Bankruptcy Abuse Prevention and Consumer Protection Act
                       of 2005) on the judicial time needed to process bankruptcy cases. The
                       Committee recommended that the Conference adopt the new case weights to
                       be used for assessing judgeship needs. The Committee also recommended
                       that the Conference revise the 1991 policy statement to (a) make non-
                       substantive changes to the standards for evaluating additional bankruptcy
                       judgeship needs; (b) add standards for evaluating requests for conversion of
                       temporary judgeships to permanent; and (c) incorporate the standards the
                       Conference has approved for use in the biennial continuing needs surveys.
                       The Conference approved the Committee’s recommendations.


                       OFFICIAL DUTY STATIONS

                              On recommendation of the Bankruptcy Committee and in accordance
                       with 28 U.S.C. § 152(b)(1), the Judicial Conference took the following actions
                       regarding official duty stations:

                       a.       Approved a request from the Ninth Circuit Judicial Council to
                                designate in the Central District of California Santa Ana as the duty
                                station for two of the vacant bankruptcy judgeships in that district and
                                Riverside as the duty station for the four bankruptcy judges currently
                                serving at that location; and

                       b.       Approved a request from the Second Circuit Judicial Council to
                                designate Burlington as the duty station for the bankruptcy judgeship
                                in the District of Vermont.


                       BANKRUPTCY ADMINISTRATOR REGULATIONS

                                On recommendation of the Bankruptcy Committee, the Judicial
                       Conference approved revisions to the Regulations of the Judicial Conference
                       of the United States Governing the Bankruptcy Administrator Program that
                       clarify language and consolidate sections that were duplicative. The
                       regulations appear in Volume 9, Chapter 2, of the Guide to Judiciary Policy.




                                                                9


        Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 12 of 159
Judicial Conference of the United States                                              September 14, 2010




                      COMMITTEE ACTIVITIES

                              The Committee on the Administration of the Bankruptcy System
                      reported that it agreed unanimously to recommend to the Budget Committee
                      that funding in FY 2012 for recalled bankruptcy judges and temporary law
                      clerks remain at the FY 2011 projected current services levels. At the request
                      of the Budget Committee, the Bankruptcy Committee also discussed the
                      programmatic impact of a proposal to lower the budget cap for the Salaries
                      and Expenses account, and had no objection to the proposal.


             C OMMITTEE ON THE B UDGET

                      FISCAL YEAR 2012 BUDGET REQUEST
                              .
                              After careful consideration of the funding levels proposed by the
                      program committees, the Committee on the Budget recommended to the
                      Judicial Conference a fiscal year 2012 budget request to Congress that is
                      4.7 percent above assumed appropriations for FY 2011. This request contains
                      funding to meet the essential, increasing workload needs of the judiciary while
                      taking into consideration the limited funding that Congress is likely to have
                      available. The Conference approved the budget request subject to
                      amendments necessary as a result of (a) new legislation, (b) actions of the
                      Judicial Conference, or (c) any other reason the Executive Committee
                      considers necessary and appropriate.


                      COMMITTEE ACTIVITIES

                              The Committee on the Budget reported that in light of the current and
                      projected austere fiscal outlook, its FY 2012 budget recommendation would
                      provide funding for only what is essential to support the judiciary's mission.
                      In addition, noting that it expects that budgets in the next several cycles will
                      be tighter than in the current cycle, the Budget Committee asked
                      Administrative Office staff to develop alternative budget cap proposals that
                      are lower than the current 8.2 percent annual budget cap for the Salaries and
                      Expenses account adopted by the Judicial Conference in March 2007
                      (JCUS-MAR 07, p. 10). Any proposals will be provided to the program
                      committees in advance of their December 2010 meetings for their input. The
                      Budget Committee commended the program committees for their

                                                             10


       Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 13 of 159
Judicial Conference of the United States                                                  September 14, 2010


                       cost-containment initiatives to date and noted that the long-term financial
                       health of the judiciary will be aided by future cost-containment efforts that
                       provide tangible cost savings or avoidances.


              C OMMITTEE ON C ODES OF C ONDUCT

                       COMMITTEE ACTIVITIES

                               The Committee on Codes of Conduct reported that since its last report
                       to the Judicial Conference in March 2010, the Committee received 17
                       new written inquiries and issued 17 written advisory responses. During this
                       period, the average response time for requests was 22 days. In addition, the
                       Committee chair responded to 159 informal inquiries, individual Committee
                       members responded to 133 informal inquiries, and Committee counsel
                       responded to 358 informal inquiries.


              C OMMITTEE ON C OURT A DMINISTRATION
              AND C ASE M ANAGEMENT

                       CAMERAS IN THE COURTROOM PILOT PROJECT

                               On recommendation of the Committee on Court Administration and
                       Case Management, the Judicial Conference authorized a pilot project to
                       evaluate the effect of cameras in district court courtrooms, of video recordings
                       of proceedings therein, and of publication of such video recordings. The pilot
                       project will proceed in accordance with the tenets outlined below, and is
                       subject to definition and review by the Committee. In addition, the
                       Committee will request that a study of the pilot be conducted by the Federal
                       Judicial Center.

                       a.       The pilot will be national in scope and consist of up to 150 individual
                                judges from districts chosen to participate by the Federal Judicial
                                Center, in consultation with the Court Administration and Case
                                Management Committee. The pilot project should include a national
                                survey of all district judges, whether or not they participate in the pilot,
                                to determine their views on cameras in the courtroom.                   .




                                                                11


        Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 14 of 159
Judicial Conference of the United States                                                 September 14, 2010


                      b.       The pilot will last up to three years, with interim reports prepared by
                               the Federal Judicial Center after the first and second years.

                      c.       The pilot will be limited to civil cases only.

                      d.       Courts participating in the pilot will record proceedings, and
                               recordings by other entities or persons will not be allowed.

                      e.       Parties in a trial must consent to participating in the pilot.

                      f.       Recording of members of a jury will not be permitted at any time.

                      g.       Courts participating in the pilot should – if necessary – amend their
                               local rules (providing adequate public notice and opportunity to
                               comment) to provide an exception for judges participating in the
                               Judicial Conference-authorized pilot project.

                      h.       The Court Administration and Case Management Committee is
                               authorized to issue and amend guidelines to assist the pilot
                               participants.

                      I.       The Administrative Office is authorized to provide funding to the
                               courts with participating judges – if needed – for equipment and
                               training necessary to participate in the pilot.


                      PACER ACCESS TO CERTAIN BANKRUPTCY FILINGS

                               Under the Judicial Conference policy on privacy and public access to
                      electronic case files, bankruptcy filings should include only the last four digits
                      of filers’ social security numbers on their petitions and other public documents
                      (JCUS-SEP/OCT 01, pp. 48-50). However, documents filed prior to
                      implementation of the policy in 2003 are still available on the Public Access
                      to Court Electronic Records (PACER) system and contain the debtors’ full
                      social security numbers, creating privacy concerns. To address those
                      concerns, on recommendation of the Committee, the Judicial Conference
                      agreed to amend its privacy policy to restrict public access through PACER to
                      documents in bankruptcy cases that were filed before December 1, 2003 and
                      have been closed for more than one year, with the following conditions:




                                                                12


       Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 15 of 159
Judicial Conference of the United States                                                September 14, 2010


                       a.       The docket sheet and docket information would remain available to the
                                general public via PACER.

                       b.       Any party who has filed a notice of appearance in an individual case
                                would have Case Management/Electronic Case Files (CM/ECF)
                                system or PACER access to all filings in that case.

                       c.       All filings in such cases would remain accessible at the clerks' offices,
                                except those under seal.

                       d.       Access to documents in bankruptcy case appeals filed in the district
                                courts, bankruptcy appellate panels, or courts of appeals for
                                bankruptcy cases filed before December 1, 2003, would be similarly
                                restricted.

                       The Conference also agreed to delegate to the Court Administration and Case
                       Management Committee the authority to develop implementation guidance for
                       the courts to effectuate this policy. This guidance will include encouraging
                       courts to establish a method to accept requests for copies of documents in
                       these cases.


                       CENTRAL VIOLATIONS BUREAU
                       PETTY OFFENSE CASES

                               Petty offense cases committed on federal property are processed by the
                       judiciary’s Central Violations Bureau (CVB). In order to facilitate
                       management of such cases, the Administrative Office is working to integrate
                       CVB data into the CM/ECF system and make such cases accessible through
                       PACER. However, because standard CVB violation notices contain personal
                       identifiers such as social security numbers, full birth dates, and full home
                       addresses, the Committee recommended that the Conference endorse the
                       approach of providing courts with redacted and unredacted versions of the
                       CVB violation notice, with participant access to the unredacted version, and
                       public access through PACER to the redacted version. The Conference
                       adopted the Committee’s recommendation.




                                                               13


        Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 16 of 159
Judicial Conference of the United States                                                    September 14, 2010




                      RECORDS MANAGEMENT

                               The Committee recommended that the Judicial Conference adopt a
                      revised district court records disposition schedule for civil cases that sets
                      retention periods for non-trial civil cases largely by case type. Under this
                      schedule, it is estimated that half of the closed case files currently in storage at
                      federal retention centers (for which storage fees are charged) would be
                      immediately eligible for disposal, which would lead to reductions in storage
                      fees. The Conference adopted the revised retention schedule.


                      PACER TRAINING PROGRAM

                              In September 2007, the Judicial Conference approved a pilot project to
                      provide free public access to PACER at Federal Depository Libraries (FDLs)
                      (JCUS-SEP 07, pp. 12-13). However, that program was suspended when a
                      PACER security vulnerability was discovered. At this session, the Committee
                      recommended, and the Conference approved, the establishment of a program
                      involving the Government Printing Office, the American Association of Law
                      Libraries, and the Administrative Office, that would provide training and
                      education to the public about the PACER service, and would exempt from
                      billing the first $50 of quarterly usage by a library participating in the
                      program.


                      COURT LIBRARIES AND LIBRARY SERVICES

                              At the request of the Committee, the Administrative Office undertook
                      a comprehensive study of court libraries and library services focusing on the
                      role for libraries in the digital age, options for change, and consideration of
                      potential savings. Based on the results of that study, and after receiving
                      significant input from circuit librarians, subject matter experts, judges, and
                      legal researchers, among others, the Committee made a number of
                      recommendations, which were approved by the Conference as follows:

                      a.       With regard to library collections, agreed to—

                               (1)         Ask that the Committee establish guidelines to discourage
                                           maintaining subscriptions to regional reporters, state case law
                                           reporters, and specialty reporters in libraries and advise circuit

                                                                   14


       Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 17 of 159
Judicial Conference of the United States                                                    September 14, 2010


                                           librarians to consider significantly reducing the number of
                                           subscriptions to the federal reporters in staffed libraries,
                                           especially West’s Federal Supplement. If there is a concern
                                           that legal research services for the public/litigants or bar would
                                           be hindered if case law reporters are not available in the library,
                                           the local court(s) should consider using attorney admission
                                           funds to maintain the subscriptions.

                                (2)        Request that the circuit librarians conduct and lead a
                                           comprehensive assessment of usage and need in the
                                           headquarters library and each satellite library or shared
                                           collection. The assessment should involve local judges, legal
                                           researchers, and any relevant circuit library committees;
                                           consider if infrequently used categories of materials identified
                                           by the library survey results could be eliminated; and include
                                           an analysis of duplication. A summary of the assessment
                                           should be reported to the Committee.

                                (3)        Ask that the Committee establish guidelines discouraging
                                           subscriptions to case law reporters for newly appointed judges
                                           and existing judges.

                       b.       With regard to the number and size of libraries, agreed to request that
                                the circuit judicial councils, working with circuit librarians, library
                                committees, and relevant judges, review satellite libraries to assess the
                                continuing need for each library. In addition, they should review more
                                closely libraries that serve fewer than 10 judges and report to this
                                Committee whether those libraries will remain open or are targeted
                                either for closure or reduction in size and collection. Consideration
                                should be given to the circuit library program as a whole and the
                                impact of closure of any satellite on the remaining libraries and the
                                judges and others served.


                       NATIONAL VACCINE ACT PROPOSAL

                               The National Childhood Vaccine Injury Act of 1986 establishes a
                       procedure to compensate vaccine-injured individuals through use of vaccine
                       special masters within the United States Court of Federal Claims. Special
                       masters conduct hearings and issue findings of fact and conclusions of law,
                       and their determinations are appealable to Court of Federal Claims judges and


                                                                   15


        Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 18 of 159
Judicial Conference of the United States                                              September 14, 2010


                      then to the Court of Appeals for the Federal Circuit. To address significant
                      backlogs in processing these cases, the Court of Federal Claims has proposed
                      legislation that would (a) assign vaccine claims directly to Court of Federal
                      Claims judges, who could then hear the cases or refer them to vaccine judges;
                      (b) rename vaccine special masters as vaccine judges; (c) authorize vaccine
                      judges to issue a recommended decision, or with the consent of the parties,
                      hear and enter judgement; (d) with the consent of the parties, authorize appeal
                      of the vaccine judge’s decision directly to the Court of Appeals for the Federal
                      Circuit; and (e) authorize the Court of Federal Claims clerk instead of the
                      chief special master to assume responsibility for the managerial aspects of the
                      vaccine judges. After considering the proposal, the Committee recommended
                      that the Judicial Conference decline to endorse renaming vaccine special
                      masters as vaccine judges in light of the limited jurisdiction of those officers,
                      but endorse the remaining concepts proposed by the Court of Federal Claims.
                      The Conference adopted the Committee’s recommendations.


                      TRANSLATED FORMS

                               The Judicial Conference declined to approve a motion to recommit an
                      information item regarding the translation of court forms for voluntary use by
                      district courts in civil cases.


                      COMMITTEE ACTIVITIES

                              The Committee on Court Administration and Case Management
                      reported that given the current economic climate, it determined to defer until
                      June 2011 its cyclical review of miscellaneous fee schedules regarding
                      increases for inflation. The Committee continued to provide policy guidance
                      and oversight in the development of the functional requirements for the next
                      generation CM/ECF software. It also endorsed an updated policy on wireless
                      communication devices in courthouses and asked for review of the policy by
                      the Judicial Security Committee. In addition, the Committee expressed
                      support for the Codes of Conduct Committee’s recently issued resource packet
                      to assist courts in developing guidelines for employees on the use of social
                      media.




                                                             16


       Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 19 of 159
Judicial Conference of the United States                                             September 14, 2010



              C OMMITTEE ON C RIMINAL L AW

                       SEARCH AND SEIZURE

                               Guidelines. On recommendation of the Committee on Criminal Law,
                       the Judicial Conference approved guidelines entitled, “Search and Seizure
                       Guidelines for United States Probation Officers in the Supervision of
                       Offenders on Supervised Release or Probation,” to replace model search and
                       seizure guidelines adopted in 1993 (JCUS-MAR 93, p. 13). The new
                       guidelines reflect developments in case law, best practices, and updates to
                       administrative policies and procedures.

                               Use-of-Force Policy. In September 2002, the Judicial Conference
                       approved a use-of-force continuum to govern self-defense responses by
                       probation and pretrial services officers (JCUS-SEP 02, p. 44). Noting that
                       certain provisions of that policy might conflict with provisions in the new
                       search and seizure guidelines, the Committee recommended that the
                       Conference approve revisions to the use-of-force policy to allow officers to
                       manage searches as permitted by the new guidelines. The Conference
                       approved the Committee’s recommendation.


                       THE SUPERVISION OF FEDERAL DEFENDANTS,
                       MONOGRAPH 111

                              On recommendation of the Committee, the Judicial Conference
                       approved revisions to Monograph 111, The Supervision of Federal
                       Defendants. The monograph, which provides guidance to officers who
                       supervise defendants on pretrial release, was updated to reflect current
                       knowledge in the field of substance abuse and mental health treatment.


                       COMMITTEE ACTIVITIES

                               The Committee on Criminal Law reported that it discussed the status
                       of the implementation of actuarial risk-needs instruments developed by the
                       AO for use in pretrial and post-conviction supervision, consistent with the
                       Committee’s ongoing commitment to evidence-based practices. In addition,
                       the Committee reviewed the results of several preliminary studies of the



                                                             17


        Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 20 of 159
Judicial Conference of the United States                                           September 14, 2010


                      effectiveness of certain evidence-based practices that have been implemented
                      by the courts.


             C OMMITTEE ON D EFENDER S ERVICES

                      COMMUNITY DEFENDER ORGANIZATION
                      MODEL CODE OF CONDUCT

                              On recommendation of the Committee on Defender Services, the
                      Judicial Conference approved a Model Code of Conduct for Federal
                      Community Defender Employees, which is based on the code of conduct
                      applicable to federal public defender organization employees, but modified
                      appropriately for non-profit criminal defense organizations. The Conference
                      also approved a new paragraph to be added to the community defender
                      organization (CDO) grant and conditions document that requires CDOs to
                      adopt the code, absent an approved variance from the AO. Finally, the
                      Conference delegated to the Defender Services Committee the authority to
                      make future adjustments to the CDO code that are substantially in accord with
                      the code of conduct applicable to federal public defenders.


                      LITIGATION SUPPORT

                              The Committee recommended and the Conference approved revisions
                      to the Criminal Justice Act (CJA) Guidelines, Guide to Judiciary Policy,
                      Volume 7A, § 320.70.40, and the corresponding sample model order, to
                      streamline and clarify the procedures for CJA panel attorneys to request and
                      acquire computer hardware and software for use in CJA representations.


                      COMMITTEE ACTIVITIES

                              The Committee on Defender Services reported that, under delegated
                      authority from the Judicial Conference (JCUS-MAR 89, pp. 16-17), it
                      approved FY 2011 budgets and grants for federal defender organizations. The
                      Committee also approved funding for the establishment of a federal public
                      defender organization in the Northern District of Alabama, to be
                      headquartered in Birmingham, with a staffed branch office in Huntsville and a
                      staffing level of six assistant federal public defenders. The Committee
                      reviewed an update to the 1998 report, “Federal Death Penalty Cases:

                                                           18


       Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 21 of 159
Judicial Conference of the United States                                               September 14, 2010


                       Recommendations Concerning the Cost and Quality of Defense
                       Representation” (the “Spencer Report”), and endorsed updated commentary to
                       the original recommendations and public dissemination of the report, as
                       updated.


              C OMMITTEE ON F EDERAL -S TATE J URISDICTION

                       COMMITTEE ACTIVITIES

                                The Committee on Federal-State Jurisdiction reported that it discussed
                       with the Legal Adviser for the Department of State the position adopted by the
                       Judicial Conference in March 2010 regarding federal legislation to implement
                       the Hague Convention on Choice of Court Agreements. The Committee also
                       reviewed proposed legislation to authorize the High Court of American Samoa
                       to exercise federal criminal jurisdiction, and determined to recommend no
                       change in the 1996 Judicial Conference position expressing a preference for a
                       territorial court in the event Congress chooses to extend federal jurisdiction to
                       the territory. In addition, the Committee reviewed a legislative proposal to
                       establish standards for state court actions on child custody orders affecting
                       military personnel deployed overseas. Noting that the Judicial Conference has
                       opposed legislation that would result in child custody cases being brought in
                       federal court, the Committee asked the AO Director to transmit a letter to
                       Congress suggesting that it consider an amendment to the proposed measure
                       that would clarify the exclusion of such cases from federal courts.


              C OMMITTEE ON F INANCIAL D ISCLOSURE

                       COMMITTEE ACTIVITIES

                               The Committee on Financial Disclosure reported that as of July
                       1, 2010, it had received 4,015 financial disclosure reports and certifications for
                       calendar year 2009, including 1,215 reports and certifications from Supreme
                       Court justices, Article III judges, and judicial officers of special jurisdiction
                       courts; 339 reports from bankruptcy judges; 534 reports from magistrate
                       judges; and 1,927 reports from judicial employees. The Committee continues
                       to oversee the development of a system for the electronic filing and records
                       management of financial disclosure reports. The system will work in
                       conjunction with the financial disclosure report software currently used to
                       produce these reports.

                                                              19


        Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 22 of 159
Judicial Conference of the United States                                             September 14, 2010



              C OMMITTEE ON INFORMATION T ECHNOLOGY

                      LONG RANGE PLAN FOR INFORMATION TECHNOLOGY

                              Pursuant to 28 U.S.C. § 612 and on recommendation of the Committee
                      on Information Technology, the Judicial Conference approved the fiscal year
                      2011 update to the Long Range Plan for Information Technology in the
                      Federal Judiciary. Funds for the judiciary’s information technology program
                      will be spent in accordance with this plan.


                      COMMITTEE ACTIVITIES

                               The Committee on Information Technology reported that it endorsed a
                      number of information technology (IT) program initiatives designed to
                      enhance communication and collaboration with the courts, provide the courts
                      with key IT services and support, and strengthen the reliability and capability
                      of the judiciary’s IT infrastructure. The Committee discussed ongoing
                      initiatives including the next generation CM/ECF architecture study, the
                      development of functional requirements for the next generation CM/ECF
                      system, and the development of an electronic vouchering system for Criminal
                      Justice Act panel attorneys. The Committee received a presentation on how
                      information in digital form is transforming the writing of judicial opinions and
                      discussed the potential implications of this trend.


            C OMMITTEE ON INTERCIRCUIT A SSIGNMENTS

                      COMMITTEE ACTIVITIES

                              The Committee on Intercircuit Assignments reported that 112
                      intercircuit assignments were undertaken by 89 Article III judges from January
                      1, 2010, to June 30, 2010. During this time, the Committee continued to
                      disseminate information about intercircuit assignments and aided courts
                      requesting assistance by identifying and obtaining judges willing to take
                      assignments.




                                                            20


       Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 23 of 159
Judicial Conference of the United States                                               September 14, 2010



              C OMMITTEE ON INTERNATIONAL J UDICIAL R ELATIONS

                       COMMITTEE ACTIVITIES

                               The Committee on International Judicial Relations reported on its
                       involvement in rule of law and judicial reform throughout the world,
                       highlighting activities in Asia and the Pacific Basin, Latin America and the
                       Caribbean, the Middle East, Europe, and Eurasia. The Committee further
                       reported on its participation in the rule of law component of the Library of
                       Congress’ Open World Program for jurists from Russia, Ukraine, Georgia,
                       Kazakhstan, Kyrgyzstan, Moldova, and Tajikistan, and in activities involving
                       the Federal Judicial Center, the Department of State, the Agency for
                       International Development, the Department of Justice, the Patent and
                       Trademark Office, the AO Office of Defender Services, and U.S. court
                       administrators. The Committee also received an analysis of current rule of
                       law and judicial reform issues in Eastern Europe and the Balkans from the
                       Minister of Justice of the Republic of Slovenia.


              C OMMITTEE ON THE J UDICIAL B RANCH

                       JUDGES’ TRAVEL REGULATIONS

                               The Judicial Conference approved an amendment to the Travel
                       Regulations for United States Justices and Judges, Guide to Judiciary Policy,
                       Vol. 19, § 220.30.10(g), to provide that a chief district judge, with the
                       concurrence of the circuit judicial council, may authorize a senior district
                       judge who lives within the territorial boundaries of the court to which the
                       judge was originally commissioned, reimbursement for enhanced
                       transportation, lodging, and subsistence expenses (e.g., airfare, lodging, and
                       three meals per day) when it is in the interest of the administration of justice
                       (e.g., due to a shortage of judge power or case backlog). The amendment is
                       intended to address a situation where the judge’s residence, although within
                       the court’s territorial boundaries, may be located outside the commuting area
                       of the court.




                                                              21


        Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 24 of 159
Judicial Conference of the United States                                               September 14, 2010




                      COMMITTEE ACTIVITIES

                              The Committee on the Judicial Branch reported that it continues to
                      consider ways to maintain and enhance the independence and dignity of the
                      federal judicial office. The Committee also considered steps that may be
                      taken to improve the total compensation of federal judges. The Committee
                      continues to examine ways to improve judicial-legislative communications,
                      and educating the public, especially the media, on the judiciary and the role of
                      judges in society remains a priority of the Committee.


             C OMMITTEE ON J UDICIAL C ONDUCT AND D ISABILITY

                      COMMITTEE ACTIVITIES

                              The Committee on Judicial Conduct and Disability reported that on
                      April 12, 2010, it issued a Memorandum of Decision on a petition for review
                      of a circuit judicial council order on a complaint under the Judicial Conduct
                      and Disability Act, 28 U.S.C. §§ 351-364. In addition, the Committee has
                      issued a set of complaint filing instructions for courts to post online. The
                      Committee continues to address courts’ inquiries and to develop resources and
                      infrastructure in support of the Committee’s responsibilities.


             C OMMITTEE ON J UDICIAL R ESOURCES

                      JUDICIARY SALARY PLAN PAY-SETTING FLEXIBILITY

                              With limited exceptions, the salary for applicants from outside the
                      federal civil service is set at step 1 of the Judiciary Salary Plan (JSP) grade to
                      which they are appointed. On recommendation of the Committee on Judicial
                      Resources, the Judicial Conference affirmed the interpretation and application
                      of the Judiciary Salary Plan (JSP) non-chambers pay-setting flexibility that
                      would allow an applicant for a court unit executive or second-in-command
                      (e.g., Type II chief deputy/deputy chief) JSP position to be appointed at step 1
                      or above in a grade lower than the highest grade for which the individual is
                      qualified, subject to the following policy provisions:




                                                              22


       Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 25 of 159
Judicial Conference of the United States                                                 September 14, 2010


                       a.       The salary for the higher step may not exceed the corresponding salary
                                for step 1 of the higher grade for which the individual is qualified;

                       b.       If such an employee is subsequently promoted in less than one year
                                from the individual’s appointment date, the promotion may not result
                                in the individual’s salary exceeding the highest grade and step for
                                which the individual was initially eligible;

                       c.       For individuals appointed using this flexibility, the two-step increase
                                JSP promotion rule may not be applied until the employee has worked
                                at the grade and step to which the individual is appointed for one year;
                                and

                       d.       The position must be announced at all possible grades that the
                                appointing officer is considering for the appointment.

                       This pay flexibility allows a court to offer a salary that is not at the highest
                       possible grade or salary for that applicant, but may still be competitive
                       because it is at a higher step than could otherwise be offered in the lower
                       grade.


                       JUDICIAL ASSISTANT/ COURT REPORTER POSITION

                               On recommendation of the Committee, and in accordance with
                       28 U.S.C. § 753(a), the Judicial Conference approved the addition of court
                       reporter duties to the judicial assistant position in the chambers of Judge
                       Roberto A. Lange in the District of South Dakota based on the circumstances
                       presented by the court and because it is in the public interest. The approval is
                       limited to the present incumbent judicial assistant in Judge Lange’s chambers.
                       The judicial assistant-court reporter is required to follow all statutory
                       requirements and Judicial Conference policies related to court reporting, as
                       well as the Code of Conduct for Judicial Employees, when providing court
                       reporting services to the court and the litigants.


                       COURT INTERPRETER POSITIONS

                              Using established criteria, the Committee recommended and the
                       Conference approved one additional Spanish staff court interpreter position
                       each for the Southern District of California and the District of New Mexico

                                                                23


        Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 26 of 159
Judicial Conference of the United States                                                September 14, 2010


                      and two additional Spanish staff court interpreter positions for the Western
                      District of Texas for fiscal year 2012, based on the Spanish language
                      interpreting workload in these courts. Accelerated funding in fiscal year 2011
                      was authorized for the one additional Spanish staff court interpreter position
                      for the District of New Mexico and the two additional Spanish staff court
                      interpreter positions for the Western District of Texas.


                      TELEWORK POLICY

                              On recommendation of the Committee, the Judicial Conference
                      amended its telework policy for courts and federal public defender
                      organizations as it relates to teleworkers who work permanently from remote
                      locations to change the official duty station for locality pay purposes to the site
                      where the employee spends the majority of his or her time in the performance
                      of official duties, and to clarify travel and relocation policies for such
                      employees. Specifically, the Conference revised the current telework policy
                      to —

                      a.       Define “official duty station” as the telework site for an employee who
                               is not required to report to the employing court or federal public
                               defender organization at least twice each biweekly pay period on a
                               regular and recurring basis (other than during temporary telework, e.g.,
                               during a medical recovery period), and as the site of the employing
                               court or organization for any employee who reports to the court or
                               organization at least twice each biweekly pay period on a regular and
                               recurring basis;

                      b.       Provide that a court or federal public defender organization should
                               establish in its telework policy generally, and in each telework
                               agreement specifically, what, if any, travel reimbursement is
                               authorized when an employee travels to the employing court or
                               organization; and

                      c.       Clarify that relocation expenses are not authorized when the official
                               duty station changes as a result of the initiation of full-time telework,
                               or modification or termination of a telework agreement.




                                                               24


       Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 27 of 159
Judicial Conference of the United States                                               September 14, 2010




                       EMPLOYMENT DISPUTE RESOLUTION

                              On recommendation of the Committee, the Conference adopted the
                       following policy statement regarding a judge’s role when presiding in an
                       employment dispute resolution (EDR) proceeding:

                       a.       EDR proceedings are strictly administrative and are not “cases and
                                controversies” under Article III of the Constitution;

                       b.       Judges presiding in EDR matters are functioning in an administrative
                                rather than judicial capacity;

                       c.       Judges’ decisions in EDR matters must be in conformance with all
                                statutes and regulations that apply to the judiciary, and judges in the
                                EDR context have no authority to declare such statutes or regulations
                                unconstitutional or invalid; and

                       d.       Judges presiding in EDR matters may not compel the participation of
                                or impose remedies upon agencies or entities other than the employing
                                office which is the respondent in such matters.


                       COMMITTEE ACTIVITIES

                               The Committee on Judicial Resources reported that it submitted to the
                       Committee on the Budget a fiscal year 2012 budget request that represents a
                       5.4 percent increase over the fiscal year 2011 assumed appropriations. In
                       order to stay within the guidelines recommended by the Budget Committee for
                       2012, the request was based on a re-computation of the staffing formulas
                       using only the fastest 70 percent of the work measurement data at the category
                       level of work (e.g., civil cases, Chapter 7 bankruptcy cases). The Committee
                       also established as Committee policy its intent to use category-level formula
                       adjustments as a cost-containment mechanism for developing its budget
                       request each year when budget guidance establishes a ceiling lower than
                       would be derived using the work measurement formulas at 100 percent of
                       requirements. The Committee asked the Administrative Office to conduct
                       studies on the alternative dispute resolution program, death penalty law clerks,
                       and court sizing formulas, and present the results to the Committee at its June
                       2011 meeting.



                                                               25


        Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 28 of 159
Judicial Conference of the United States                                               September 14, 2010



             C OMMITTEE ON J UDICIAL S ECURITY

                      COMMITTEE ACTIVITIES

                              The Committee on Judicial Security reported that it discussed and
                      concurred with the Space and Facilities Committee’s recommendation that the
                      Conference endorse the concept of the establishment of a Capital Security
                      Program (see infra, “Capital Security Program,” p. 30). The Committee also
                      reported on the development of a guide for judges who have had false liens
                      filed against them, which provides easy-to-follow instructions on requesting
                      representation and taking appropriate action.


             C OMMITTEE ON THE A DMINISTRATION
             OF THE M AGISTRATE J UDGES S YSTEM

                      CHANGES IN MAGISTRATE JUDGE POSITIONS

                             After consideration of the report of the Committee on the
                      Administration of the Magistrate Judges System and the recommendations of
                      the Director of the Administrative Office, the district courts, and the judicial
                      councils of the circuits, the Judicial Conference approved the following
                      changes in the number, locations, salaries, and arrangements of magistrate
                      judge positions in the respective district courts. Changes with a budgetary
                      impact are to be effective when appropriated funds are available.

                      SEVENTH CIRCUIT

                      Southern District of Indiana

                      1.       Authorized an additional full-time magistrate judge position at
                               Indianapolis; and

                      2.       Made no other change in the number, locations, salaries, or
                               arrangements of the magistrate judge positions in the district.




                                                              26


       Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 29 of 159
Judicial Conference of the United States                                                September 14, 2010


                       EIGHTH CIRCUIT

                       District of Minnesota

                        1.      Authorized an additional full-time magistrate judge position at
                                Minneapolis or St. Paul; and

                       2.       Made no other change in the number, locations, salaries, or
                                arrangements of the magistrate judge positions in the district.


                       NINTH CIRCUIT

                       Central District of California

                       1.       Authorized an additional full-time magistrate judge position at Santa
                                Ana or Riverside; and

                       2.       Made no other change in the number, locations, salaries, or
                                arrangements of the magistrate judge positions in the district.

                       District of Nevada

                       1.       Authorized an additional full-time magistrate judge position at Las
                                Vegas; and

                       2.       Made no other change in the number, locations, or arrangements of the
                                magistrate judge positions in the district.

                       The Conference also agreed to make no change in the number, locations,
                       salaries, or arrangements of the magistrate judge positions in the District of
                       Puerto Rico; District Court of the Virgin Islands; District of Nebraska; District
                       of South Dakota; Southern District of Georgia; and District of Columbia.


                       ACCELERATED FUNDING

                               On recommendation of the Committee, the Judicial Conference agreed
                       to designate for accelerated funding, effective April 1, 2011, the new full-time
                       magistrate judge positions at Indianapolis in the Southern District of Indiana;



                                                               27


        Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 30 of 159
Judicial Conference of the United States                                              September 14, 2010


                      Minneapolis or St. Paul in the District of Minnesota; Santa Ana or Riverside
                      in the Central District of California; and Las Vegas in the District of Nevada.


                      COMMITTEE ACTIVITIES

                              The Committee on the Administration of the Magistrate Judges System
                      reported that under the September 2004 Judicial Conference policy regarding
                      the review of magistrate judge position vacancies (JCUS-SEP 04, p. 26),
                      during the period between the Committee’s December 2009 and June 2010
                      meetings, the Committee chair approved filling nineteen full-time magistrate
                      judge position vacancies. At its June 2010 meeting, the full Committee
                      approved filling one vacancy and deferred action on another vacancy pending
                      further review at its December 2010 meeting. The Committee also reviewed a
                      report on long-range planning for the magistrate judges system and agreed to
                      consider, at its December 2010 meeting, several long-range planning issues
                      identified in the report.


             C OMMITTEE ON R ULES OF P RACTICE AND P ROCEDURE

                      FEDERAL RULES OF APPELLATE PROCEDURE

                              Rules Amendments. The Committee on Rules of Practice and
                      Procedure submitted to the Judicial Conference proposed amendments to
                      Appellate Rules 4 (Appeal as of Right — When Taken) and 40 (Petition for
                      Panel Rehearing), together with committee notes explaining their purpose and
                      intent. The Judicial Conference approved the proposed rules amendments and
                      authorized their transmittal to the Supreme Court for its consideration with a
                      recommendation that they be adopted by the Court and transmitted to
                      Congress in accordance with the law.

                              Statutory Amendment. The Committee also recommended seeking
                      legislation to amend 28 U.S.C. § 2107, consistent with the proposed
                      amendment to Appellate Rule 4, to clarify and make uniform the treatment of
                      the time to appeal in all civil cases in which a federal officer or employee is a
                      party. The Conference adopted the Committee’s recommendation.




                                                             28


       Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 31 of 159
Judicial Conference of the United States                                           September 14, 2010




                       FEDERAL RULES OF BANKRUPTCY PROCEDURE

                               Rules Amendments. The Committee on Rules of Practice and
                       Procedure submitted to the Judicial Conference proposed amendments to
                       Bankruptcy Rules 2003 (Meeting of Creditors or Equity Security Holders),
                       2019 (Representation of Creditors and Equity Security Holders in Chapter 9
                       Municipality and Chapter 11 Reorganization Cases), 3001 (Proof of Claim),
                       4004 (Grant or Denial of Discharge), 6003 (Interim and Final Relief
                       Immediately Following the Commencement of the Case — Applications for
                       Employment; Motions for Use, Sale, or Lease of Property; and Motions for
                       Assumption or Assignment of Executory Contracts), and new Rules 1004.2
                       (Petition in Chapter 15 Cases) and 3002.1 (Notice Relating to Claims Secured
                       by Security Interest in the Debtor’s Principal Residence), together with
                       committee notes explaining their purpose and intent. The Judicial Conference
                       approved the proposed rules amendments and new rules and authorized their
                       transmittal to the Supreme Court for its consideration with a recommendation
                       that they be adopted by the Court and transmitted to Congress in accordance
                       with the law.

                               Forms Amendments. The Committee also submitted to the Judicial
                       Conference proposed revisions to Official Forms 9A, 9C, 9I, 20A, 20B, 22A,
                       22B, and 22C. The Judicial Conference approved the revised forms to take
                       effect on December 1, 2010.


                       FEDERAL RULES OF CRIMINAL PROCEDURE

                               The Committee on Rules of Practice and Procedure submitted to the
                       Judicial Conference proposed amendments to Criminal Rules 1 (Scope;
                       Definitions), 3 (The Complaint), 4 (Arrest Warrant or Summons on a
                       Complaint), 6 (The Grand Jury), 9 (Arrest Warrant or Summons on an
                       Indictment or Information), 32 (Sentencing and Judgment), 40 (Arrest for
                       Failing to Appear in Another District or for Violating Conditions of Release
                       Set in Another District), 41 (Search and Seizure), 43 (Defendant’s Presence),
                       and 49 (Serving and Filing Papers), and new Rule 4.1 (Complaint, Warrant, or
                       Summons by Telephone or Other Reliable Electronic Means), together with
                       committee notes explaining their purpose and intent. The Judicial Conference
                       approved the proposed amendments and new rule and authorized their
                       transmittal to the Supreme Court for its consideration with a recommendation



                                                            29


        Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 32 of 159
Judicial Conference of the United States                                             September 14, 2010


                      that they be adopted by the Court and transmitted to Congress in accordance
                      with the law.


                      FEDERAL RULES OF EVIDENCE

                              The Committee on Rules of Practice and Procedure submitted to the
                      Judicial Conference proposed restyled Evidence Rules 101-1103, together
                      with committee notes explaining their purpose and intent. The restyling of the
                      Evidence Rules is the fourth in a series of comprehensive style revisions to
                      simplify, clarify, and make more uniform all of the federal rules of practice,
                      procedure, and evidence. The Judicial Conference approved the proposed
                      restyled rules amendments and authorized their transmittal to the Supreme
                      Court for its consideration with a recommendation that they be adopted by the
                      Court and transmitted to Congress in accordance with the law.


                      COMMITTEE ACTIVITIES

                              The Committee on Rules of Practice and Procedure reported that it
                      approved publishing for public comment proposed amendments to Bankruptcy
                      Rules 3001, 7054, and 7056, proposed revisions of Bankruptcy Official Forms
                      10 and 25A, and a proposed new attachment and supplements to Bankruptcy
                      Official Form 10, and proposed amendments to Criminal Rules 5 and 58, and a
                      new Criminal Rule 37. The comment period expires on February 16, 2011.


             C OMMITTEE ON S PACE AND F ACILITIES

                      CAPITAL SECURITY PROGRAM

                              Noting that there are many court facilities that have serious operational
                      and security deficiencies, but might not qualify for funding for a new
                      courthouse, the Committee recommended that the Judicial Conference endorse
                      the concept of a Capital Security Program to assist such courts. The program,
                      which would be a collaborative effort between the judiciary and GSA, would
                      fund the retrofitting of certain types of physical security enhancements at
                      locations that are suitable for such improvements. The Conference adopted the
                      Committee’s recommendation.



                                                             30


       Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 33 of 159
Judicial Conference of the United States                                               September 14, 2010




                       FIVE-YEAR COURTHOUSE PROJECT PLAN

                                On recommendation of the Committee, the Judicial Conference
                       approved the Five-Year Courthouse Project Plan for FYs 2012-2016, which
                       (a) adds the courthouse in Los Angeles, California, to the first year of the plan
                       (FY 2012) as it is the only judicial space emergency that has not yet been built
                       and is the judiciary’s highest space priority; and (b) includes two new projects in
                       the last year of the plan (FY 2016) for which it has been determined sufficient
                       funding exists under the Judicial Conference’s rent cap.


                       FEASIBILITY STUDIES

                               Requests for GSA feasibility studies must be approved by the Judicial
                       Conference as Component B projects under the judiciary’s circuit rent
                       management program (JCUS-SEP 07, pp. 36-37). After reviewing requests for
                       feasibility studies using asset management planning (a methodology approved
                       by the Conference, see JCUS-MAR 08, p. 26) and determining urgency scores
                       for each project, the Committee recommended that the Conference approve
                       GSA feasibility studies for the projects in the following three locations:
                       Hartford, Connecticut; Winston-Salem/Greensboro, North Carolina; and
                       Clarksburg, West Virginia. The Conference approved the Committee’s
                       recommendation.


                       COMMITTEE ACTIVITIES

                                The Committee on Space and Facilities reported that it advised the
                       Administrative Office on procedures for responding to out-of-cycle circuit rent
                       budget Component B requests for housing for newly confirmed judges, and
                       clarified the process through which its space planning and rent management
                       subcommittees deal with requests for feasibility studies. The Committee also
                       discussed the status of the first three tenant alterations projects (in Des Moines,
                       Iowa; Chicago, Illinois; and Washington, D.C.) planned by the courts under the
                       newly granted congressional authorization for the GSA to delegate to the
                       judiciary the authority to perform tenant alterations projects costing up to
                       $100,000.




                                                               31


        Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 34 of 159
Judicial Conference of the United States                                          September 14, 2010



             F UNDING
                              All of the foregoing recommendations that require the expenditure of
                      funds for implementation were approved by the Judicial Conference subject to
                      the availability of funds and to whatever priorities the Conference might
                      establish for the use of available resources.




                                                                 Chief Justice of the United States
                                                                 Presiding




                                                           32


       Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 35 of 159
               frGmploUment Ditlrute Rerolution



    t
    t
               ,
                   ta
                                            $rlt, -'l*,
                        a




                                             >




I
          rl
                                           TI



        Bench Book for Judges



                    Administrative Office of the United States Courts
                                 James C. Duff, Director
        Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 36 of 159
   SECTION 1—INTRODUCTION: EVOLUTION OF EMPLOYMENT
   DISPUTE RESOLUTION (EDR) PROGRAM IN THE U.S. COURTS

1.01 Congressional Accountability Act (CAA). 2 U.S.C. sec. 1301 et seq.

     The CAA:
     A.   Created rights and remedies for Legislative Branch employees by:
          1.    Applying 11 federal employment and workplace laws; and
          2.    Establishing dispute resolution procedures and remedies to
                address potential violations of these laws.
     B.   Required the Judicial Conference of the United States to study
          possible Judicial Branch coverage under the CAA, and to report to
          Congress on its study by December 31, 1996.

1.02 The Judicial Conference Report, December 30, 1996

     A.    The Judicial Conference Report concluded:
           1.    Existing Judicial Branch policies were comparable to those
                 protections provided to legislative branch employees under the
                 11 laws applied by the CAA.
           2.    Primary differences between current Judiciary practices and the
                 underlying CAA laws were in the details of enforcement and
                 dispute resolution.
     B.    The Judicial Conference Report recommended:
           1.    Development of an internal plan and procedures to provide
                 Judicial Branch employees with rights, protections, and
                 remedies similar to protections the CAA provides to legislative
                 branch employees.
           2.    Application of the plan and procedures throughout the Judicial
                 Branch.




EDR Bench Book for Judges (March 2011)                                         1


    Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 37 of 159
              3.      Coverage to include the substantive rights under the nine
                      substantive laws which the Judicial Conference recommended
                      as appropriate for the judicial branch.1
              4.      Inclusion of three key procedural elements in the new plan:
                      a.    Informal dispute resolution:
                            (1) Use of such procedures is to be mandatory before
                                   a complaining employee is entitled to a formal
                                   hearing.
                            (2) Such procedures are to include:
                                   (a) Counseling; and/or
                                   (b) Mediation.
                      b.    Hearing:
                            (1) May occur only after exhaustion of informal
                                   resolution.
                            (2) Is to be conducted by the chief judge or a
                                   designated judicial officer including, where
                                   appropriate, a judicial officer from outside the
                                   court where the complaint arose or the parties are
                                   employed.
                      c.    Review:
                            (1) A procedure is to be established for reviewing the
                                   presiding judicial officer's decision, as
                                   appropriate.
                            (2) Review must be heard by a judicial officer.
                            (3) No further judicial review is authorized.



1.03 EDR process flow chart (see following two pages)




       1
         The Report recommended against applying the Federal Labor-Management Relations
Statute as well as the Fair Labor Standards Act overtime pay provisions, notwithstanding the
Judicial Branch's adherence to the latter Act's minimum wage and child labor requirements and
equal pay principles.


EDR Bench Book for Judges (March 2011)                                                          2


     Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 38 of 159
Process for Handling Claims/Complaints
Under Model Employment Dispute Resolution Plan
                                                          Alleged Violation by Judge




      EDR Only                                                 Judicial Misconduct Only              Both Judicial Misconduct and EDR


                      Filing an EDR Claim: Within 30
                      days of alleged violation or time       If a judge is the subject of a         If a judge is the subject of both a
                      employee becomes aware of               judicial misconduct complaint,         judicial misconduct complaint and
                      alleged violation                       please refer to the reverse side of    an EDR claim, the CJC or its
                                                              this chart.                            designee will craft a procedure for
                                                                                                     determining common issues of fact
        Step 1                                                                                       and processing both complaints,
                                                                                                     subject to requirements of the
Request for Counseling                                                                               Judicial Conduct and Disability Act
                                                                                                     and, as practicable, the EDR Plan.

                                                                                                     CJC or its designee may
                                                                                                     determine that all or part of the
                   30 Days for Counseling                                                            EDR claim must be abated until
                                                                                                     action is taken on the judicial
                                                                                                     misconduct complaint.

                                                                                                     Model CJC Procedure:
                  Notice of end of counseling period                                                 An EDR claim abated pending the
                                                                                                     entry of the final order that
                                                                                                     concludes the judicial misconduct
                                                                                                     complaint, is dismissed if such
                   15 Days                                                                           allegations of judicial misconduct
                                                                                                     are dismissed. As to any
                                                                                                     allegations that the order does not
                                                                                                     dismiss, the EDR claim will be
                                                                                                     reinstated and decided by the
        Step 2                                                                                       CJC. If the EDR claim includes
                                                                                                     allegations separate and divisible
 Request for Mediation                                                                               from those in the judicial
                                                                                                     misconduct compliant, the
                                                                                                     separate allegations will be treated
                                                                                                     as a distinct EDR claim that will
                   30 Days for Mediation                                                             not be abated.
                   (must attend at least one session)


                                                                                                                  For more
                  Notice of end of mediation period
                                                                                                                  information
                                                                                                    Refer to the Judicial Misconduct
                                                                                                    Procedures re: Judicial Misconduct
                   15 Days                                                                          Complaint and to the EDR Plan
                                                                                                    re: abated EDR Claim.



                    Filing of Formal EDR Complaint




                   60 Days




        Step 3

        Hearing




                    30 Days




                    Final Decision



                    Petition for Review of Decision




        Step 4

Review of Final Decision



                   Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 39 of 159
Judicial Misconduct and Judicial Disability Procedure

                                                                   Alleged Violation by Judge




                                                                   Judicial Misconduct Only



   Step 1
   Chief Circuit Judge (CCJ) becomes aware of a complaint
   or situation constituting reasonable grounds for an inquiry.



  Step 2
  CCJ may conduct an inquiry to determine whether probable                  No probable cause found. Case ends.
  cause of misconduct or a disability exists.



  Step 3
                                                                            Informal resolution achieved. Case ends.
  CCJ attempts informal resolution.


                                                                            The CCJ may decide that a case is trivial, isolated, or based on marginal
  Step 4                                                                    evidence and not proceed. This decision is not appealable. Case ends.
  CCJ may "identify a complaint" as he/she deems
  appropriate. However, where the evidence of misconduct is
  clear and convincing the CCJ must identify a complaint.                  Rule 11 (C),(D), & (E). Where a complaint is filed the CCJ may dismiss
                                                                           the complaint if it involves conduct that is not deemed to be prejudicial to
                                                                           the operation of the court, relates to the merits of a ruling, is frivolous, is
                                                                           lacking in sufficient evidence of misconduct, is filed in the wrong circuit, is
  Step 5                                                                   otherwise not appropriate for consideration under the Act, an informal
  Subject judge is given a chance to respond to the complaint.             resolution has been reached, the subject has taken appropriate corrective
                                                                           action, or because intervening events have made it unnecessary.
                                                                           In a Rule 11 (C), (D), or (E) dismissal the CCJ must prepare a
                                                                           memorandum when dismissing a complaint and the complainant or judge
  Step 6                                                                   may petition the judicial council for review. The petition must be filed
  CCJ appoints a special committee, consisting of himself and              within 35 days of the date of the notice letter.
  equal numbers of circuit and district court judges. Judge,
  complainant, and Judicial Conference Committee notified of
  the appointment and the members of the committee.
                                                                            Petition filed.                              No petition filed. Case ends.

  Step 7
  The special committee conducts an investigation. Where
  criminal conduct is involved the special committee must                  Petitions to the judicial council are reviewed by a panel of at least 5
  consult with the relevant prosecutorial authorities. The                 members. The judge is entitled to file a written response. The panel
  complainant may be interviewed at the committee's                        may: 1) affirm the disposition, 2) remand to the CCJ for further inquiry, 3)
  discretion, may submit written argument, and may be                      return to the CCJ with directions to appoint a special committee (see step
  permitted to present oral argument at the committee's                    6), or 4) in exceptional circumstances take other appropriate action.
  discretion.                                                              Where a disposition is affirmed, the complainant is notified.



  Step 8
  The special committee may hold a hearing and must notify
  the subject judge of witnesses to be called. The judge may                Remand. Case             Dismissed with            Affirmed. No dissent.
  suggest additional witnesses, may present evidence, may                   returns to Step 6.       dissent.                  Case ends.
  attend the hearing, cross-examine witnesses, and present
  evidence. Normally, a complainant will not be permitted to
  attend except where the special committee elects to allow for
  complainant participation.

                                                                           No petition filed.        Petition filed. Step 11         Other appropriate
                                                                           Case ends.                appeal limited to               action. Case
  Step 9                                                                                             dissent issue.                  presumably ends.
  The special committee must file a report of its investigation
  and recommendations with the judicial council. A copy is
  sent to the Judicial Conference Committee on Judicial
  Conduct and Disability (CCJCD), but is not shared with the
  complainant.                                                                  Step 11
                                                                                A complainant or subject judge may petition the CCJCD for
                                                                                review of a judicial council decision or, where a dissent
                                                                                occurred, from a judicial council affirmed dismissal, within 63
  Step 10                                                                       days of the decision. The CCJCD may also hear a case at its
  The judge has 21 days following the filing of the special                     own initiative. The CCJCD sits absent any members from
  committee report to file a written response with the judicial                 the judge's circuit and must have at least five members.
  council and must also be given a chance to present argument                   Decisions are normally on the record, though written
  through counsel. The council may: 1) dismiss the complaint                    submissions are at CCJCD discretion.
  on the merits or on procedural grounds, 2) conclude the
  proceedings because intervening events have corrected the
  situation or made the proceeding unnecessary, 3) refer the
  complaint to the JCUS with council recommendations (the                       Step 12
  council must refer any case that might constitute grounds for                 The JCUS may review any CCJCD decision at its discretion.
  impeachment of a district or circuit judge or is not amenable                 Otherwise, the decision is final and any JCUS decision is
  to resolution by the judicial council), 4) take one of several                final. However, the JCUS determines whether impeachment
  remedial actions or a combination of actions, 5) remand the                   proceedings may be warranted in the case of district and
  case to the special committee for further review.                             circuit court judges and, if so, transmits the record to the
                                                                                Speaker of the House.

                  Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 40 of 159
1.04 Background of the Judiciary Model Employment Dispute Resolution
Plan (Model EDR Plan)2

N.B. The discussion in this Bench Book is based solely on the provisions of
the Model EDR Plan. Individual court plans may differ. Consult the
individual provisions of your court's EDR Plan to determine if, and in what
way, it differs from the Model EDR Plan.

     A.        The Model EDR Plan provides rights and protections to Judicial
               Branch employees comparable to those already provided by the CAA
               to Legislative Branch employees.
     B.        The Model EDR Plan supersedes Appendix I of the Judiciary Model
               Equal Employment Opportunity Plan (Model EEO Plan), except for
               sec. VI of Appendix I (Annual Report).
     C.        Each court was required to adopt, effective January 1, 1999, an EDR
               Plan based on the Model EDR Plan.
               1.    EDR Plans may vary among circuits.
               2.    Any modification to the Model EDR Plan must be approved by
                     the judicial council for that circuit.
               3.    Each court must file its EDR Plan and any subsequent
                     modification with the Administrative Office (AO).
               4.    Each court must submit an annual report on implementation of
                     its plan to the AO for inclusion in the Director's Annual Fair
                     Employment Practices Report to the Judicial Conference.
     D.        The Model EDR Plan was amended in 2010 to reflect changes in case
               law and to update the Plan based upon Judiciary experience with the
               Model EDR Plan. Major changes included:
               1.    Specific provisions addressing harassment and retaliation and
                     broadening the definition of harassment beyond sexual
                     harassment.
               2.    A new wrongful conduct reporting procedure.




     2
         All citations in this Bench Book, unless otherwise noted, are to the Model EDR Plan.

EDR Bench Book for Judges (March 2011)                                                          5


    Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 41 of 159
           3.    A procedure to address violations by judges.
           4.    A new dismissal provision allowing summary dismissals at any
                 point in the process.
           5.    Clarifying the provisions regarding remedies, notice, and
                 confidentiality.

1.05 Statutes related to the provisions of the Model EDR Plan. See "EDR
     Legal Resources Guide" (available from the AO Fair Employment
     Practices Office)

     A.    Title VII, Civil Rights Act of 1964, 42 U.S.C. sec. 2000e et seq.
           Chapter II of the Model EDR Plan.
     B.    Age Discrimination in Employment Act of 1967 (ADEA), 29 U.S.C.
           sec. 631 et seq. (Chapter II.)
     C.    Rehabilitation Act of 1973, 29 U.S.C. sec. 791 et seq. (Chapter II.)
     D.    Americans with Disabilities Act of 1990 (ADA), 42 U.S.C. sec.
           12101 et seq. as amended by the Americans With Disabilities Act
           Amendment Act of 2008. (Chapter II.)
     E.    Family and Medical Leave Act of 1993 (FMLA), 5 U.S.C. sec. 6381
           et seq. (Chapter III.)
     F.    Worker Adjustment and Retraining Notification Act (WARN),
           29 U.S.C. sec. 2101 et seq. (Chapter IV.)
     G.    Uniformed Services Employment and Reemployment Rights Act
           (USERRA), 38 U.S.C. sec. 4301 et seq. (Chapter V.)
     H.    Occupational Safety and Health Act of 1970 (OSHA), 29 U.S.C.
           sec. 651 et seq. (Chapter VI.)
      I.   Employee Polygraph Protection Act of 1988 (EPPA), 29 U.S.C.
           sec. 2001 et seq. (Chapter VII.)

1.06 Four stages of the EDR process

     Under the Model EDR Plan, the first three stages of the EDR process
     are:
     A.   Counseling. (Chapter IX, sec. 8.)
     B.   Mediation. (Chapter IX, sec. 9.)




EDR Bench Book for Judges (March 2011)                                            6


    Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 42 of 159
     C.    Filing of the complaint, review of pleadings, and hearing and
           decision. (Chapter IX, sec. 10.)
           Any party aggrieved may elect to file for:
     D.    Review of the decision. (Chapter IX, sec. 11.)


1.07 Definition of terms used in the Model EDR Plan. (Chapter I, sec. 3.)

     A.    "Employee":
           1.    Includes:
                 a.      All individuals listed in Chapter I, sec. 2 of the Model
                         EDR Plan (see discussion, infra sec. 1.08A); and
                 b.      Applicants for employment and former employees.
           2.    Does not include :
                 a.      Interns or externs providing gratuitous service,
                 b.      Applicants for bankruptcy judge or magistrate judge
                         positions,
                 c.      Private attorneys who apply to represent indigent,
                         defendants under the Criminal Justice Act,
                 d.      Criminal defense investigators not employed by federal
                         public defenders,
                 e.      Volunteer counselors or mediators, or
                 f.      Other individuals who are not employees of an
                         "employing office."
     B.    "Employing office":
           1.    Includes all offices of the U.S. court of appeals, district courts,
                 and bankruptcy courts, including the offices of circuit
                 executives, district court executives, federal public defenders,
                 clerks of court, chief probation officers, chief pretrial services
                 officers, staff attorneys, chief preargument attorneys, circuit
                 librarians, bankruptcy administrators, and any such offices that
                 might be created in the future.
           2.    The court is the employing office of a judicial officer's
                 chambers staff.
     C.    "Judicial officer": A judge appointed under Article III of the
           Constitution, a U.S. bankruptcy judge, a U.S. magistrate judge, a
           judge on the Court of Federal Claims, or a judge of any court created

EDR Bench Book for Judges (March 2011)                                             7


    Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 43 of 159
           by Act of Congress in a territory which is invested with any
           jurisdiction of a district court of the U.S.
     D.    "Court":
           1.     The appropriate court (appeals, district, or bankruptcy) in
                  which is located the employing office which would be
                  responsible for redressing, correcting, or abating the
                  violation(s) alleged in the complaint.
           2.     Where disputes involve federal public defenders, the term
                  "court" refers to the appropriate court of appeals.

1.08 Major provisions of the Model EDR Plan

     A.    Coverage. (Chapter I, sec. 2.)
           1.   Applies to all:
                a.     Article III judges and other judicial officers of the U.S.
                       court of appeals, district courts, bankruptcy courts, Court
                       of Federal Claims and Court of International Trade, as
                       well as to judges of any court created by an Act of
                       Congress in a territory which is invested with any
                       jurisdiction of a district court of the United States;
                b.     Employees of the court of appeals, district courts,
                       bankruptcy courts, Court of Federal Claims, Court of
                       International Trade, as well as to judges of any court
                       created by an Act of Congress in a territory which is
                       invested with any jurisdiction of a district court of the
                       United States;
                c.     Staff of judges' chambers, court unit heads and their
                       staffs, circuit executives and their staffs, federal public
                       defenders and their staffs, and bankruptcy administrators
                       and their staffs (including applicants and former
                       employees).
           2.   Intended to be Judicial Branch employees' exclusive remedy
                relative to rights enumerated under the Model EDR Plan.
           3.   Not intended to duplicate procedures for resolving complaints
                of judicial officer misconduct or disability under 28 U.S.C.
                §§ 351-364. Claims against judges follow special
                 procedures at Chapter IX, sec. 3.

EDR Bench Book for Judges (March 2011)                                           8


    Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 44 of 159
           B.    Reports of wrongful conduct:
           1.    Employees are encouraged to report discrimination,
                 harassment, and retaliation through the wrongful conduct
                 process; and
           2.    Chief judges and unit executives are to assure that allegations
                 of wrongful conduct are promptly investigated.
     C.    Four procedural stages under the Model EDR Plan (Chapter IX):
           1.    Counseling;
           2.    Mediation (if counseling fails and aggrieved employee elects to
                 pursue allegations further);
           3.    Hearing (if counseling and mediation fail and complaint is filed
                 which is not dismissed); and
           4.    Review of hearing decision (if an aggrieved party petitions
                 for review of final decision of presiding judicial officer).
     D.    Remedies:
           1.    A judicial officer, when acting as presiding judicial officer or
                 when reviewing a decision (Chapter IX, sec. 10 and 11 of the
                 Model EDR Plan), who finds a violation of a substantive right
                 protected by the Model EDR Plan, may order a necessary and
                 appropriate remedy. (Chapter IX, sec. 12.)
           2.    Available remedies:
                 a.     Retrospective relief to correct a past violation; and/or
                 b.     Prospective relief to ensure compliance with rights
                        protected under the Model EDR Plan.
           3.    The remedy must be tailored as closely as possible to the
                 specific violation.
           4.    For remedies which may be provided to successful
                 complainants under the Model EDR Plan, (see Chapter IX,
                 sec. 12B.)
           5.    For remedies not available under the Model EDR Plan, (see
                 Chapter IX, sec. 12C.)
     E.    General provisions of the Model EDR Plan, applicable at multiple
           stages:
           1.    Representation. (Chapter IX, sec. 5B.)
                 a.     An aggrieved employee is entitled to the representative
                        of his/her choice if that person is available and willing to
                        serve.

EDR Bench Book for Judges (March 2011)                                             9


    Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 45 of 159
                b.     A court employee may serve if representation will not
                       unduly interfere with his/her court duties or constitute a
                       conflict of interest.
                c.     The Model EDR Plan is silent regarding representation
                       of the employing office or the alleged violator.
                d.     The Model EDR Plan does not authorize payment of
                       attorney's fees to complainant, except as authorized by
                       the Back Pay Act. (Chapter IX, sec. 12B6.)
           2.   Official time: An aggrieved employee may use a reasonable
                amount of official time to prepare his/her case, so long as it
                does not unduly interfere with the performance of his/her court
                duties. (Chapter IX, sec. 5C.)
           3.   Disqualification: A party may request disqualification of a
                 judicial officer, employee, or other person involved in an
                employment dispute (including the EDR Coordinator,
                counselor, or mediator) under procedures established by the
                court and its judicial council. (Chapter IX, sec. 7.)
           4.   Confidentiality of allegations filed shall be protected to the
                extent possible. However a copy of the request for counseling
                will be provided to the unit executive and the chief judge and,
                allegations shall be shared on a need-to-know basis. Records
                relating to violations shall be kept confidential on the same
                basis. (Chapter IX, sec. 4.) An employee filing a claim may
                waive this right. (Chapter IX, sec. 8C3.)
           5.   Prohibition against retaliation. Chapter IX, sec. 5 prohibits
                retaliation or harassment against:
                a.     Complainants; and
                b.     Any person who participates in the filing or processing
                       of a claim or wrongful conduct report including EDR
                       Coordinators, counselors, mediators, witnesses,
                       representatives, and co-workers.
           6.   Access to final decisions: Final decisions must be made
                available to the public under procedures established by the
                judicial council of the circuit. (Chapter IX, sec. 13.)




EDR Bench Book for Judges (March 2011)                                         10


    Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 46 of 159
1.09 Significant deadlines in the Model EDR Plan

N.B. Be sure to consult your court's EDR Plan, because deadlines in court
plans may vary significantly from the Model EDR Plan.

     A.    Counseling (Chapter IX, sec. 8):
           1.      Must be requested by the employee:
                   a.     Within 30 days of the alleged violation, or
                   b.     Within 30 days of the time the employee becomes aware
                          of the alleged violation. (Chapter IX, sec. 8B3.)
           2.      Counseling can last up to 30 days, beginning on the date the
                   EDR Coordinator receives the counseling request. (Chapter IX,
                   sec. 8D.)
     B.    Mediation (Chapter IX, sec. 9):
           1.      Must be requested by the employee within 15 days after the
                   employee receives notification of the end of the counseling
                   period. (Chapter IX, sec. 9A.)
           2.      The mediation period can last up to 30 days from the date the
                   EDR Coordinator receives the mediation request. (Chapter IX,
                   sec. 9C.)
     C.    Filing of complaint by the employee must be no later than 15 days
            after the employee receives notification of the end of the mediation
            period. (Chapter IX, sec. 10A.)
     D.    Hearing. (Chapter IX, sec. 10B.)
           Designated judicial officer must:
           1.      Begin the hearing no later than 60 days after the complaint is
                   filed. (Chapter IX, sec. 10B2a.)
           2.      Issue the final decision no later than 30 days after the end of
                   the hearing. (Chapter IX, sec. 10B2g.)
     E.    Review: The Model EDR Plan establishes no deadline for seeking
           review of designated judicial officer's decision. Circuit judicial
           councils are to establish procedures for seeking review.
           (Chapter IX, sec. 11.)
     F.    The chief judge of the court, or other presiding judicial officer, may
           extend, for good cause shown, any of the above deadlines.
           (Chapter IX, sec. 5D.)


EDR Bench Book for Judges (March 2011)                                          11


    Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 47 of 159
          SECTION 2—ADMINISTRATIVE DUTIES OF JUDGES

2.01 Designation of EDR Coordinator

     A.    Initial designation. (Chapter IX, sec. 6.)
           Each court must designate one or more EDR Coordinators.
     B.    Designation of an alternate EDR Coordinator.
           Where the EDR Coordinator is disqualified under Chapter IX, sec. 7,
           the court must designate an alternate.
     C.    Responsibilities of EDR Coordinator. (Chapter IX, sec. 6A-D.)
           1.      Provide information to the court and its employees regarding
                   the rights and protections afforded under the Model EDR Plan.
           2.      Coordinate and organize the procedures under the Model EDR
                   Plan.
           3.      Maintain the court's official files of claims and related matters
                   initiated and processed under the court's EDR Plan.
           4.      Coordinate employee counseling, and serve as a counselor, in
                   the initial stage of the claims process, consistent with
                   Chapter IX, sec. 8.
           5.      Provide copies of requests for counseling and requests for
                   mediation to the unit executive and the chief judge.
           6.      Conduct a pre-hearing investigation and/or collection of
                   evidence at the request of designated judicial officer.
           7.      Collect, analyze, and consolidate statistical data and other
                   information relating to the court's EDR process.

2.02 Chief judge's responsibility for establishing EDR procedures

     A.    The chief judge ensures that procedures are established by the court
           and made available:
           1.    For employees to file a formal complaint. (Chapter XI,
                 sec. 10A.)




EDR Bench Book for Judges (March 2011)                                            12


    Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 48 of 159
            2.    For a party to seek disqualification of a judicial officer,
                  employee, or other person involved in a dispute.
                  (Chapter IX, sec. 7.)
            3.    For parties to seek the dismissal of a claim, (Chapter IX,
                  sec. 5E.)
      B.    The chief judge of the court of appeals ensures that:
            1.    Review procedures have been established by the judicial
                  council of the circuit to be used when a party requests review
                  of a decision rendered by a judge who has reviewed the
                  pleadings or by a presiding judicial officer.
            2.    These procedures are made available to all employees in the
                  circuit.
            3.    Procedures are established for cases involving judges.

2.03 Extensions of time

      The chief judge of the court, or other presiding judicial officer, may, for
      good cause shown, extend any of the deadlines in Chapter IX of the Model
      EDR Plan. (Chapter IX, sec. 5D.)

2.04 Chief judge's responsibilities during the informal stages of the Model
     EDR Plan process

      A.    Designate a counselor. (Chapter IX, sec. 8C1.)
            After an employee requests counseling, the chief judge designates a
            counselor. If the EDR Coordinator is disqualified as counselor under
            Chapter IX, sec. 4, or is otherwise unavailable, the chief judge will
            designate another counselor.
      B.    Designate a mediator as soon as possible after receiving a request for
            mediation. (Chapter IX, sec. 9B1.)




EDR Bench Book for Judges (March 2011)                                             13


    Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 49 of 159
2.05 Chief judge's responsibilities during the formal stage of the Model EDR
     Plan process

     A.    Review pleadings. (Chapter IX, sec. 10B.)
           1.     The chief judge, or presiding judicial officer,
                  reviews the complaint and any other documents after the EDR
                  Coordinator provides written notification to the complaining
                  employee that the mediation period has ended and the
                  employee files a complaint.
           2.     Exception: If the chief judge is disqualified under
                  Chapter IX, sec. 7, or is unavailable to serve, the reviewing
                  official shall be designated in accordance with procedures
                  established by the court.
     B.    Dismiss a complaint. (Chapter IX, sec. 5E.)
                  The chief judge or presiding judicial officer, after reviewing the
                  complaint and any other documents, may issue a written
                  dismissal of any complaint, on several grounds (see “Review of
                  Pleadings,” infra sec. 8),
     C.    Assess the merits. (Chapter IX, sec. 10B.)
           If the chief judge or presiding judicial officer does not dismiss the
           complaint, he/she, acting as designated judicial officer:
           1.     Holds a hearing on the merits of the complaint, no later than
                  60 days after filing of the complaint (Chapter IX, sec. 10B2a);
                  or
           2.     Determines no material factual dispute exists, and therefore no
                  hearing is necessary. (Chapter IX, sec. 10B1.)
     D.    Issue a decision and order remedies. (Chapter IX, sec. 10B2h and
                  sec. 12.)
           The chief judge or presiding judicial officer:
           1.     Issues a final written decision no later than 30 days after:
                  a.     Deciding to dismiss without hearing; or
                  b.     Concluding the hearing.




EDR Bench Book for Judges (March 2011)                                           14


    Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 50 of 159
               2.      Notifies in writing all parties, or any aggrieved individual, of
                       any action taken as a result of:
                       a.    The decision to dismiss without hearing; or
                       b.    The hearing.
               3.      Uses as a guide (Chapter IX, sec. 10B2e.):
                       a.    The judicial and administrative decisions under the laws
                             related to Chapters II through VII of the Model EDR
                             Plan; and
                       b.    The decisions of the judicial council of the appropriate
                             circuit under Chapter IX, sec. 11.
               4.      A judicial officer may order any appropriate remedy.
                       (Chapter IX, sec. 10B2f and sec. 12.)

2.06 Administrative duties of other judges

       The chief judge may designate a presiding judicial officer to:3
       A.    Designate an EDR Coordinator. (Chapter IX, sec. 6.)
       B.    Review pleadings. (Chapter IX, sec. 5E.)
       C.    Dismiss a complaint. ( Chapter IX, sec. 5E.)
       D.    Conduct a hearing. (Chapter IX, sec. 10B.)
       E.    Issue a decision. (Chapter IX, sec. 10B2g and h.)
       F.    Order remedies. (Chapter IX, sec. 10f & 12.)
       G.    Extend deadlines. (Chapter IX, sec. 5D.)




       3
          Chapter I, sec. 3D, defines a "judicial officer" as an Article III judge, a U.S. bankruptcy
judge, a U.S. magistrate judge, a judge of the Court of Federal Claims, or a judge of any court
created by an Act of Congress in a territory which is invested with any jurisdiction of a U.S.
district court.




EDR Bench Book for Judges (March 2011)                                                             15


      Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 51 of 159
     SECTION 3 ) REPORTS OF WRONGFUL CONDUCT

3.01 Wrongful Conduct. (Chapter VIII)

     A.    Wrongful Conduct is:
           1.    Discrimination based upon age, race, color, gender, religion,
                 national origin, or a disability.
           2.    Harassment based upon any of the aforementioned protected
                 categories.
           3.    Retaliation for reporting wrongful conduct, engaging in any
                 protected activity or otherwise taking part in the EDR process
                 including as a counselor, EDR Coordinator, mediator, witness,
                 coworker, or representative. (Chapter II, sec.1.)
     B.    Reporting wrongful conduct:
           1.    The wrongful conduct reporting process is intended to be
                 informal and expeditious. The process has no formal
                 procedures or time frames.
           2.    Wrongful conduct should be reported by any judge or employee
                 who becomes aware of it.
           3.    When a report of wrongful conduct is received it is the
                 responsibility of the employee receiving the report to pass it on
                 to the EDR Coordinator, the appropriate unit executive, or the
                 chief judge.
     C.    Actions to be taken:
           1.    Upon receiving a report of wrongful conduct the unit executive
                 or chief judge shall ensure that the matter is appropriately
                 investigated. What is an appropriate investigation will vary
                 based upon the nature of the report.
           2.    The confidentiality of the allegations will be protected to the
                 extent possible and information and records shall be shared on a
                 need-to-know basis.
           3.    Employees found to have engaged in wrongful conduct may be
                 subject to disciplinary action.




EDR Bench Book for Judges (March 2011)                                         16


    Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 52 of 159
3.02 Wrongful Conduct and the Employment Dispute Resolution Process.
     (Chapter VIII)

     A.    The filing of a wrongful conduct report is not the same as filing an
           EDR claim and may not entitle the injured employee to corrective
           action.
     B.    Employees injured by wrongful conduct may report the conduct
           through the wrongful conduct process and also file an EDR claim to
           seek corrective action.




EDR Bench Book for Judges (March 2011)                                            17


    Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 53 of 159
   SECTION 4 ) EMPLOYMENT DISPUTE RESOLUTION PROCESS
               CASES INVOLVING JUDGES.

4.01 Handling Allegations Against Judges. (Chapter IX, sec. 3.)

      A.    All EDR claims alleging violations by a judge are to be referred to the
            circuit judicial council.
      B.    All Dispute Resolution Procedures will be followed, but the various
            stages (counseling, mediation, hearing, and review) will be performed
            by members of the council or employees designated to act on behalf
            of the council, which may include the chief judge.
            1.     Each circuit judicial council shall designate one or more EDR
                   Coordinator(s) to counsel employees bringing claims against
                   judges.
            2.     The circuit judicial council should assure that the designated
                   EDR Coordinator is properly trained and that his/her name and
                   phone number are publicized within the circuit.
            3.     Each circuit judicial council shall decide how mediators will be
                   designated to hear judge related EDR claims.
            4.     Each circuit judicial council shall establish a review process to
                   determine whether any issues in a case involving a judge are
                   presently pending as Judicial Misconduct issues or should be
                   raised in that forum.
            5.     Each circuit judicial council shall decide whether EDR cases
                   against judges and motions for dismissal of such cases should
                   be heard by the circuit chief judge or an alternate presiding
                   judicial officer. Where cases are to be heard by an alternate
                   presiding judicial officer each circuit should designate how that
                   officer will be assigned.
      C.    EDR cases involving Judicial Misconduct issues. 28 U.S.C. §§ 351-
            364 (Act).
            1.     Each circuit judicial council or its designee (which may be the
                   chief judge for the circuit) will draft procedures for
                   determining common issues of fact and processing mixed
                   EDR/Misconduct cases.



EDR Bench Book for Judges (March 2011)                                           18


    Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 54 of 159
           2.   Any procedure shall be subject to all the requirements of the
                Act as well as the Rules for Judicial Conduct and Judicial
                Disability Proceedings.
           3.   To the extent practicable, the dispute resolution procedures are
                also to be followed.
           4.   The circuit judicial council or its designee may determine that
                all or part of an EDR claim should be abated until the Judicial
                Misconduct complaint is resolved.




EDR Bench Book for Judges (March 2011)                                        19


    Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 55 of 159
     SECTION 5—INFORMAL DISPUTE RESOLUTION PROCESS

5.01 Counseling. (Chapter IX, sec. 8.)

     A.    Counseling is:
           1.    The initial stage of the informal dispute resolution process
                 under the Model EDR Plan.
           2.    Conducted by the EDR Coordinator, except when the EDR
                 Coordinator is disqualified or the dispute involves an alleged
                 violation by a judicial officer. (Chapter IX, sec. 8C1.) (See
                 “Employment Dispute Resolution Process Cases Involving
                 Judges,” supra sec. 4.)
     B.    Responsibilities of counselor:
           1.    Obtain preliminary information from the aggrieved employee
                 including a written statement (request for counseling) about:
                 a.     His/her allegations;
                 b.     Requested relief;
                 c.     Jurisdictional matters.
           2.    Advise the aggrieved employee of his/her rights and
                 responsibilities.
           3.    Explain procedures available under the EDR Plan.
           4.    Provide a copy of the request for counseling to the relevant unit
                 executive and the chief judge of the court.
           5.    Obtain pertinent information from the employing office or
                 others as needed to evaluate the matter, consistent with the
                 employee's right to confidentiality. (Chapter IX, sec. 4 and
                 8C3.)
           6.    Make an initial effort to reach a voluntary, mutually
                 satisfactory resolution.
           7.    Reduce to writing any resolution achieved.
           8.    Prepare a written record of all contacts made by the EDR
                 Coordinator during the counseling phase.
           9.     Notify the employee, in writing, of the end of counseling and
                 of his/her right to continue to pursue a claim.
     C.    For a detailed discussion of counseling, see discussion, infra
           Appendix B-1: Counseling Process.



EDR Bench Book for Judges (March 2011)                                         20


    Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 56 of 159
5.02 Mediation. (Chapter IX, sec. 9.)

     A.    Mediation is:
           1.    The second stage of the informal dispute resolution process
                 under the Model EDR Plan.
           2.    Conducted by a mediator, who is a third-party neutral skilled in
                 enhancing resolution.
     B.    Responsibilities of mediator:
           1.    Assure that a request for mediation is received and provided to
                 the EDR Coordinator for distribution to the unit executive and
                 chief judge.
           2.    Facilitate at least one meeting to discuss alternatives for
                 resolving the dispute, attended by the following:
                 a.     The aggrieved employee and his/her representative;
                 b.     The employing office and the employing office's
                        representative, if any.
           3.    May also meet with each party separately, as appropriate,
                 during the mediation.
           4.    Encourage a voluntary, mutually satisfactory resolution.
           5.    Reduce to writing any resolution achieved.
           6.    Identify and document any issues raised in mediation that were
                 not documented in the request for mediation.
     C.    Responsibilities of the EDR Coordinator:
           1.    Provide a copy of the request for mediation to the chief judge
                 and unit executive.
           2.    Provide written notice to the employee, the employee’s
                 representative, and the employing office of the conclusion of
                 the mediation period.
           3.    Provide written notice to the employee of his/her right to file a
                 complaint under chapter IX, sec. 10.
     D.    For a detailed discussion of mediation, see discussion, infra
           Appendix B-3: Mediation Process.




EDR Bench Book for Judges (March 2011)                                          21


    Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 57 of 159
             SECTION 6—DISMISSAL OF CLAIM OR COMPLAINT

6.01 Who may seek a dismissal? (Chapter IX, sec. 5E.)

     A.    Any party may seek a dismissal.
     B.    The chief judge or presiding judicial officer may consider dismissal at
           his/her own initiative.

6.02 When and how may a dismissal be sought? (Chapter IX, sec. 5E.)

     A.    A dismissal may be sought by filing a request with the chief judge or
           presiding judicial official or said official may act on his/her own
           initiative.
     B.    A dismissal may be sought or initiated at any point during the claim
           or complaint process, including the counseling and mediation stages.

6.03 On what basis may a dismissal be sought?

     A.    Timeliness;
     B.    Frivolousness;
     C.    Claim is unduly repetitive of a previous claim, grievance, or adverse
           action;
     D.    The claim does not invoke violations of the rights or protections
           granted under the Model EDR Plan; and
     E.    Failure to state a claim upon which relief may be granted.




EDR Bench Book for Judges (March 2011)                                          22


    Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 58 of 159
                SECTION 7—FILING OF COMPLAINT

7.01 Requirements for filing a complaint. (Chapter IX, sec. 10.)

     If an employee intends to file a formal complaint, he/she must:
     A.     File not later than 15 days after receiving the EDR Coordinator's
            written notification that the mediation period has ended. (Chapter IX,
            sec. 10A.)
     B.     Have participated in at least one mediation session. (Chapter IX,
            sec. 9C.)
     C.     File the complaint consistent with procedures established by the
            court.

7.02 Contents of the complaint. (Chapter IX, sec. 10.)

     The complaint must:
     A.    Be in writing.
     B.    Identify complainant, including by title and office, and list the names
           of all parties and individuals involved in the actions at issue.
     C.    Set forth a short and plain statement of:
           1.     The Complainant's claim(s) (which may not exceed those listed
                  in the request for mediation); and
           2.     The relief or remedy sought for each.
     D.    Identify the respondent to the complaint.
           1.     The respondent is the employing office which would be
                  responsible for redressing, correcting, or abating the alleged
                  violation(s).
           2.     An individual cannot be named as a respondent.




EDR Bench Book for Judges (March 2011)                                          23


    Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 59 of 159
                  SECTION 8—REVIEW OF PLEADINGS

8.01. Designation of reviewing official by chief judge or designee.
      (Chapter IX, sec. 10B1.)

      A.    The court=s chief judge, or designated judicial officer, reviews the
            complaint and any other documents submitted with the complaint by
            complainant, the respondent employing office, and the EDR
            Coordinator.

      B.    Where a complaint alleges a judge has violated rights protected by the
            Model EDR Plan the hearing will be conducted by the chief judge of
            the circuit or a circuit judicial council designee. (See Employment
            Dispute Resolution Process Cases Involving Judges, supra sec. 4.)

8.02 Complaint and other documents available for review.
     (Chapter IX, sec. 10A.)

      A.    The complaint file should contain the following information:
            1.    Statement that complainant attended at least one mediation
                  session.
            2.    Evidence of timely filing at every stage of the informal dispute
                  process:
                  a.    A written request for counseling filed within the EDR
                        Plan's time limits, which relates to the date of the alleged
                        violation or the date the employee became aware of the
                        alleged violation. (30 days under the Model EDR Plan.
                        Check your court plan for guidance.)
                  b.    A request for mediation within the EDR Plan's time
                        limits, which relates to the date the employee receives
                        notification of the end of the counseling period. (15 days
                        under the Model EDR Plan. Check your court plan for
                        guidance.)
                  c.    A complaint filed within the EDR Plan's time limits,
                        which relates to the date the employee receives
                        notification of the end of the mediation period. (15 days


EDR Bench Book for Judges (March 2011)                                           24


    Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 60 of 159
                       under the Model EDR Plan. Check your court plan for
                       guidance.)
          3.    The EDR Coordinator's counseling record, including the date
                complainant received the EDR Coordinator's notification of the
                end of the counseling period and of the right to request
                mediation.
          4.    The mediator's record, including claims raised in mediation
                (The complaint claims are limited to those raised in the request
                for mediation).
          5.    A record of the date complainant received the EDR
                Coordinator's notification of the end of the mediation period
                and of the right to file a complaint.
          6.    Complainant's name, title, and office.
          7.    The names of all parties and individuals involved in the actions
                constituting the alleged violation(s).
          8.    A statement of the claim(s), including:
                a.     Identification of the alleged acts and omissions which
                       constitute the claim.
                b.     Identification of the dates on which each act or omission
                       occurred.
                c.     Identification of the specific covered statute(s) and/or
                       chapters of the EDR Plan allegedly violated.
                d.     If discrimination (violation of the EDR Plan chapters
                       based on Title VII, Civil Rights Act; the Rehabilitation
                       Act; the Americans with Disabilities Act; or the Age
                       Discrimination in Employment Act) is alleged,
                       identification of the EEO bases of the complaint: race,
                       color, religion, national origin, sex, age, disability,
                       harassment, or retaliation.
          9.    The relief or remedy sought.
     B.   Deficiencies in the complaint file:
          1.    Complaint files, particularly where complainant is pro se, may
                lack information essential for resolution of the complaint, e.g.,
                the specific date on which each alleged violation occurred and
                specific descriptions of the violations.
          2.    Corrections of these deficiencies as soon as possible will
                expedite resolution of the complaint.


EDR Bench Book for Judges (March 2011)                                         25


    Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 61 of 159
            3.     Deficiencies may be remedied by:
                   a.    Requesting additional information from the EDR
                         Coordinator; and/or
                   b.    Requesting additional information from complainant;
                         and/or
                   c.    Deferring any requests for additional information until
                         the investigation/discovery stage of the hearing process;
                         or
                   d.    Dismissing the complaint at this stage, in whole or part,
                         if it meets any of the criteria discussed in section 6 (see
                         discussion, supra 6.03) or involves issues not raised in
                         the request for mediation.

8.03 Delineation of claims

     A.    The reviewing official, based on review of the complaint and
           pleadings, delineates the claims:
           1.    To determine whether grounds for dismissal exist;
           2.    To identify deficiencies in the complaint file, which may be
                 remedied by investigation/discovery; and
           3.    To identify the scope of the evidence to be presented at hearing.
      B.   A claim includes:
           1.    The issues or incidents which allegedly violated the law and/or
                 the court EDR Plan; and
           2.    If discrimination is alleged, the bases of the alleged
                 discrimination. (See discussion, supra sec. 8.02A8d.).

8.04 Grounds for dismissal. (Chapter IX, sec. 5E.)

     To ensure efficient use of judicial resources and ensure the integrity of the
     EDR process, the reviewing official, after reviewing the pleadings prior to
     hearing, should dismiss, in whole or in part, any complaint which satisfies
     one or more of the following grounds for dismissal.




EDR Bench Book for Judges (March 2011)                                               26



     Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 62 of 159
      A.      Frivolous complaint
                     A frivolous complaint:
              1.     Presents no justiciable question. It is, on its face, so devoid of
                     merit that no prospect exists for success; or
              2.     Is filed solely to harass or delay; or
              3.     Abuses or misuses the process, for ends other than those for
                     which it was intended; or
              4.     Raises issues previously settled or otherwise resolved.
      B.      Unduly repetitive complaint
               1.    An unduly repetitive complaint relies on the same or
                     substantially similar facts to those raised in a previous
                     complaint or which previously were resolved in another claim,
                     grievance, or adverse action, in which complainant was a party.
               2.    Under the doctrine of res judicata, complaints are unduly
                     repetitive which:
                     a.      Recite the same facts as a previous complaint, but allege
                             an additional cause of action;
                     b.      Identify the same personnel action as a previous
                             complaint, but identify different involved parties;
                     c.      Raise the same or substantially similar claims.
              3.     Complaints are not repetitive or identical merely because they
                     are related.
      C.       Failure to state a claim upon which relief may be granted
               1.    To state a claim for relief, complainant must:
                     a.      Be aggrieved;
                     b.      Allege a violation of one of the laws referenced in the
                             court EDR Plan;4 and
                     c.      Request a form of relief that can be granted under the
                             court EDR Plan.


       4
         For example, a complaint alleging discrimination must allege a deprivation of one of the
substantive protections provided by the anti-discrimination statutes (Title VII of the Civil Rights
Act, Rehabilitation Act, Americans with Disabilities Act, and/or Age Discrimination in
Employment Act), or one or more of the following bases: race, color, religion, national origin,
sex, age, disability, or retaliation.




EDR Bench Book for Judges (March 2011)                                                          27



      Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 63 of 159
          2.    To be aggrieved, complainant must:
                a.     Be an applicant for employment, an employee, or a
                       former employee of the court. (See discussion of
                       exclusions from definition of "employee", supra sec.
                       1.07A2.),
                b.     Allege a tangible personal harm or loss. Complainant
                       does not allege tangible harm or loss when he/she relies
                       on:
                       (1) A mere proposal to take a personnel action or a
                              threat to take such action;
                       (2) Harm or loss suffered by another person; or
                       (3) A situation where no relief may be granted.
                              Therefore, the claim must be dismissed
                              (see E. below).
  D.   Timeliness
          1.    The reviewing official should consider dismissal of the
                complaint when complainant has not satisfied established time
                limits. (See “Significant deadlines in the Model EDR Plan,”
                supra sec. 1.09.)
          2.    The chief judge of the court, or other presiding judicial officer,
                may, for good cause shown, extend any of the deadlines under
                Chapter VIII of the Model EDR Plan. (Chapter IX, sec. 5D.)
          3.    Dismissal is not appropriate when:
                a.     Complainant was not notified of the time limits.
                b.     The EDR Coordinator or the employing office explicitly
                       or implicitly extended the deadlines.
                c.     Complainant relied to his/her detriment on erroneous
                       advice given by the EDR Coordinator or employing office
                       about time limits.
                d.     Complainant was prevented by circumstances beyond
                       his/her control from timely filing a complaint.




EDR Bench Book for Judges (March 2011)                                         28



    Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 64 of 159
      E.        Claims do not invoke rights on protections under the Model
                EDR Plan. To determine whether dismissal on this ground is
                appropriate, inquire as to whether:
                1.     The complainant has alleged a violation of any of the nine
                       laws
                2.     The conduct, if true, would constitute an unlawful
                       employment practice when considered under the
                       referenced statute(s) allegedly violated under the EDR
                       Plan; and
                3.     Any relief that can be granted.
      F.        Claims not advanced in mediation
           1.   The Model EDR Plan requires an aggrieved employee to file a
                 written request for mediation within 15 days of receiving
                notification of the end of the counseling period.
           2.   The mediation request must state the claims presented.
                (Chapter IX, sec. 9A.)
           3.   If the complaint raises claims not previously presented at
                mediation:
                a.     The claim should be dismissed.
                b.     However, designated judicial official may find the
                       employee's new claim is substantially similar or related to
                       claims raised in the request for mediation. In that case,
                       the reviewing official may consider the new claim. This
                       is particularly advisable where the new claim arose
                       subsequent to the filing of the request for mediation and
                       consideration would result in judicial economy. (See
                       “Consolidation of complaints,” infra sec. 8.06.)
           4.   Under the Model EDR Plan, a complainant’s failure to
                participate in mediation precludes further processing of the
                claim. (Chapter IX, sec. 10A.)




EDR Bench Book for Judges (March 2011)                                         29



    Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 65 of 159
     G.          Mootness
           1.    The Model EDR Plan is silent regarding dismissal on the basis
                 of mootness.
            2.   A complaint is moot if it does not involve a live controversy or
                 dispute, such that there is no ongoing harm or injury.
            3.   The standard for determining mootness generally is whether:
                 a.    There is no reasonable expectation the alleged violation
                       will recur; and
                 b.    Interim relief or events have completely and irrevocably
                       eradicated the effects of the alleged violation.
            4.   Mootness may occur at any stage of complaint processing.
                 a.    For example, departure of complainant from the
                       employing office may render a complaint moot if:
                       (1) The complaint alleges harassment, and the only
                              relief requested is cessation of the harassment.
                       (2) The complaint alleges improper denial of training
                              or other actions for which there is no ongoing
                       h      . arm.
                 b.    In contrast, a complainant's departure may not render
                       the allegations moot if they involve such actions as:
                       (1) Constructive discharge or termination;
                       (2) Failure to promote; or
                       (3) Loss of pay.

8.05 Dismissal of a claim or complaint. (Chapter IX, sec. 5E.)
     A.    The Model EDR Plan is silent as to what procedures must be followed
           in dismissing a claim or complaint. Courts may establish procedures
           to fill this gap. Prior to dismissing a claim or complaint, the following
           actions are advisable:
                   1.     Notice to the claimant/complainant that a request for
                          dismissal has been filed with a copy of the request.




EDR Bench Book for Judges (March 2011)                                            30



     Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 66 of 159
                 2.      Where the chief judge or presiding judicial officer has
                          decided to act sua sponte, notice to the parties of the
                          proposed reason for the dismissal.
     B.    Notice of proposed dismissal to complainant should include:
                  1.     Reason(s) for the proposed dismissal (where a motion or
                         request for dismissal has been filed, a copy of the
                         motion). (See “Grounds for dismissal,” supra sec. 8.04.)
                  2.     Opportunity to respond to the proposed dismissal.
                  3.     Deadline for responding to the notice of the proposed
                         dismissal.
     C.    Upon receipt of any response from complainant, designated judicial
           officer determines whether the response:
                  1.     Is timely.
                  2.     Establishes good cause for not dismissing the complaint.
     D.    Designated judicial officer should refer to court procedures to
           determine whether:
                  1.     He/she should notify the employing office of the
                         proposed dismissal.
                  2.     He/she should require the complainant to serve copies of
                         the complainant’s response on the employing office.
     E.    Written dismissal of all or part of the complaint:
           1.     Is appropriate where complainant fails to establish good cause
                  for not dismissing.
           2.     Must identify the reasons for dismissal.
           3.     Is designated judicial officer’s final decision as to those portions
                  of the complaint dismissed.
           4.     Should be served on all parties.

8.06 Consolidation of complaints

     A.    The Model EDR Plan is silent regarding consolidation of complaints.
     B.    Consolidation promotes judicial efficiency and economy, where:
           1.   One complainant files two or more complaints (whether
                involving similar or different issues and whether involving the
                same or different employing offices); or




EDR Bench Book for Judges (March 2011)                                             31


     Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 67 of 159
        2. Two or more complainants file complaints consisting of
           substantially the same claims or allegations, or relating to the same
           matter.
     C.    The chief judge or presiding judicial officer is responsible for ordering
           consolidation of complaints.

8.07 Amendment of complaints
     A.    The Model EDR Plan is silent regarding amendment of complaints.
     B.    Amendment promotes judicial economy and efficiency when
           complainant:
           1.    Provides additional evidence to support an existing claim;
           2.    Raises a new claim or allegation that is like or related to the
                 claims raised in the pending complaints. However, where the
                 new claim or allegation is not contained in the request for
                 mediation, an issue may exist as to whether it was raised in a
                 timely manner.
     C.    The chief judge or presiding judicial officer is responsible for ordering
           amendment of complaints.




EDR Bench Book for Judges (March 2011)                                            32


    Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 68 of 159
          SECTION 9—DESIGNATION OF HEARING OFFICER
          ALLEGED VIOLATION BY AN EMPLOYEE

9.01 Designation of the hearing officer. (Chapter IX, sec. 10.)

     If the chief judge or designated judicial officer who has reviewed the
     complaint and pleadings under section 8 (see “Review of Pleadings,” supra
     sec. 8) does not dismiss the complaint, he/she will:
     A.     Act as hearing officer;
     B.     Hold a hearing on the complaint, unless he/she determines there is no
            issue of material fact;
     C.     Provide for discovery and investigation as necessary (see sec II); and
     D.     Issue a written decision, within the parameters of 9.02.

9.02 Limits of chief judge or presiding judicial officer authority over EDR
     matters.

     Official Judicial Conference statement of Judiciary policy limitations of
     judges in the EDR process are:

     A.    That EDR proceedings are strictly administrative and are not “cases
           and controversies” under Article III of the Constitution;
     B.    That judges presiding in EDR matters are functioning in an
           administrative rather than a judicial capacity;
     C.    That judges’ decisions in EDR matters must be in conformance with
           all statutes and regulations that apply to the Judiciary and that judges
           in the EDR context have no authority to declare such statutes or
           regulations unconstitutional or invalid; and
     D.    That judges presiding in EDR matters may not compel the
           participation of or impose remedies upon agencies or entities other
           than the employing office which is the respondent in such matters.




EDR Bench Book for Judges (March 2011)                                            33


     Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 69 of 159
9.03 Designation of designated judicial officer where alleged violator is a
     judge. (Chapter IX, sec. 3.)

      Where a judge is the alleged violator, the hearing will be conducted by the
      chief circuit judge or another judicial officer as provided for by the circuit
      judicial council.

9.04 Designation of the hearing officer where chief judge is disqualified.
     (Chapter IX, sec. 7.)

      Where a chief judge is disqualified under Chapter IX, sec. 7, or is
      unavailable to serve, a presiding judicial officer must be designated under
      procedures established by the court or circuit judicial council.




EDR Bench Book for Judges (March 2011)                                                 34


     Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 70 of 159
                   SECTION 10—DESIGNATION OF AUTHORITY
                   ALLEGED VIOLATION BY A JUDGE

10.01 Designation of the authority where alleged violator is a judge.

      Where a judge is the alleged violator, all claims procedures shall be
      performed by the circuit council, either by members of the council
      directly or by persons designated to act on its behalf, which may
      include the chief judge of the circuit.

      If a judge becomes the subject of both an EDR claim and a judicial
      misconduct complaint under the Judicial Conduct and Disability Act,
      28 U.S.C. §§ 351-364, the circuit judicial council or its designee,
      which may include the chief judge of the circuit, will craft a procedure
      for determining any common issues of fact and processing both
      complaints, subject to all requirements of the Act, the Rules for
      Judicial-Conduct and Judicial-Disability Proceedings, and, as
      practicable, the EDR Plan.




EDR Bench Book for Judges (March 2011)                                           35


     Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 71 of 159
              SECTION 11—INVESTIGATION/DISCOVERY

11.01 Choosing an investigation or discovery method. (Chapter IX, sec. 10B.)

      A.      Prior to the commencement of the hearing, designated judicial officer5
              may provide for such investigation or discovery as necessary. At all
              times designated judicial officer oversees the development of the
              record. Options include:
              1.     Proceeding with the hearing on the complaint record.
              2.     Asking the EDR Coordinator and/or the parties to produce any
                     necessary documentation to designated judicial officer prior to
                     the hearing.
              3.     Investigation by the EDR Coordinator, contractor, or some other
                     person assigned by a designated judicial officer.
              4.     Discovery.
      B.      Designated judicial officer should consider the relative informality
              of the EDR process when selecting a method for developing a hearing
              record.
      C.      Proceeding with the hearing on the complaint record may be
              preferable where:
              1.     Avoidance of delay is imperative.
              2.     Relevant and material evidence is primarily testimonial in
                     nature.
              3.     The issues are finite and limited and the necessary
                     documentation is already available.
      D.      Asking the EDR Coordinator and/or the parties to produce any
              necessary documentation prior to the hearing may be preferable where:
              1.     Avoidance of delay is imperative.
              2.     Relevant and material evidence is documentary in nature.
              3.     The issues are finite and limited.




       5
          All references in this Chapter to the “hearing officer,”refer to the role of the “presiding
judicial officer” during the hearing stage of the Model EDR Plan.



EDR Bench Book for Judges (March 2011)                                                              36


      Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 72 of 159
     E.    Investigation may be preferable where:
           1.    One or both parties is/are pro se, and may be unfamiliar with
                 discovery procedures.
           2.    The complaint and pleadings do not adequately describe the
                 facts, issues, and persons involved.
           3.    The issues are few and relatively simple.
           4.    The existing record is not extensive.
           5.    A determination at the outset as to what information is relevant
                 and material is not possible because of the limitations of the
                 record.
     F.    Discovery may be preferable where:
           1.    Both parties are represented by counsel.
           2.    The complaint involves multiple or complex issues.
           3.    It is desirable to limit additional evidence to that which is
                 material and relevant.

11.02 Sources of funding for investigation or discovery

     A.    Investigation
           Designated judicial officer may order an investigation.
           1.    The EDR Coordinator may conduct the investigation; or
           2.    The EDR Coordinator may contract with an outside
                 investigator, but should first request guidance on contracting
                 procedures from the Procurement Management Division of the
                 Administrative Office.
     B.    Sources of funding for conducting investigation or discovery must be
           provided from the court budget.

11.03 Investigation. (Chapter IX, sec. 10 B2.)

     A.    The Model EDR Plan authorizes investigation, but does not discuss
           specific investigation procedures.
     B.    After ordering an investigation and receiving the investigation report,
           designated judicial officer reviews it for legal and factual sufficiency.




EDR Bench Book for Judges (March 2011)                                             37


     Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 73 of 159
     C.    If the record of investigation is inadequate or incomplete, designated
           judicial officer should order:
           1.      Supplementation of the record of investigation; or
           2.      Production by the parties of such additional evidence prior
                   to hearing; or
           3.      Production by the parties of such additional evidence at hearing.

11.04 Discovery. (Chapter IX, sec. 10B2.)

     A.    The Model EDR Plan authorizes discovery, but does not discuss
           specific discovery procedures. Designated judicial officer may use
           standard discovery procedures, at his/her discretion.
     B.    Discovery evidence may be developed using a variety of methods,
           including:
           1.     Informal, unrecorded meetings and conference calls,
           2.     Interrogatories,
           3.     Depositions,
           4.     Stipulations,
           5.     Requests for admissions, and
           6.     Requests for production of documents.
     C.    In the interests of judicial economy and efficiency, informal discovery
           methods are preferable in the EDR process.

11.05 Relevant documents

     Examples of documents a presiding judicial officer might expect to review
     following investigation or discovery for various types of alleged violations
     of the Model EDR Plan are included at Appendix C.




EDR Bench Book for Judges (March 2011)                                              38


     Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 74 of 159
      SECTION 12—HEARINGS UNDER THE MODEL EDR PLAN

12.01 Introduction to hearing procedures. (Chapter IX, sec. 10B.)

     A.    Under the Model EDR Plan, the hearing is the third stage in the EDR
           process, if counseling and mediation are unsuccessful.
           1.    It continues the fact-finding process, allowing the parties to:
                 a.      Explain and supplement the record.
                 b.      Resolve a dispute.
           2.    A hearing is not a formal judicial hearing or mini-trial.
           3.    One or both parties may be pro se.
     B.    Rules of evidence
           1.    The Federal Rules of Civil Procedure (FRCP) and the Federal
                 Rules of Evidence (FRE):
                 a.      Are not dispositive; and
                 b.      Should be used only as guidance.
           2.    Hearsay evidence
                 a.      Although the plan does not specifically address hearsay
                         evidence, designated judicial officer may wish to consider
                         admitting it only where it:
                         (1) Is reliable and relevant; or
                         (2) Falls within the FRE exclusions to the hearsay rule.
                 b.      Hearsay evidence should not be given as much weight as
                         direct testimony under oath.
     C.    A hearing allows the parties to:
           1.    Examine and cross-examine witnesses.
           2.    Introduce documentary evidence as deemed appropriate by the
                 presiding judicial officer.




EDR Bench Book for Judges (March 2011)                                           39


     Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 75 of 159
12.02 Hearing role and responsibilities of presiding judicial officer.
      (Chapter IX, sec. 10.6)

      Designated judicial officer:
      A.   Regulates the conduct of the hearing.
      B.   Supplements the record as he/she deems necessary, by ordering:
           1.     Production of additional documents by the EDR Coordinator
                  and/or the parties; and/or
           2.     Investigation; and/or
           3.     Discovery.
      C.   Reviews the complete record, including the complaint file and any
           supplemental documentation.
      D.   Determines the time, place, and manner of conducting the hearing.
           (Chapter IX, sec. 10B2.)
           1.     Begins the hearing no later than 60 days after the complaint is
                  filed, under the Model EDR Plan. (Chapter IX, sec. 10B2a.)
           2.     Provides written notice of the hearing, or requests the EDR
                  Coordinator to do so to (Chapter IX, sec. 10B2b):
                  a.     The Complainant;
                  b.     The head of the employing office against which the
                         complaint was filed;
                  c.     The person who allegedly violated the Model EDR
                         Plan; and
                  d.     Others he/she deems appropriate.
      E.   Dismisses the complaint summarily prior to hearing when:
           1.     No material facts are in dispute; or
           2.     Other grounds exist for summary dismissal (e.g., no EDR basis
                  for claim).




       6
         All references in this Chapter to the “hearing officer,”refer to the role of the “presiding
judicial officer” during the hearing stage of the Model EDR Plan.




EDR Bench Book for Judges (March 2011)                                                                 40


      Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 76 of 159
    F.    When circumstances warrant, postpones the beginning of the hearing,
          stays or holds the hearing in abeyance after it has begun, or dismisses
          without prejudice.
    G.    Administers oaths or requests the court reporter to do so.
    H.    Helps the parties clarify the legal issues, eliminating extraneous
          issues.
    I.    Encourages and assists the parties to stipulate to the undisputed facts.
    J.    Encourages and assists the parties to resolve the dispute as early as
          possible.
    K.    Limits witnesses, testimony, and documentary exhibits to exclude
          irrelevant and repetitious evidence.
    L.    Limits the hearings to disputed issues.
    M.    Issues protective orders to protect confidential or privileged
          information.
    N.    Excludes from the hearing:
          1.     Witnesses not currently testifying;
          2.     Anyone who has no legitimate official reason to participate; and
          3.     Anyone who is disruptive or contumacious.
    O.    Imposes appropriate sanctions on parties, witnesses, or other court
          officials or employees who fail to comply with orders or requests.
    P.    Issues an oral bench decision, later reduced to writing, as appropriate,
          when the facts and legal issues are few and simple.
    Q.    As stated in section 9.02 of this Benchbook, official Judicial
          Conference statements of Judiciary policy limitations of judges in the
          EDR process are:
          •      That EDR proceedings are strictly administrative and are not
                 “cases and controversies” under Article III of the Constitution;
          •      That judges presiding in EDR matters are functioning in an
                 administrative rather than a judicial capacity;
          •      That judges’ decisions in EDR matters must be in conformance
                 with all statutes and regulations that apply to the Judiciary and
                 that judges in the EDR context have no authority to declare such
                 statutes or regulations unconstitutional or invalid; and




EDR Bench Book for Judges (March 2011)                                          41


    Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 77 of 159
           •      That judges presiding in EDR matters may not compel the
                  participation of or impose remedies upon agencies or entities
                  other than the employing office which is the respondent in such
                  matters.
     R.    ALLEGED VIOLATION BY AN EMPLOYEE
           Issues a written final decision, within the parameters of 12.02Q, within
           30 days of the conclusion of hearing, under the Model EDR Plan:
           1.     On the merits of the complaint or on summary dismissal;
           2.     Based on the oral bench decision, if any.
     S.    ALLEGED VIOLATION BY A JUDGE
           If a judge becomes the subject of both an EDR claim and a judicial
           misconduct complaint under the Judicial Conduct and Disability Act,
           28 U.S.C. §§ 351-364, the EDR claim is abated pending the entry of
           the final order that concludes the judicial misconduct complaint. The
           judge is then subject to all requirements of the Act, the Rules for
           Judicial-Conduct and Judicial-Disability Proceedings.
     T.    Orders appropriate resolution of the dispute and relief, including
           calculation of back pay and attorney's fees if authorized under the
           Back Pay Act.
     U.    Retains jurisdiction until the resolution of the dispute and relief
           ordered are fully implemented.

12.03 Hearing role and responsibilities of EDR Coordinator and other court
      officials

     A.    The EDR Coordinator:
           1.   Produces, prior to hearing, any additional documentation
                ordered by designated judicial officer or sought by the parties.
           2.   At the request of designated judicial officer, provides written
                notice of the hearing date, time, and place, see “Scheduling and
                notification of hearing,” infra sec. 12.05.




EDR Bench Book for Judges (March 2011)                                          42


     Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 78 of 159
          3.    Arranges for a court reporter to produce the required verbatim
                record of the hearing. (Chapter IX, sec. 10B2d.) The EDR
                Coordinator may need to contract with an outside court reporter.
                (See 28 U.S.C. sec.753 and Guide to Judicial Policies,
                Vol. 6.)
          4.    Coordinates any relief with the court's office of personnel or any
                other office, as appropriate, if designated judicial officer rules in
                complainant's favor and orders relief for complainant. For
                example, the EDR Coordinator could assist:
                a.     Personnel, which would implement a promotion; and
                b.     The court's chief financial officer, who would implement
                       a back pay award under the Back Pay Act.
          5.    Maintains official hearing files. (Chapter IX, sec. 6B.)
          6.    Makes available to the public hard copies of final decisions, in
                accordance with procedures established by the judicial council
                of the circuit. (Chapter IX, sec. 13.)
    B.    Court officials and employees other than the chief judge or designee:
          1.    Act as witnesses, depending upon the facts of each case.
          2.    Act as representatives for:
                a.     Complainant, for whom the Model EDR Plan expressly
                       authorizes representation (Chapter IX, sec. 5B), if:
                       (1) The proposed representative is available and agrees
                              to such representation; and
                       (2) It will not:
                              (a) Unduly interfere with his/her court duties; or
                              (b) Constitute a conflict of interest as
                                      determined by the representative's appointing
                                      officer.
                b.     Respondent employing office, as authorized by the
                       individual court plan or appointed by designated judicial
                       officer. It is not advisable for the alleged violator to serve
                       as representative for the employing office.




EDR Bench Book for Judges (March 2011)                                            43


    Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 79 of 159
              3.      Act as court reporter. However, court reporters who are
                      employees of the court are obliged only to take the record in
                      court, not in administrative proceedings. (Chapter IX, sec.
                      10C2d.) (See 28 U.S.C. sec. 753 and Guide to Judicial Policies,
                      Vol. 6.)
              4.      Implement any resolution of the dispute or relief ordered by
                      designated judicial officer.
              5.      Implement any sanctions ordered by designated judicial officer
                      against court officials or employees.

12.04 Time limits under the Model EDR Plan and individual court plans

      Designated judicial officer:
      A.   Begins the hearing no later than 60 days after the complaint is filed,
           under the Model EDR Plan. (Chapter IX, sec. 10B2a.)
      B.   Has no time certain for concluding the hearing, under the Model EDR
           Plan.
      C.   Issues a final written decision no later than 30 days after conclusion of
           the hearing, under the Model EDR Plan. (Chapter IX, sec.10B2g.)
      D.   May extend any of these deadlines for good cause.
           (Chapter IX, sec. 5D.)
      E.   Conducts the hearing in accordance with the individual court plan,
           which may differ from the Model EDR Plan.7




       7
         For example, the EDR Plan for the Sixth Circuit, Eastern District of Tennessee, requires
the hearing to start no later than 10 days after the complaint is filed, and a written decision to be
issued no later than 15 days after conclusion of the hearing.




EDR Bench Book for Judges (March 2011)                                                            44


      Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 80 of 159
12.05 Scheduling and notification of hearing. (Chapter IX, sec. 10B2a &b.)

     Designated judicial officer provides written notice, or requests the EDR
     Coordinator to provide written notice, of the hearing date, time, and place to:
     A.   Complainant;
     B.   The head of the employing office against which the complaint was
          filed;
     C.   The person who allegedly violated the Model EDR Plan, and
     D.   Others designated judicial officer deems appropriate.

12.06 Resolution efforts

     A.    The goal of the EDR procedures is to resolve complaints at the earliest
           possible stage.
           1.     The counseling stage is the first opportunity to resolve.
                  (Chapter IX, sec. 9.)
           2.     The mediation stage is the second opportunity to resolve.
                  (Chapter IX, sec. 7.)
           3.     Prior to, or during, the hearing is the last opportunity to resolve.
     B.    At the hearing stage, designated judicial officer may, during the
           parties' good-faith efforts at resolution:
           1.     Postpone the beginning of the hearing;
           2.     Stay or hold the hearing in abeyance after it has begun; or
           3.     Dismiss the complaint without prejudice where the delay will be
                  lengthy or indefinite.
     C.    Role of designated judicial officer in resolution:
           1.     Clarify the facts and legal issues in dispute.
           2.     Enhance likelihood of resolution by:
                  a.     Suggesting possible resolutions if the parties cannot or
                         will not do so.
                  b.     Drawing on the advantages of designated judicial officer's
                         prestige, position, and perceived objectivity in working to
                         convince the parties to resolve the complaint.
                  c.     Ensuring that resolution and any remedies are authorized
                         by law.
           3.     Ensure the parties understand the terms of any resolution.
           4.     Retain jurisdiction over a complaint until the appropriate court
                  officials or employees fully implement the resolution and any
                  relief ordered.

EDR Bench Book for Judges (March 2011)                                             45

     Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 81 of 159
12.07 Postponement of hearing

     A.    Before granting a postponement of the beginning of the hearing, a stay
           after the hearing has begun, or a dismissal without prejudice, it is
           appropriate for the chief judge or presiding judicial officer to require
           any party requesting the delay to:
           1.      Provide written justification for the request.
           2.      Where possible, obtain the opposing party's written agreement
                   to the delay.
     B.    Justification for request for postponement of the hearing:
           1.      May be by letter or statement, rather than by motion.
           2.      Should include:
                   a.     The reason(s) for the request (e.g., extended illness of a
                          party or representative; temporary unavailability of
                          necessary documentation or a witness);
                   b.     Any documentation necessary to support the proffered
                          reason for delay (for example, affidavits and/or medical
                          documentation); and
                   c.     A proposed date certain for beginning/resuming the
                          hearing or for refiling of the complaint.
     C.    If the opposing party objects to the delay, it is appropriate for the chief
           judge or presiding judicial officer to require the opposing party to
           submit the objection in writing.
     D.    Designated judicial officer may stay or hold the hearing in abeyance
           after it has begun.
     E.    The chief judge or presiding judicial officer should not find good
           cause shown when the proffered justification reflects:
           1.      Poor planning;
           2.      Lack of foresight; or
           3.      That, had the requesting party taken expeditious action, they
                   would have avoided the need for postponement.
     F.    Designated judicial officer's decision to grant or deny delay should:
           1.      Be issued within a reasonable time after the request.
           2.      Be in writing.




EDR Bench Book for Judges (March 2011)                                              46

     Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 82 of 159
           3.    Contain the reasons for granting or denying the request for
                 delay.
           4.    If the delay is granted:
                 a.     Establish a new hearing date; or
                 b.     Schedule a status conference to discuss a new hearing
                        date.

12.08 Interlocutory appeals

     A.    The Model EDR Plan is silent regarding interlocutory appeals.
     B.    Interlocutory appeals under the Model EDR Plan should be
           discouraged because:
           1.     They are inconsistent both with the purpose and process of
                  dispute resolution. They:
                  a.     Delay what is intended to be an expedited process.
                  b.     Complicate what is intended to be an informal, simple
                         process that neither replicates a judicial proceeding nor
                         requires representation by attorneys.
           2.     The EDR Plan's time limit for issuance of a written final
                  decision, 30 days after conclusion of the hearing (Chapter IX,
                  sec. 10B2g), allows issues typically raised on interlocutory
                  appeal to be resolved expeditiously at the review stage.
           3.     Anyone aggrieved by the decision, or by a summary dismissal
                  of the claim, may petition for review of designated judicial
                  officer's final decision under procedures established by the
                  judicial council of the circuit. (Chapter IX, sec. 11.)
     C.    Presiding judicial officers may avoid certifying interlocutory appeals
           by:
           1.     Clearly identifying motions, objections, or any other possible
                  bases for interlocutory appeal, as they are made during hearing.
           2.     Explicitly reiterating these bases or issues in the written final
                  decision.




EDR Bench Book for Judges (March 2011)                                            47

     Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 83 of 159
12.09 Ex parte communications

     A.    The Model EDR Plan is silent regarding ex parte communications.
     B.    Designated judicial officer should apply the standard rules for ex parte
           communications; i.e., there is no ex parte communication unless the
           court is conducting an in camera hearing or considering an ex parte
           application relevant to an issue in the proceeding.

12.10 Introduction of additional evidence. (Chapter IX, sec. 10B2.)

     A.    The Model EDR Plan explicitly authorizes:
           1.     Designated judicial officer to order necessary investigation
                  and/or discovery.
           2.     Complainant to present evidence on his/her behalf.
           3.     The respondent employing office to present evidence on its
                  behalf.
     B.    The purpose of the hearing is to:
           1.     Remedy gaps/omissions in the complaint record.
           2.     Continue and complete development of the factual record.
           3.     Resolve disputed facts and legal issues.
           4.     Ultimately resolve the complaint.
     C.    Criteria for allowing introduction of additional evidence at hearing
           Designated judicial officer should allow introduction only of evidence
           that is:
           1.     Not unduly repetitious of evidence already contained in the
                  complaint record.
           2.     Relevant and material to the disputed legal and factual issues in
                  the complaint.
     D.    Failure to introduce necessary and relevant evidence at hearing
           Designated judicial officer may:
           1.     Issue a written order instructing the offending party to produce
                  such evidence, and warn that party of possible sanctions.
           2.     Where the party ordered to produce the evidence fails to do so,
                  and offers no good cause for the failure:
                  a.     Draw an adverse inference that the requested information
                         would have reflected unfavorably on the party refusing to
                         provide it;
                  b.     Consider the issues to which the requested information
                         pertains to be established in favor of the opposing party;

EDR Bench Book for Judges (March 2011)                                           48

     Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 84 of 159
                c.    Exclude other evidence proffered by the party failing to
                      produce the requested information;
                d.    Enter a decision fully or partially in favor of the opposing
                      party; or
                e.    Take other appropriate action.

12.11 Motions

     A.   The Model EDR Plan is silent regarding the use of motions.
     B.   Disadvantages of requiring the filing of formal motions.
          1.    Hearings under the Model EDR Plan are a continuation of
                fact-finding on a complaint.
          2.    The FRE and FRCP merely provide guidance in these hearings.
          3.    The dispute resolution process, including the hearing stage, is
                intended to be informal.
          4.    Parties may use procedural formalities such as motions to delay
                and unnecessarily complicate the hearing stage.
          5.    Parties may be pro se and therefore unfamiliar with the process
                of filing and responding to motions.
     C.   Designated judicial officer may require or permit parties to file
          motions.
     D.   Alternatives to motions.
          1.    Less formal processes include use of:
                a.      Letters
                b.      Narrative statements.
          2.    When less formal processes are used in lieu of motions, it is
                appropriate for designated judicial officer to:
                a.      Require the party proffering such letters or narrative
                        statements to state clearly the desired request, and the
                        reasons for the request.
                b.      Give the opposing party a reasonable opportunity to
                        respond, by a time certain, such as five to ten days,
                        depending upon the complexity of the request.
                c.      Issue a written order disposing of the request within a
                        reasonable time after receiving:
                        (1) Any objection to the request; or
                        (2) An unopposed request.


EDR Bench Book for Judges (March 2011)                                          49



    Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 85 of 159
12.12 Representation at hearing

     A.    Complainant
           1.   Under the Model EDR Plan, the complainant has a right to
                representation of his/her choice, provided (Chapter IX, sec. 5B):
                a.    That person is available and consents to be the
                      representative; and
                b.    If a court employee, the representation will not:
                      (1) Unduly interfere with his/her court duties; or
                      (2) Constitute a conflict of interest, as determined by
                             the representative's appointing officer.
           2.   Complainant may select a private representative, including an
                attorney; however, complainant is entitled to attorney's fees only
                where authorized by the Back Pay Act, 5 U.S.C. sec. 5596.
                (Chapter IX, sec. 12B6.)
     B.    Respondent employing officer and individual alleged violator
           1.   The Model EDR Plan is silent regarding representation for the
                respondent employing office or for an alleged violator, although
                the employing officer may contract with an attorney to represent
                the employing office.
           2.   Courts seeking representation for the employing office might
                explore available means, if any, for securing representation
                through contact with the Fair Employment Practices Office or
                the Office of General Counsel of the Administrative Office of
                the U.S. Courts.
           3.   The Model EDR Plan states that only the employing office, not
                individuals, can be named as respondents.
                (Chapter IX, sec. 10A.)




EDR Bench Book for Judges (March 2011)                                         50



     Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 86 of 159
C.   Pro se parties
           1.     Complainant and/or the respondent employing office may
                  appear pro se at the hearing.
           2.     When a party appears pro se, and is unable to present his/her
                  case effectively, designated judicial officer may decide that
                  basic fairness and due process require him/her to provide
                  assistance in:
                  a.     Identifying the legal and factual issues;
                  b.     Examining and cross-examining witnesses;
                  c.     Introducing documentary evidence; and
                  d.     Raising appropriate procedural objections and objections
                         to documentary and testimonial evidence.

12.13 Reasonable time for case preparation

     A.    The Model EDR Plan:
           1.     Authorizes reasonable official time for the person invoking the
                  EDR process to prepare his/her case. (Chapter IX, sec. 5C.)
                  a.     "Reasonable" may be defined as whatever is appropriate,
                         under the particular circumstances of the complaint, in
                         order to allow a complete presentation of the relevant
                         information associated with the complaint and a response
                         to requests for information.
                  b.     The actual number of hours to which the aggrieved
                         employee is entitled will vary, depending on the nature
                         and complexity of the complaint and considering the
                         court's need to have its employees available to perform
                         their normal duties on a regular basis.
                  c.     "Reasonable" is generally defined in terms of hours, not
                         in terms of days, weeks, or months.
           2.     Does not address case preparation time for court officials or
                  employees who act as representatives.
     B.    Where an employee has a representative who is a court employee,
           reasonable official time for the representative's case preparation is
           appropriate. Employees of the court representing the employing office
           or acting in third party roles established by the Model or court EDR
           Plan are normally considered to be acting in an official capacity.


EDR Bench Book for Judges (March 2011)                                          51



     Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 87 of 159
12.14 Obtaining witnesses. (Chapter IX, sec. 10B2c.)

     A.    The Model EDR Plan explicitly authorizes the complainant to
           (Chapter IX, sec. 10B2c):
           1.    Present evidence on his/her own behalf, including, by inference,
                 testimonial evidence.
           2.    Cross-examine adverse witnesses.
     B.    The Model EDR Plan is silent regarding:
           1.    The issuance of subpoenas or use of other means to compel
                 witnesses to testify.
           2.    Granting official time to court officials or employees for witness
                 preparation and testimony. (The Model EDR Plan expressly
                 authorizes the complainant to use a reasonable amount of
                 official time to prepare his/her case, so long as it does not
                 interfere with his/her court duties. Chapter IX, sec. 5C).
     C.    Production of witnesses
           1.    Both complainant and the respondent employing office may call
                 witnesses, so long as the testimony will be limited to witnesses
                 having:
                 a.     Direct knowledge relating to the complaint; and
                 b.     Testimony that is relevant and not unduly repetitious.
           2.    There is no requirement that the parties have the same number
                 of witnesses.
     D.    Preparation of witnesses
           1.    To ensure orderly and effective presentation of the issues in
                 dispute, designated judicial officer may authorize reasonable
                 official time for both parties to prepare witnesses, if such time
                 does not unduly interfere with the witnesses' court duties.
           2.    If the employing office of the witness objects, designated
                 judicial officer may:
                 a.     Order that office to cooperate in the EDR process; or
                 b.     Establish good cause for its failure to cooperate based on
                        business necessity. (See “Cooperation of witnesses and
                        representatives,” infra sec 11.15.)




EDR Bench Book for Judges (March 2011)                                          52



     Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 88 of 159
12.15 Cooperation of witnesses and representatives

     A.    Cooperation of witnesses
           1.    The Model EDR Plan does not explicitly address the
                 cooperation of witnesses and representatives.
           2.    All court employees have an affirmative duty to cooperate at all
                 stages in the EDR process, including the hearing.
     B.    Failure of witnesses or representatives to cooperate
           1.    Where good cause is shown for the non-appearance of a witness
                 (e.g., a witness or representative no longer is employed by the
                 court or is ill), designated judicial officer may:
                 a.      Substitute another witness or representative; or
                 b.      Postpone or stay the hearing, or dismiss without
                         prejudice. (See “Postponement of hearing,” supra sec.
                         11.07.)
           2.    Where no good cause is shown for the non-appearance of a
                 witness who is a court employee, it is appropriate for designated
                 judicial officer to remind him/her of the obligation, under the
                 Model EDR Plan, to assist, as necessary and appropriate, in the
                 employment dispute resolution process where:
                 a.      The proffer of testimony shows the witness has material
                         and relevant testimony regarding the complaint; and
                 b.      The information cannot be obtained through any other
                         witness or documentation.
           3.    Where the non-appearance is deliberate and the result of a
                 failure to cooperate by one of the parties, designated judicial
                 officer also may impose sanctions directly relating to
                 disposition of the complaint, as appropriate. Such sanctions
                 may include, but are not limited to:
                 a.      Drawing an adverse inference that the requested
                         information would have reflected unfavorably on the non-
                         cooperating party;
                 b.      Considering the issues pertaining to the non-appearance
                         as established in favor of the opposing party;
                 c.      Excluding other evidence proffered by the non-
                         cooperating party;



EDR Bench Book for Judges (March 2011)                                          53



     Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 89 of 159
                  d.    Entering a decision fully or partially in favor of the
                        opposing party;
                  e.    Excluding a representative from future hearings, and/or
                        reporting the attorney representative to the appropriate
                        licensing authority; and/or
                  f.    Any other appropriate action.

12.16 Pre-hearing conferences

     A.    The Model EDR Plan is silent regarding pre-hearing conferences.
     B.    Designated judicial officer may rely on the standard procedures for
           pre-hearing conferences.

12.17 Who may attend the hearing

    A.    General attendance
          1.   The Model EDR Plan:
               a.      Does not require that the hearing be limited to the parties,
                       their representatives, and the witness testifying at a
                       particular time.
               b.      Does not address the question of who may attend the
                       hearing, but does provide that designated judicial officer
                       may control the time, place and manner of the hearing.
               c.      States only that final decisions under the Model EDR Plan
                       are to be made available to the public under procedures
                       established by the judicial council of the circuit.
                       (Chapter IX, sec. 13.)
          2.   The Privacy Act (PA), 5 U.S.C. sec. 552a, and the Freedom of
               Information Act (FOIA), 5 U.S.C. sec. 552, do not apply to the
               federal courts.
               a.      The federal courts do not meet the statutory definition of a
                       covered agency. 5 U.S.C. sec. 552(f), 552a(a)(1).
               b.      These statutes may be used as guidance, as it is the policy
                       of the Administrative Office to follow their intent.
                       Redesigned Guide to Judiciary Policy, Vol. 12, Chapter 4.




EDR Bench Book for Judges (March 2011)                                             54



     Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 90 of 159
     B.   It is appropriate for designated judicial officer to limit attendance at the
          hearing in light of the following considerations:
          1.      The hearing is an extension of the investigation/discovery
                  process, which is not public;
          2.      Complaints often involve confidential, personal, and highly
                  sensitive matters;
          3.      Complainant's inherent right to privacy, as balanced against any
                  minimal public need to attend the proceeding;
          4.      Attendance by outsiders may inhibit witness candor;
          5.      Witness testimony should not be influenced by the testimony of
                  other witnesses; and
          6.      The public ultimately will have access to the final decisions.
                  (Chapter IX, sec. 13.)

12.18 Hearing rooms

     A.   The Model EDR Plan does not address the issue of hearing rooms.
     B.   The Model EDR Plan encourages informality during the entire EDR
          process.
     C.   It is appropriate for designated judicial officer to consider the following
          alternative types of hearing rooms for the reasons discussed below:
          1.      Judge's chambers.
                  a.    Designated judicial officer's chambers are an appropriate
                        alternative if they can accommodate comfortably
                        designated judicial officer, court reporter, possibly a law
                        clerk, all parties, representatives, and a witness.
                        Designated judicial officer's presence at the conference
                        table with the participants may reduce barriers between
                        him/her and the participants in the hearing.
                  b.    All participants are likely to perceive the chambers as
                        neutral territory.
          2.      Conference room (the same considerations apply here as with
                  judge's chambers).




 EDR Bench Book for Judges (March 2011)                                             55



      Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 91 of 159
           3.    Courtroom.
                 a.    A courtroom is the most formal of the alternatives, in part
                       because of its physical configuration, including:
                       (1) The judge's bench, which is behind a partition and
                              elevated above the courtroom;
                       (2) The separate witness stand; and
                       (3) The separate counsels' tables.
                 b.    If the officer sits on the bench, this may intimidate the
                       parties and witnesses and create a barrier between
                       designated judicial officer and the participants at the
                       hearing.
                 c.    All participants are likely to perceive a courtroom as
                       neutral territory.
           4.    Office of a court official.
                 a.    This may be appropriate if the court official is not involved
                       in the dispute, i.e., is not an official in the employing
                       office, and if the office can accommodate comfortably
                       designated judicial officer, court reporter, possibly a law
                       clerk, all parties, representatives, and a witness.
                 b.    An office of a court official involved in the proceeding is
                       not likely to be perceived as neutral territory by all
                       participants in the hearing.

12.19 Special needs at hearing

     A.    The Model EDR Plan does not explicitly address the issue of meeting
           special needs, nor does it provide separate funding authority for meeting
           such needs.
     B.    Applicability of the Rehabilitation Act and Americans with Disabilities
           Act:
           1.    The Model EDR Plan incorporates the protections provided by
                 both the Rehabilitation Act and the Americans with Disabilities
                 Act as amended. (See Chapter II.)
           2.    Both Acts require reasonable accommodation for physical
                 disabilities in certain situations.




  EDR Bench Book for Judges (March 2011)                                          56



      Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 92 of 159
   C.    Providing assistance for the physically disabled:
         1.    If complainant, a representative, or a witness is physically
               disabled, designated judicial officer may ask the EDR
               Coordinator to arrange for reasonable accommodation to ensure
               that person has a meaningful opportunity to participate in the
               hearing.
         2.    A disabled person or his/her representative must:
               a.      Request such reasonable accommodation; and
               b.      Request it sufficiently in advance of the time needed.
         3.    Such reasonable accommodation may include, but is not limited
               to, arranging for:
               a.      A hearing room, bathroom, and eating facilities which are
                       readily accessible and usable by those with physical
                       disabilities;
               b.      A signer or interpreter for the hearing impaired;
               c.      Reasonable access for the visually impaired to any
                       evidence presented visually at hearing.
   D.    Foreign languages
         1.    Although court employees generally are presumed to speak
               English, there may be varying degrees of proficiency; non-court
               employees who may occasionally participate in hearings may not
               be proficient in English.
         2.    Where lack of an interpreter might significantly interfere with a
               party’s comprehension of the proceedings, designated judicial
               officer may decide to order use of an interpreter.
         3.    It is appropriate for designated judicial officer to ensure that:
               a.      The record contains sufficient evidence to establish that the
                       interpreter is qualified; and
               b.      The translation is a true translation by administering, or
                       having the court reporter administer, the following oath or
                       affirmation:
                              Do you solemnly swear (or affirm) that you will
                              provide a true and accurate translation of the
                              testimony given by this (these) witness(es), so help
                              you God (or so help you).




EDR Bench Book for Judges (March 2011)                                            57



    Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 93 of 159
               4.    Designated judicial officer may wish to ask the EDR Coordinator
                     or the Contracting Division of the Administrative Office for
                     assistance in:
                     a.     Procuring reasonable physical accommodation; or
                     b.     Obtaining a qualified interpreter.

12.20 Examination of witnesses

      A.       Complainant's examination of witnesses (including examination by
               his/her representative, if any)
               1.    The Model EDR Plan (Chapter IX, sec. 10B2c) explicitly
                     authorizes complainant to:
                     a.      Present evidence on his/her own behalf; and
                     b.      Examine and cross-examine witnesses.
               2.    Where the employing office or its representative objects to the
                     testimony of a witness:
                     a.      Complainant or his representative must make a proffer on
                             the substance of the testimony; and
                     b.      It is appropriate for designated judicial officer to rule
                             immediately on whether the witness may testify.
               3.    It is appropriate for designated judicial officer to limit
                     complainant's and his/her witnesses' testimony to that which is
                     relevant, material, and not unduly repetitious.
      B.       The employing office's examination of witnesses
               1.    The Model EDR Plan (Chapter IX, sec. 10B2c) explicitly
                     authorizes the employing office to:
                     a.      Present evidence on its own behalf; and
                     b.      Examine and cross-examine witnesses.8




           8
           The person alleged to have violated rights under the Model EDR Plan has no explicit
  right under the Plan to examine or cross-examine witnesses, but merely is entitled to have notice
  of the hearing. Chapter IX, sec.10b2 b & c.

  EDR Bench Book for Judges (March 2011)                                                         58



        Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 94 of 159
           2.    Where complainant or his/her representative objects to the
                 testimony of a witness:
                 a.     The employing office or representative must make a proffer
                        on the substance of the testimony; and
                 b.     Designated judicial officer should rule immediately on
                        whether the witness may testify.
           3.    Designated judicial officer should limit the employing office's
                 witness testimony to that which is relevant, material, and not
                 unduly repetitious.
     C.    Designated judicial officer's examination of witnesses
           1.    The Model EDR Plan does not address this issue.
           2.    Designated judicial officer may wish to examine witnesses when:
                 a.     One or both of the parties is pro se;
                 b.     Factual, material or legal issues necessary to disposition of
                        the complaint have not been adequately developed by the
                        parties' witnesses or documentary evidence;
                 c.     Such examination would shorten the hearing or increase the
                        possibility of resolving the dispute; or
                 d.     It is deemed appropriate based on other circumstances.
     D.    Alternative means of testimony
           1.    Alternative means of testimony are appropriate when credibility
                 is not a significant issue and essential witnesses are unavailable
                 indefinitely or for a lengthy period of time, for good cause shown.
           2.    Alternative means of testimony include:
                 a.     Deposition,
                 b.     Video Conference,
                 c.     Telephone testimony, or
                 d.     Affidavit, if the opposing party does not object to the
                        inability to cross-examine.

12.21 The record. (Chapter IX, sec. 10B2d.)

     A.    The Model EDR Plan requires a verbatim record of the hearing, which
           is to be the sole official record. It does not address the mode of taking
           the record.




  EDR Bench Book for Judges (March 2011)                                               59



      Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 95 of 159
   B.    The Model EDR Plan does not address whether complainant should
         receive a copy of the transcript or electronic recording and, if so,
         whether he/she should pay. The court may:
         1.    Supply such transcripts or electronic recordings;
         2.    Require complainant to pay; or
         3.    Waive the costs where complainant demonstrates, by statement or
               affidavit, an inability to pay.
   C.    Contents of the record
         The record will consist of all:
         1.    Pleadings;
         2.    Motions or written documents used in lieu of motions;
         3.    Non-evidentiary submissions;
         4.    Admitted evidence;
         5.    Orders and decisions; and
         6.    Any hearing transcripts or electronic recordings.
   D.    Closing the record
         1.    Generally, designated judicial officer orders the record closed at
               the end of the hearing.
         2.    Designated judicial officer may extend the close of record if
               he/she permits the parties to file post-hearing briefs.
         3.    Upon closure of the record, it is appropriate for designated
               judicial officer to refuse to accept new evidence or argument,
               except upon a showing that:
               a.     New and material evidence has become available;
               b.     Despite due diligence, it was not readily available prior to
                      the close of record.
   E.    Reopening the record
         Designated judicial officer may reopen the record sua sponte where:
         1.    A party timely has raised material new issues or new evidence,
               and the opposing party requests an opportunity to respond.
         2.    Designated judicial officer believes the interests of justice may be
               served.




EDR Bench Book for Judges (March 2011)                                           60



    Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 96 of 159
12.22 Privacy considerations

     A.    The Model EDR Plan does not specifically address confidentiality at the
           hearing stage, including who may attend the hearing. Such matters are
           left to the discretion of designated judicial officer. (See “Who may
           attend the hearing,” supra sec. 11.17B.).
     B.    Complaints often involve matters in which complainant and other court
           officials and employees have a significant privacy interest to be
           balanced against the interests of the public.
     C.    Considerations applicable to preserving the confidentiality of complaint
           files and related documents:
           1.      It is appropriate for designated judicial officer to determine who
                   may attend the hearing:
                   a.      Maintain, insofar as possible, the confidentiality of these
                           records, which often contain personal and highly sensitive
                           information. (Chapter IX, sec. 8C3.)
                   b.      Use the Freedom of Information Act (FOIA) and the
                           Privacy Act (PA) as guidance for releasing/withholding
                           information. For example, FOIA permits agencies, when
                           responding to FOIA requests, to withhold personal and
                           confidential information, such as personnel, medical, and
                           similar files, the disclosure of which would constitute a
                           clearly unwarranted invasion of personal privacy. (See 5
                           U.S.C. sec. 552(b)(6).) FOIA does not apply by statute to
                           the federal Judiciary.
           2.      It is appropriate for designated judicial officer to refuse to release
                   information relating to a complaint, the complaint record, or the
                   hearing unless the requester:
                   a.      Demonstrates a legitimate, official need to know (for
                           example, the EDR Coordinator who is implementing the
                           relief ordered by designated judicial officer has a legitimate
                           need to know) (Chapter IX, sec. 8C3;)
                   b.      Agrees to maintain the confidentiality of the information
                           released; and
                   c.      Agrees to make no further disclosure without designated
                           judicial officer's consent.



  EDR Bench Book for Judges (March 2011)                                              61



      Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 97 of 159
12.23 Applicable precedent

      A.    Model EDR Plan
            The Model EDR Plan requires designated judicial officer, in reaching
            his/her decision, to use as guidance (Chapter IX, sec. 10B2e):
            1.     Judicial decisions;
            2.     Administrative decisions under the laws related to the Model
                   EDR Plan. (Chapters II through VII;) and
            3.     Decisions of judicial councils of the appropriate circuit in
                   reviewing EDR matters brought to the judicial council.
                   (Chapter IX, sec. 10B2e.)
      B.    Judicial decisions and administrative decisions of executive agencies
            and decisions under the laws related to the Model EDR Plan,
      C.    Final decisions of the courts in EDR matters
            The Model EDR Plan requires that final decisions under Chapters II
            through VIII of this Plan, whether at the local court or circuit judicial
            council level, are to be made available to the public under procedures
            established by the judicial council of the circuit. (Chapter IX, sec. 13.)

12.24 Final decision. (Chapter IX, sec. 10B2f-h.)

      A.    Issuance of a written final decision

            ALLEGED VIOLATION BY AN EMPLOYEE
            1.  Designated judicial officer must issue a written final decision on
                the merits of the complaint or on a summary dismissal of the
                complaint, no later than 30 days after the end of the hearing,
                under the Model EDR Plan. (Chapter IX, sec. 10B2g.)
            2.  It is appropriate that the final decision:
                a.      Contain findings of fact and conclusions of law on all the
                        issues in the complaint;
                b.      Order any appropriate resolution of the complaint, or relief,
                        if complainant has established, by a preponderance of the
                        evidence, that a substantive right protected by the Model
                        EDR Plan has been violated. (Chapter IX, sec. 10B2f;)
                c.      Retain jurisdiction over the complaint until court officials
                        fully implement the resolution and any relief ordered.


  EDR Bench Book for Judges (March 2011)                                             62



       Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 98 of 159
                  (Chapter IX, sec. 10B2h.)
     B.    Bench decision
           1.     The Model Plan is silent regarding issuance of an oral bench
                  decision.
           2.     If designated judicial officer determines an oral bench decision is
                  appropriate, he/she must reduce that decision to writing and serve
                  it on all parties. (Chapter IX, sec. 10B2g-h.)
     C.    ALLEGED VIOLATION BY A JUDGE
           An EDR claim abated pending the entry of the final order that concludes
           the judicial misconduct complaint, is dismissed if such allegations of
           judicial misconduct are dismissed. As to any allegations that the order
           does not dismiss, the EDR claim will be reinstated and decided by the
           circuit judicial council. If the EDR claim includes allegations separate
           and divisible from those in the judicial misconduct complaint, the
           separate allegations will be treated as a district EDR claim that will not
           be abated.

12.25 Remedies under the Model EDR Plan. (Chapter IX, sec. 12.)

     A.    Authority to award remedies. (Chapter IX, sec.12A.)
           Designated judicial officer orders remedies authorized by the court's
           EDR Plan where he/she finds complainant has established, by a
           preponderance of the evidence, that a substantive right protected by the
           Plan has been violated. (Chapter IX, sec. 10B2f.)
     B.    Designated judicial officer:
           1.    May order any necessary and appropriate remedy; and
           2.    Must tailor the remedy as closely as possible to the specific
                 violation involved. Chapter IX, sec. 12A. For discussion of
                 specific remedies, see discussion, infra sec. 13.

12.26 Sanctions under the Judicial Conduct and Disability Act, 28
      U.S. C. §§ 351-364.




  EDR Bench Book for Judges (March 2011)                                           63



      Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 99 of 159
                SECTION 13—REVIEW OF FINAL DECISION

13.01 Petition for review of final decision or summary dismissal.
      (Chapter IX, sec. 11.)

      A.    A party or individual aggrieved by a presiding judicial officer's final
            decision or summary dismissal may petition for review of that decision.
      B.    The petition must be filed in accordance with procedures established by
            the judicial council of the circuit.
      C.    The Model EDR Plan specifies no time limit for:
            1.     Filing a petition for review; or
            2.     Issuing a decision on the petition for review
            3.     Circuit councils are encouraged to establish such limits.
      D.    The review must be conducted by a judicial officer(s).

13.02 Conduct of the review

      ALLEGED VIOLATION BY AN EMPLOYEE. (Chapter IX, sec. 10B1.)
      A.  A judicial council officer conducts the review based on the hearing
          record.
      B.  The judicial officer reviewing the final decision affirms the decision if it
          is supported by substantial evidence.

      ALLEGED VIOLATION BY A JUDGE. (Chapter IX, sec.11.)
      A party or individual aggrieved by a final decision of the chief judge or
      presiding judicial officer, or by a summary dismissal of the complaint, may
      petition for review of that decision under procedures established by the
      judicial council of the circuit. Any review will be conducted by a judicial
      officer(s), based on the record created by the hearing officer, and shall be
      affirmed if supported by substantial evidence.




  EDR Bench Book for Judges (March 2011)                                             64



      Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 100 of 159
13.03 Remedies upon review. (Chapter IX, sec. 12A.)

      The judicial council officer reviewing the final decision:
      A.    May order any necessary and appropriate remedies; and
      B.    Must tailor the remedy as closely as possible to the specific violation
            involved. For discussion of specific remedies, see discussion, infra sec.
            13.

13.04 No external judicial review

      The Model EDR Plan does not authorize external judicial review of final
      decisions or decisions after review.




  EDR Bench Book for Judges (March 2011)                                           65



      Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 101 of 159
                          SECTION 14—REMEDIES

14.01 Authority to order remedies. (Chapter IX, sec. 12A.)

     A.    Remedies are available at both the hearing and review stages.
     B.    Designated judicial officer, or judicial council officer reviewing the
           hearing officer's final decision, may order a remedy tailored to the
           particular facts of the case to correct the violation. He/she may order:
           1.     A remedy to correct a past violation; or
           2.     A prospective remedy to ensure compliance with rights protected
                  by the EDR Plan.
     C.    Designated judicial officers and judicial council officers who hear EDR
           cases sit as hearing officers not in their capacity as judges.
           Judges presiding in EDR matters are functioning in an administrative
           rather than a judicial capacity; judges’ decisions in EDR matters must be
           in conformance with all statutes and regulations that apply to the
           Judiciary and that judges in the EDR context have no authority to
           declare such statutes or regulations unconstitutional or invalid; judges
           presiding in EDR matters may not compel the participation of or impose
           remedies upon agencies or entities other than the employing office
           which is the respondent in such matters. In this context, their capacity is
           limited to directing actions by the circuit, and they have no authority to
           require parties outside a circuit court to take actions (e.g., an order can
           direct a unit executive to request GSA to make a building modification
           to accommodate an employee with a disability, but the order cannot
           direct GSA to make the modification).

14.02 Available remedies. (Chapter IX, sec. 12B.)

     Available remedies include, but are not limited to:
     A.    Placement of an employee in a position previously denied;
     B.    Placement in a comparable alternative position;
     C.    Reinstatement to a position from which previously removed;



  EDR Bench Book for Judges (March 2011)                                            66



      Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 102 of 159
      D.    Prospective promotion to a position;
      E.    Priority consideration for a future promotion or position;
      F.    Back pay and associated benefits, including attorney's fees, where the
            statutory criteria of the Back Pay Act, 5 U.S.C. sec. 5596, are satisfied;
      G.    Records modification and/or expungement;
      H.    "Equitable" relief such as temporary stays of adverse actions;
      I.    Granting of family and medical leave; and
      J.    Accommodation of disabilities through the purchase of specialized
            equipment or the restructuring of duties and work hours.

14.03 Remedies which are not legally available. (Chapter IX, sec. 12C.)
      A.  Payment of attorney's fees (except as authorized by the Back Pay Act).
      B.  Compensatory damages.
      C.  Punitive damages.

14.04 Failure to implement remedies ordered by a presiding judicial officer or
      judicial council officer reviewing the final decision.
      A.    Retention of jurisdiction
            Designated judicial officer, where review is not sought, or the judicial
            council officer reviewing the final decision retains jurisdiction over the
            complaint until the employing office fully implements the resolution and
            any relief.
      B.    Failure to implement resolution or relief
            Where any court official or employee fails to implement the ordered
            resolution or relief, designated judicial officer or the judicial council
            officer reviewing the final decision either indirectly, through the
            respondent employing office, or directly, may appropriately:
            1.     Order full implementation of the resolution or relief; and
            2.     Impose sanctions for failure to do so.




  EDR Bench Book for Judges (March 2011)                                             67



       Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 103 of 159
           SECTION 15—PUBLICATION OF FINAL DECISIONS

15.01 Publication of final decisions. (Chapter IX, sec. 13.)

      A.    The Model EDR Plan requires that final decisions under the EDR
            process be made available to the public under procedures established by
            the judicial council of the circuit. (Chapter IX, sec. 13.)
      B.    It may be appropriate that the final decisions be redacted to protect the
            privacy of anyone involved in the matter.




  EDR Bench Book for Judges (March 2011)                                           68



      Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 104 of 159
                                                                                   APPENDIX A

                MODEL EMPLOYMENT DISPUTE RESOLUTION PLAN
                       CHAPTER I - GENERAL PROVISIONS

§1   Preamble

     This Plan shall be known as the Federal Judiciary Model Employment Dispute Resolution Plan
     ("Model EDR Plan"). It was adopted by the Judicial Conference of the United States in order
     to provide rights and protections to employees of the United States courts that are comparable
     to those provided to legislative branch employees under the Congressional Accountability Act
     of 1995.

     The Plan supersedes all previous versions of the Model Employment Dispute Resolution Plan
     and Appendix I ("Discrimination and Complaint Procedures") of the Model Equal Employment
     Opportunity Plan ("Model EEO Plan"), except for Section VI of Appendix I ("Annual Report")
     imposing requirements on the courts. Claims arising under Chapters II through VII of this Plan,
     or under Sections I through VII of the Judiciary's Model EEO Plan, shall be treated in
     accordance with the procedures set forth in Chapter IX of this Plan. The duties of the court's
     EEO Coordinator will be assumed by the Employment Dispute Resolution Coordinator
     (established in Section 6 of Chapter IX of this Plan), except that the dispute resolution duties
     assigned to the EEO Coordinator under the Model EEO Plan will be replaced by the dispute
     resolution procedures set forth in Chapter IX of this Plan.

     This Plan is to be implemented in the same manner as the Model EEO Plan. Each court shall
     adopt and implement a plan based thereon. Any modification of this Plan by a court must first
     be approved by the judicial council of its circuit. Courts and employing offices shall post their
     plans on their respective internal and external websites. A copy of each plan and any
     subsequent modifications shall be filed with the Administrative Office. Each court shall
     annually submit a report on the implementation of its plan to the Administrative Office for
     inclusion in the Director's Annual Report to the Judicial Conference.

     Policies adopted by individual courts pertaining to adverse action or general grievance
     proceedings that do not invoke the rights and protections afforded under the Model EDR Plan
     are not affected by the Plan. Further, local policies relating to rights enumerated under the Plan
     that are not inconsistent with the rights and procedures established herein will not be affected
     by the Plan.
     The Model EDR Plan is not intended to duplicate the protections provided for the resolution


 EDR Bench Book for Judges (March 2011)                                                             69



     Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 105 of 159
     of complaints of judicial officer misconduct or disability under 28 U.S.C. §§ 351, et seq.
     and otherwise is intended to be the exclusive remedy of the employee relating to rights
     enumerated under the Plan.

§2   Scope of coverage

     This Plan applies to all Article III judges and other judicial officers of the United States courts
     of appeals, district courts, bankruptcy courts, Court of Federal Claims, as well as to judges of
     any court created by Act of Congress in a territory which is invested with any jurisdiction of
     a district court of the United States. The Plan also applies to all employees of the courts of
     appeals, district courts, bankruptcy courts, Court of Federal Claims and Court of International
     Trade, or of a judge of any court created by Act of Congress in a territory which is invested
     with any jurisdiction of a district court of the United States. Also included are judges' chambers
     staffs, court unit heads and their staffs, circuit executives and their staffs, federal public
     defenders and their staffs, and bankruptcy administrators and their staffs.

§3   Definitions

     For purposes of this Plan:

     A. The term “claim” means the filing of a request for counseling as set forth in Chapter IX,
        which may be further pursued by the filing of a request for mediation and a request for
        hearing.

     B. The term "employee" includes all individuals listed in Section 2 of this Chapter, as well as
        applicants for employment and former employees, except as provided below. The term
        “employee” does not include interns or externs providing gratuitous service, applicants for
        bankruptcy judge or magistrate judge positions, private attorneys who apply to represent
        indigent defendants under the Criminal Justice Act, criminal defense investigators not
        employed by federal public defenders, volunteer counselors or mediators, or other
        individuals who are not employees of an “employing office” as that term is defined below.


     C. The term "employing office" includes all offices of the United States courts of appeals,
        district courts, and bankruptcy courts, including the offices of circuit executives, district
        court executives, federal public defenders, clerks of court, chief probation officers, chief
        pretrial services officers, staff attorneys, chief preargument attorneys, circuit librarians,
        bankruptcy administrators, and any such offices that might be created in the future. The
        court is the employing office of a judicial officer’s chambers staff.

     D. The term "judicial officer" means a judge appointed under Article III of the Constitution,


 EDR Bench Book for Judges (March 2011)                                                              70



     Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 106 of 159
          a United States bankruptcy judge, a United States magistrate judge, a judge on the Court
          of Federal Claims, or a judge of any court created by Act of Congress in a territory which
          is invested with any jurisdiction of a district court of the United States.

     E. The term "court" refers to the appropriate court (appeals, district or bankruptcy) in which
        is located the employing office which would be responsible for redressing, correcting or
         abating the violation alleged in the complaint. In the case of disputes involving federal
          public defenders, the term “court” refers to the appropriate court of appeals.

                  CHAPTER II - EQUAL EMPLOYMENT OPPORTUNITY
                       AND ANTI-DISCRIMINATION RIGHTS

§1   General - Discrimination against employees based on race, color, religion, sex (including
     pregnancy and sexual harassment), national origin, age (at least 40 years of age at the time of
     the alleged discrimination), and disability is prohibited. Harassment against an employee based
     upon any of these protected categories or retaliation for engaging in any protected activity is
     prohibited. All of the above constitute “wrongful conduct.” The rights and protections of
     Sections I through VII of the Judiciary's Model Equal Employment Opportunity Plan shall also
     apply to employees.

§2   Definition - The term "disability" means:

     A.      a physical or mental impairment that substantially limits one or more of the major life
             activities of an employee,

     B.      a record of such an impairment, or

     C.      being regarded as having such an impairment. See 42 U.S.C. § 12102(2).

§3   Special provision for probation and pretrial services officers - The age discrimination
     provision of Section I of this Chapter shall not apply to the initial hiring or mandatory
     separation of probation and pretrial services officers and officer assistants. See Report of the
     Proceedings of the Judicial Conference of the United States (March 1991), pp. 16-17.
     Additionally, probation and pretrial services officers must meet all fitness for duty standards,
     and compliance with such standards does not, in and of itself, constitute discrimination on the
     basis of disability.


                 CHAPTER III - FAMILY AND MEDICAL LEAVE RIGHTS



 EDR Bench Book for Judges (March 2011)                                                           71



     Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 107 of 159
§1   General -Title II of the Family and Medical Leave Act of 1993, 5 U.S.C. §§ 6381 et. seq.,
     applies to court employees in the manner prescribed in Volume 12, Chapter 9, Sec. 920.20.35
     of the Guide to Judiciary Policies and Procedures.


                          CHAPTER IV - WORKER ADJUSTMENT
                         AND RETRAINING NOTIFICATION RIGHTS


§1   General - No “employing office closing” or “mass layoff” (as defined in Section 2 of this
     Chapter) may occur until the end of a 60-day period after the employing office serves written
     notice of such prospective closing or layoff to employees who will be affected. This provision
     shall not apply to an employing office closing or mass layoff which results from the absence
     of appropriated funds.

§2   Definitions

     A.     The term "employing office closing" means the permanent or temporary shutdown of
            a single site of employment if the shutdown results in an employment loss at the single
            site of employment during any 30-day period for 50 or more employees excluding any
            part-time employees.

     B.     The term "mass layoff” means a reduction in force which:

            1.      is not the result of an employing office closing; and
            2.      results in an employment loss at the single site of employment during any
                             30 day period for

                    a.      (1)      at least 33 percent of the employees (excluding any
                                              part-time employees); and
                            (2)      at least 50 employees (excluding any part-time employees);
                                     or
                    b.      at least 500 employees (excluding any part-time employees).
                            See 29 U.S.C. § 2101.


            CHAPTER V - EMPLOYMENT AND REEMPLOYMENT RIGHTS
                 OF MEMBERS OF THE UNIFORMED SERVICES

 EDR Bench Book for Judges (March 2011)                                                           72



     Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 108 of 159
§1     General - An employing office shall not discriminate against an eligible employee or deny an
       eligible employee reemployment rights or benefits under the Uniformed Services Employment
       and Reemployment Rights Act, 38 U.S.C. §§ 4301 et seq.


                           CHAPTER VI - OCCUPATIONAL SAFETY
                               AND HEALTH PROTECTIONS


§1     General - Each employing office shall provide to its employees a place of employment which
       is free from recognized hazards that cause or are likely to cause death or serious physical harm
       to employees. Claims that seek a remedy that is exclusively within the jurisdiction of the
       General Services Administration (“GSA”) or the United States Postal Service (“USPS”) to
       provide are not cognizable under this Plan; such requests should be filed directly with GSA or
       the USPS as appropriate.

§2     Court program requirements - The court shall implement a program to achieve the
       protections set forth in Section 1 of this Chapter.


                             CHAPTER VII - POLYGRAPH TESTS


§1     General – Unless required for access to classified information, or otherwise required by law,
       no employee may be required to take a polygraph test.


                   CHAPTER VIII – REPORTS OF WRONGFUL CONDUCT

A report of wrongful conduct is not the same as initiating or filing a claim under this Plan; thus,
employees who wish to file an EDR claim relating to any alleged wrongful conduct as defined in
Chapter II, §1 must follow the procedures set forth in Chapter IX of this Plan.



Judges and employees are encouraged to report wrongful conduct to the court’s EDR Coordinator, the
chief judge, unit executive, human resources manager, or their supervisor as soon as possible, before
it becomes severe or pervasive. Retaliation against any employee making a report of wrongful conduct


  EDR Bench Book for Judges (March 2011)                                                            73



        Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 109 of 159
is prohibited. The person receiving such a report has the responsibility to notify the EDR Coordinator
as soon as possible.

The EDR Coordinator shall promptly inform the chief judge and unit executive of any report. The chief
judge and/or unit executive shall ensure that the allegations in the report are appropriately investigated,
either by the human resources manager or other person.

All individuals involved in the investigation shall protect the confidentiality of the allegations of
wrongful conduct to the extent possible. Information and records about the allegations shall be shared
on a need-to-know basis.

Employees found by the chief judge and/or unit executive to have engaged in wrongful conduct, as
defined in this Plan, may be subject to disciplinary action.


                     CHAPTER IX - DISPUTE RESOLUTION PROCEDURES

§1     General procedure for consideration of alleged violations - An employee who claims a
       denial of the rights granted under Chapters II through VII of this Plan shall seek resolution of
       such claims through the procedures of this Chapter. Generally, the process consists of:

       A.      counseling and mediation;

       B.      hearing before the chief judge of the court (or a designated judicial officer) in which the
               alleged violation arises; and

       C.      review of the hearing decision under procedures established by the judicial council of
               the circuit.

§2     Alleged Violation by Employee - Before invoking a request for counseling an employee (to
       the extent feasible) is encouraged to bring his or her concerns to his or her supervisor or unit
       executive, unless the supervisor or unit executive is the alleged violator. In such a situation,
       the court or employing office should specify alternative neutral points of contact for the initial
       inquiry. An employee alleging that any of the rights granted under the Model EEO Plan or this
       Model EDR Plan have been violated, and who seeks relief under this Plan, must file a request
       for counseling with their court’s EDR Coordinator in accordance with Section 8 of this Chapter.
§3     Alleged Violation by Judge - Any employee alleging that a judge violated any rights granted
       under the Model EEO Plan or this Model EDR Plan may file an EDR claim in accordance with
       this Plan. In such an instance, however, all the claims procedures of this Chapter shall be


  EDR Bench Book for Judges (March 2011)                                                                74


        Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 110 of 159
     performed by the circuit council, either by members of the council directly or by persons
     designated to act on its behalf, which may include the chief judge of the circuit. If a judge
     becomes the subject of both an EDR claim and a judicial misconduct complaint under the
     Judicial Conduct and Disability Act, 28 U.S.C. §§ 351-364, the circuit judicial council or its
     designee, which may include the chief judge of the circuit, will craft a procedure for
     determining any common issues of fact and processing both complaints, subject to all
     requirements of the Act, the Rules for Judicial-Conduct and Judicial-Disability Proceedings,
     and, as practicable, the EDR Plan. In so doing, the council or its designee, who may include
     the chief judge of the circuit, may determine that all or part of the EDR claim must be abated
     until action is taken on the judicial misconduct complaint.

§4   Confidentiality - The court or employing office shall protect the confidentiality of allegations
     filed under this Plan to the extent possible. However, information about allegations filed under
     this Plan shall be shared on a need-to-know basis. Records relating to violations under this Plan
     shall be kept confidential on the same basis.

§5   General provisions and protections

     A.     Prohibition against retaliation - Claimants under this Plan have the right to be free
            from retaliation because of filing a claim pursuant to this Plan. Likewise, any person
            who participates in the filing or processing of a claim, such as an employment
            dispute resolution coordinator, mediator, witness, representative, or co-worker, is
            also entitled to freedom from retaliation.

     B.     Right to representation - Every individual invoking the dispute resolution
            procedures of this Plan has the right to be represented by a person of his or her
            choice if such person is available and consents to be a representative. A court
            employee may accept the responsibilities of representation if it will not unduly
            interfere with his or her court duties or constitute a conflict of interest, as determined
            by the representative's appointing officer.

     C.     Case preparation - To the extent feasible, every individual invoking the dispute
            resolution procedures of this Plan may use a reasonable amount of official time to
            prepare his or her case, so long as it does not unduly interfere with the performance
            of his or her court duties.

     D.     Extensions of time - The chief judge of the court, or other presiding judicial officer,
            may extend any of the deadlines set forth in this Chapter for good cause.



 EDR Bench Book for Judges (March 2011)                                                            75


     Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 111 of 159
     E.     Dismissal of claim - On his or her own initiative or at the request of any party, the
            chief judge or presiding judicial officer may at any time in the proceedings, dismiss
            a claim on the grounds that it does not invoke violations of the rights or protections
            granted under the Model EEO Plan or this Model EDR Plan, is untimely, is unduly
            repetitive of a previous claim, adverse action, or grievance, is frivolous, or fails to
            state a claim upon which relief may be granted.

     F.     Records - At the conclusion of formal and informal proceedings under this Plan, all
            papers, files, and reports will be filed with the court's Employment Dispute
            Resolution Coordinator ("EDR Coordinator"). No papers, files, or reports relating to
            a dispute will be filed in any employee's personnel folder, except as necessary to
            implement an official personnel action.

§6   Designation and duties of employment dispute resolution coordinator - Each court shall
     designate a person to serve as the EDR Coordinator. Courts may designate more than one
     EDR Coordinator. The duties of such persons shall include the following:

     A.     to provide information to the court and employees regarding the rights and
            protections afforded under this Plan;

     B.     to coordinate and organize the procedures and establish and maintain official files of
            the court pertaining to claims and other matters initiated and processed under the
            court's employment dispute resolution plan;

     C.     to coordinate the counseling of individuals in the initial stages of the claims process,
            in accordance with Section 8 of this Chapter; and

     D.     to collect, analyze, and consolidate statistical data and other information pertaining
            to the court's employment dispute resolution process.

§7   General disqualification provision - Each court and judicial council shall make available
     procedures through which a party may seek the disqualification of a judicial officer,
     employee or other person involved in a dispute under this Chapter.




§8   Counseling

     A.     Initiating a proceeding; formal request for counseling - An employee who believes


 EDR Bench Book for Judges (March 2011)                                                           76


     Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 112 of 159
         that his or her rights under Chapters II through VII of this Plan have been violated must
         first request counseling.

   B.    Form and manner of requests - Requests for counseling:

         1.     are to be submitted to the court's EDR Coordinator;
         2.     must be made in writing and contain all the violations asserted by the claimant;
                and
         3.     must be made within 30 days of the alleged violation or within 30 days of the
                time the employee becomes aware of the alleged violation.

   C.    Procedures

         1.     Who may serve as counselor - The counseling shall be conducted by the
                court's EDR Coordinator, unless the EDR Coordinator is disqualified from
                serving as counselor under Section 7 of this Chapter, or is otherwise
                unavailable. In such instances, the chief judge of the court shall designate
                another qualified individual to perform the counseling function. The EDR
                Coordinator shall promptly provide a copy of the request for counseling to the
                unit executive and the chief judge of the court.

         2.     Purposes of counseling - The purposes of the counseling shall be to discuss the
                employee's concerns and elicit information regarding the matter which the
                employee believes constitutes a violation; to advise the employee of his or her
                rights and responsibilities and the procedures of the court applicable to the
                employment dispute resolution process; to evaluate the matter; and to assist the
                employee in achieving an early resolution of the matter, if possible.

         3.     Confidentiality - Unless waived by the employee, the court or employing office
                shall protect the confidentiality of allegations filed under this Plan to the extent
                possible. However, information about allegations filed under this Plan shall be
                shared on a need-to-know basis. Records relating to violations under this Plan
                shall be kept confidential on the same basis.




         4.     Form of settlement - The EDR Coordinator shall reduce to writing any
                settlement achieved during the counseling process and secure the signatures of
                the employee, his or her representative, if any, and the member of the employing


EDR Bench Book for Judges (March 2011)                                                           77


    Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 113 of 159
                  office who is authorized to enter into settlement on the employing office's
                  behalf.

     D.    Duration of counseling period - The period for counseling shall be 30 days (or a
           shorter period if counseling is concluded at an earlier date), beginning on the date that
           the request for counseling is received by the EDR Coordinator.

     E.    Conclusion of the counseling period and notice - The EDR Coordinator shall notify
           the employee in writing of the end of the counseling period. As part of the notice, the
           EDR Coordinator shall inform the employee of the right and obligation, should the
           employee choose to pursue his or her claim, to file with the EDR Coordinator a request
           for mediation in accordance with Section 9 of this Chapter.

§9   Mediation

     A.    Initiation - Within 15 days after receipt by the employee of the notice of the conclusion
           of the counseling period, the employee may file with the EDR Coordinator a request for
           mediation. The request must be made in writing and must state the claim(s) presented.
           The EDR Coordinator shall promptly provide a copy of the request for mediation to the
           unit executive and the chief judge of the court. Failure to pursue mediation will
           preclude further processing of the employee's claim under any other provisions of this
           Chapter.

     B.    Procedures

           1.     Designation of mediator - As soon as possible after receiving the request for
                  mediation, the chief judge or EDR Coordinator shall designate a mediator and
                  provide written notice of such designation.

           2.     Who may serve as mediator - Any person with the skills to assist in resolving
                  disputes, except the court's EDR Coordinator, may serve as a mediator under
                  this Plan.

           3.     Purpose of mediation - The mediator shall meet separately and/or jointly
                  with the employee and his or her representative, if any, and the employing
                  office to discuss alternatives for resolving a dispute, including any and all
                  possibilities of reaching a voluntary, mutually satisfactory resolution.




 EDR Bench Book for Judges (March 2011)                                                           78


     Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 114 of 159
             4.     Confidentiality - Any person or party involved in the mediation process
                    shall not disclose, in whole or in part, any information or records obtained
                    through, or prepared specifically for, the mediation process, except as
                    necessary to consult with the parties or their representatives, and then only
                    with notice to all parties.

             5.     Form of settlement - The mediator shall reduce to writing any settlement
                    achieved during the mediation process and secure the signature of the
                    employee, his or her representative, if any, and the member of the employing
                    office who is authorized to enter into settlement on the employing office's
                    behalf.

       C.    Duration of mediation period - The mediation period shall be 30 days (or a shorter
             period if mediation is concluded at an earlier date), beginning on the date the request
             for mediation is received. The employee is required to attend at least one mediation
                     session. Thereafter, he or she may proceed to file a request for hearing.

       D.    Conclusion of mediation period and notice - If, at the end of the mediation period, the
             parties have not resolved the matter that forms the basis of the request for mediation,
             the EDR Coordinator shall provide the employee, the employee's representative, if any,
             and the employing office with written notice that the mediation period has concluded.
             The notice shall also inform the employee of his or her right to file a complaint under
             Section 10 of this Chapter.

§ 10   Complaint and hearing

       A.    Complaint - Not later than 15 days after receiving notice of the end of the mediation
             period, an employee may file a complaint under procedures established by the court.
             The complaint shall be in writing, shall identify the complainant and all involved parties
             and individuals, and shall set forth a short and plain statement of the complainant's
             claim and the relief or remedy being sought. Claims that were not presented in §9(A)
             may not be pursued. The respondent shall be the employing office which would be
             responsible for redressing, correcting or abating the violation(s) alleged in the
             complaint. No individual shall be named as a respondent in the complaint.

       B.    Hearing procedures

             1.     Presiding judicial officer - If the chief judge or presiding judicial officer does



  EDR Bench Book for Judges (March 2011)                                                            79


       Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 115 of 159
               not dismiss the complaint, the chief judge or presiding judicial officer shall hold
               a hearing on the merits of the complaint unless he or she determines that no
               material factual dispute exists.

         2.    Specific provisions - Designated judicial officer may provide for such
               discovery and investigation as is necessary. In general, designated judicial
               officer shall determine the time, place, and manner of conducting the hearing.
               However, the following specific provisions shall apply to hearings conducted
               under this Section:

               a.     the hearing shall be commenced no later than 60 days after the filing of
                      the complaint;

               b.     the complainant and the head of the office against which the complaint
                      has been filed must receive written notice of the hearing; such notice
                      shall also be provided to the individual alleged to have violated rights
                      protected by this Plan;

               c.     at the hearing, the complainant will have the right to representation, to
                      present evidence on his or her behalf, and to cross-examine adverse
                      witnesses; the employing office will have the right to present evidence
                      on its behalf and to cross-examine adverse witnesses;

               d.     a verbatim record of the hearing must be kept and shall be the sole       o
                      official record of the proceeding;

               e.     in reaching his or her decision, the chief judge or presiding judicial
                      officer shall be guided by judicial and administrative decisions under the
                      laws related to Chapters II through VII of this Plan and by decisions of
                      the judicial council of the appropriate circuit under Section 11 of this
                      Chapter;




               f.     remedies may be provided in accordance with Section 12 of this
                      Chapter where the hearing officer finds that the complainant has
                      established by a preponderance of the evidence that a substantive
                      right protected by this Plan has been violated;


EDR Bench Book for Judges (March 2011)                                                         80


    Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 116 of 159
                      g.      the final decision of the chief judge or presiding judicial officer must be
                              issued in writing not later than 30 days after the conclusion of the
                              hearing; and

                      h.      all parties, or any aggrieved individual, shall have the right to written
                              notice of any action taken as a result of a hearing.

§ 11   Review of decision - A party or individual aggrieved by a final decision of the chief judge or
       presiding judicial officer, or by a summary dismissal of the complaint, may petition for review
       of that decision under procedures established by the judicial council of the circuit. Any review
       will be conducted by a judicial officer(s), based on the record created by the hearing officer,
       and shall be affirmed if supported by substantial evidence.

§ 12   Remedies

       A.     Where judicial officers acting pursuant to section 10 or 11 of this Plan find that a
              substantive right protected by this Plan has been violated, they may order a necessary
              and appropriate remedy. A remedy may be directed at correcting a past violation,
              prospectively ensuring compliance with the rights protected by this Plan, or both. A
              remedy shall be tailored as closely as possible to the specific violation involved.

       B.     Remedies which may be provided to successful complainants under this Plan include,
              but are not limited to:

              1.      placement of an employee in a position previously denied;

              2.      placement in a comparable alternative position;

              3.      reinstatement to a position from which the employee was previously removed;

              4.      prospective promotion to a position;

              5.      priority consideration for a future promotion or position;
              6.      back pay and associated benefits, including attorney's fees, where the statutory
                      criteria of the Back Pay Act, 5 U.S.C. § 5596, are satisfied;

              7.      records modification and/or expungement;



  EDR Bench Book for Judges (March 2011)                                                              81


       Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 117 of 159
              8.      "equitable" relief, such as temporary stays of adverse actions;

              9.      granting of family and medical leave; and

              10.     accommodation of disabilities through the purchase of specialized equipment
                      or the restructuring of duties and work hours, or other appropriate means.


       C.     Remedies which are not legally available include:

              1.      payment of attorney’s fees (except as authorized under the Back Pay Act);

              2.      compensatory damages; and

              3.      punitive damages.

§ 13   Record of final decisions - Final decisions under this Plan shall be made available to the
       public in accordance with procedures established by the judicial council of the circuit.




  EDR Bench Book for Judges (March 2011)                                                            82


       Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 118 of 159
                                                                        APPENDIX B-1
COUNSELING PROCESS

A.      An aggrieved employee's request for counseling initiates the informal dispute
        resolution process. (Chapter IX, sec. 8A and B).

        1.    The aggrieved employee must:
              a)    Submit a written request for counseling to the court's EDR
                    Coordinator; which
              b)    Describes the claim(s) presented.
        2.    Under the Model EDR Plan, the employee must submit the request
              within 30 days of the alleged violation, or within 30 days of the time
              he/she becomes aware of the alleged violation.
B.      Exceptions to counseling process time frames. The timeliness requirement for
        the counseling contact may be waived for good cause shown, such as:
        1.    The aggrieved employee was not notified of the time limits.
        2.    The aggrieved employee did not reasonably suspect the alleged violation
              or discrimination within the time limitation.
        3.    Despite due diligence, the aggrieved employee was prevented from
              timely requesting counseling by circumstances beyond his or her
              control.
        4.    Other equitable reasons, e.g., an allegation that a violation is continuing,
              as in a denial of an accommodation request.
C.      Who serves as counselor. (Chapter IX, sec. 8C1.)
        1.    Generally, the court's EDR Coordinator serves as counselor.
        2.    If the EDR Coordinator is disqualified under the Chapter IX, sec. 7
              procedures, or is otherwise unavailable, the chief judge designates
              another qualified person.




     EDR Bench Book for Judges (March 2011)                                             83


         Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 119 of 159
        3.    If a judicial officer is the alleged violator, the matter goes to the circuit
              judicial council. (See “Employment Dispute Resolution Process Cases
              Involving Judges,” supra sec. 4.)
D.      Purpose and process of counseling. (Chapter IX, sec. 8C2.)
        1.    To discuss the aggrieved employee's concerns and elicit information
              about the alleged violation.
        2.    To advise the aggrieved employee about his/her rights and
              responsibilities under the court's EDR procedures.
        3.    To evaluate the matter.
        4.    To assist the aggrieved employee in achieving an early resolution of the
              dispute, if possible.
E.      Representation. (Chapter IX, sec. 5B.)
        1.    An aggrieved employee who invokes the Model EDR Plan's dispute
              resolution process may be represented by the person of his/her choice if
              the person:
                    a.     Is available; and
                    b.     Consents.
        2.    A court employee may act as representative if the representation will
              not:
                    a.     Unduly interfere with his/her court duties; or
                    b.     Constitute a conflict of interest, as determined by the
                           representative's appointing officer.
        3.    The Model EDR Plan:
                    a.     Does not authorize payment of attorney fees to
                           complainant, except as authorized by the Back Pay Act.
                           (Chapter IX, sec. 12 B6.)
                    b.     Is silent regarding representation of the employing office or
                           the alleged violator.

     EDR Bench Book for Judges (March 2011)                                                   84


         Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 120 of 159
F.      Confidentiality. (Chapter IX, sec. 8C3.)
        The counselor must maintain confidentiality to the extent possible of all
        allegations, unless the employee signs a written waiver of confidentiality.
        However, information about allegations filed under the EDR Plan shall be
        shared with the unit executive and chief judge.
G.      Resolution of the matter. (Chapter IX, sec. 8C4.)
        The counselor:
        1.    Assists in resolution by:
                     a.     Obtaining from the aggrieved employee a specific
                            delineation of the requested remedies;
                     b.     Notifying the employing office of the relief sought,
                            provided the claimant has waived confidentiality; and
                     c.     Serving as an intermediary, as needed and appropriate, in
                            resolution discussions.
        2.    Reduces to writing any settlement achieved during counseling; and
        3.    Secures the signatures of the aggrieved employee, his/her representative,
              if any, and the official of the employing office who is authorized to
              agree to settlement on behalf of the employing office.
H.      Counseling settlement agreement should:
        1.    Be neutral.
        2.    Be clear.
        3.    Be measured by objective standards.
        4.    Identify specifically the matter being resolved.




     EDR Bench Book for Judges (March 2011)                                             85


         Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 121 of 159
        5.    Completely describe each individual's responsibilities under the
              agreement.
        6.    Include a specific time period for each required action.
        7.    Where warranted, what happens if there is noncompliance.
I.      Duration of counseling. (Chapter IX, sec. 8D.)
              Under the Model EDR Plan, the counseling period is no more than 30
              days, beginning on the day the EDR Coordinator receives the request for
              counseling.
J.      End of counseling period and notice. (Chapter IX, sec. 8E.)
        1.    The EDR Coordinator notifies the aggrieved employee, in writing, that
              the counseling period has ended.
        2.    The EDR Coordinator notifies the aggrieved employee, in writing, that if
              he/she chooses to pursue his/her claim, he/she must file with the EDR
              Coordinator a request for mediation within 15 days after receipt of such
              notification.
K.      Counseling record.
        1.    The Counselor must:
              a.    Maintain a written record of all counseling contacts.
              b.    Allow review of that record of contacts on a need-to-know basis.
        2.    The counseling record should include:
              a.    Identifying information about the aggrieved employee (name, job
                    title, address, phone number).
              b.    Identifying information about the employing office (names, job
                    titles, addresses, phone numbers).
              c.    A description of the specific claims made by the aggrieved
                    employee.
              d.    A brief description of each counseling contact.

     EDR Bench Book for Judges (March 2011)                                           86


         Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 122 of 159
         e.    The requested remedies.
         f.    A general summary of any resolution effort and the outcome
               (settlement agreement/no settlement).
         g.    A summary of documents reviewed.
         h.    Identification of all pertinent dates, including the date on which
               the aggrieved employee was notified by the EDR Coordinator that
               the counseling period had ended and the aggrieved employee had
               a right to request mediation.




EDR Bench Book for Judges (March 2011)                                         87


    Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 123 of 159
                                                                   APPENDIX B-2
                                       SAMPLE
                              COUNSELOR'S REPORT


I.      EMPLOYEE:
        Name: Julia Boyd
        Job Title: Court Reporter
        Place of Employment: U.S. Federal Court, Some City, PA 12355
        Work Phone No.: (728) 177-0455
        Home Phone No.: (728) 424-9185
        Home Address: 434 Frank Avenue, Some City, PA 12343
        Representative: Claudia Rivers
        Representative's Address: Law Offices of Claudia Rivers, 778 E. Main Street,
        Some City, PA 12344
        Representative's Phone No.: (728) 519-6189


II.     CHRONOLOGY OF COUNSELING:
        Date of request for counseling: June 5, 2000
        Date of initial interview: June 7, 2000
        Date(s) of alleged violation(s): June 1, 2000
        30th day after alleged violation: July 1, 2000
        Reason for delayed contact beyond 30 days, if applicable: N/A
        Date of waiver of confidentiality, if any: June 7, 2000



     EDR Bench Book for Judges (March 2011)                                      88


         Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 124 of 159
       Date of resolution agreement, if any: N/A
       Date of notification to employee of right to request mediation, if applicable:
       July 5, 2000
       Date counseling report completed: July 10, 2000
III.   CLAIMS MADE:
       Employee alleges she was discriminated against on the basis of sex (female)
       when she was denied 12 weeks unpaid leave and placed on AWOL status on
       June 1, 2000. She alleges she cannot return to work because she still is in
       rehabilitation and the building is partially inaccessible to her wheelchair. She
       further alleges the denial of leave violated the Family and Medical Leave Act.
IV.    REMEDY REQUESTED:
(1)    Twelve weeks unpaid leave under FMLA and removal of AWOL from all
       records; and
(2)    Reasonable attorney's fees.
V.     SUMMARY OF COUNSELING CONTACTS:
       Counselor conducted an initial interview with the employee on June 7, 2000.
       The employee was informed of her rights and responsibilities under the court's
       EDR Plan and signed a waiver of her right to confidentiality. The employee
       said she has worked in her present position for nine years. She said she is
       supervised by Glen Johnson, Deputy Clerk of Court, who reports to Stuart
       Ferguson, Clerk of Court.
       The employee identified her claims, as outlined above, and provided additional
       background information. She said that she had been on sick leave for three
       month because of a knee injury that required surgery. She said at the end of
       that period, she asked Mr. Johnson to approve 12 weeks of unpaid leave under




  EDR Bench Book for Judges (March 2011)                                              89


        Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 125 of 159
  the FMLA because she needed to walk at least 10 minutes every hour, could
  not negotiate steps, and that she continued to get around with the assistance of a
  wheelchair and, at times, a cane. She said he asked for a medical opinion as to
  whether she could return to work, but then, despite her medical documentation,
  he denied the leave request and placed her on AWOL status.
  The employee believed the leave denial was based, in part, on gender
  discrimination because Mr. Johnson remarked that she was "twirling like a
  whirling dervish" prior to her fall. She explained that this referred to the swing-
  dancing which caused her injury. She believed he would not have made such a
  remark to a male. She was not aware of any male employees who had made
  similar leave requests and therefore could not compare her treatment to that of
  others. She also contended the leave denial was discriminatory based on
  disability, stating her mobility was severely impaired by her injury. She said
  her supervisor seemed more concerned about the quality of the court reporting
  they were getting in her absence than he was with her health. She said he also
  questioned her about why she could not come back and just go to therapy twice
  a week, showing no real understanding of what she was undergoing. She said
  she was expected to make a full recovery, and according to her doctor, should
  show significant improvement within the next 12 weeks.
  The employee contended, further, that she should be granted leave under the
  FMLA. She said she had a serious health condition and explained that it would
  be very difficult for her to get around the courthouse in her current condition.
  Specifically, she said she could not negotiate steps, but would have to go up at
  least four to enter the courthouse or the elevator. In addition, she believed the
  wheelchair was too wide for many of the doorways in the building, and did not
  believe there were wheelchair-accessible bathrooms on several floors. Finally,
  she said the floors were so slippery that she was afraid she could fall if she tried
  to walk with a cane. She expressed a fear that she could easily re-injure her
  knee under these conditions.
  On July 8, 2000, the Counselor spoke with Mr. Johnson, who denied any
  wrongdoing. He confirmed that he had denied the leave request, stating there
  was nothing in the doctor's statement that said the employee could not work.
  He noted that her job did not require significant mobility and said they could
  give her the walking breaks and time off for therapy mentioned in her medical

EDR Bench Book for Judges (March 2011)                                              90


    Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 126 of 159
        documentation. He confirmed the "whirling dervish" remark, but denied that it
        had anything to do with the employee's gender. He believed the employee was
        only temporarily injured, rather than disabled, and contended that with a little
        help, she could get around sufficiently to do her job. He said he recommended
        denial of the employee's request for leave under the FMLA, and Mr. Ferguson
        concurred. He also noted that the temporary court reporters being used in the
        employee's absence were providing substandard services and said they needed
        her to return to work because the judge was requesting the reporting services to
        which he was accustomed.
VI.     SUMMARY OF DOCUMENTS REVIEWED:
(1)     Medical documentation provided by employee, dated May 20, 2000.
(2)     Drawing prepared by employee showing physical layout of the courthouse, in
        pertinent part, undated.
(3)     Denial of leave request, dated June 1, 2000.
VII. SUMMARY OF INFORMAL RESOLUTION ATTEMPT:
        The Counselor called Mr. Ferguson to discuss the employee's requested remedy,
        as outlined above. He indicated there was no opportunity for resolution of this
        matter as he believed Mr. Johnson had acted properly in denying the requested
        leave.




VIII. SUMMARY OF INFORMATION GIVEN TO EMPLOYEE BY
COUNSELOR:




      EDR Bench Book for Judges (March 2011)                                           91


          Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 127 of 159
       The Counselor9 notified the employee that the counseling period had ended and
       the matter could not be resolved at this stage. The procedures available to her
       under the EDR Plan were reviewed and she was provided written notification of
       the 15-day period within which to request mediation.


Margaret Springfield                        (728) 177-4233
Counselor                                   Telephone Number


                                            U.S. Federal Court, Some City, PA 12355
Signature of Counselor                      Address


July 10, 2000
Date




          9
             The EDR Coordinator served as counselor. When the EDR Coordinator and counselor
   are different, the EDR Coordinator notifies the employee in writing of the end of the counseling
   period.




   EDR Bench Book for Judges (March 2011)                                                         92


        Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 128 of 159
                                                                         ATTACHMENTS
1.     Written request for counseling, dated June 5, 2000.
2.     Denial of leave request, dated June 1, 2000.
3.     Notification of right to request mediation, dated July 5, 2000.




     EDR Bench Book for Judges (March 2011)                                       93


         Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 129 of 159
                                                                     APPENDIX B-3


                                MEDIATION PROCESS



A.     Request for mediation. (Chapter IX, sec. 9A).
        1.   The aggrieved employee files with the EDR Coordinator a request for
             mediation.
        2.   Under the Model EDR Plan, any such request must be filed within 15 days
             after the aggrieved employee receives notification that the counseling
             period has ended.
        3.   The EDR Coordinator will promptly provide a copy of the mediator
             request to the unit executive and the chief judge.
        4.   The request must be in writing and must describe the claim(s) presented.
             Failure to state a claim will preclude consideration of the issue at the
             hearing phase.
        5.   An employee's failure to request mediation or attend at least one
             mediation session, will preclude further processing of the employee's
             claim under the EDR procedures.
B.     Exceptions to mediation timeframes. The chief judge or other presiding judicial
       officer may waive the timeliness requirement for the request for mediation for
       good cause shown, such as:
       1.    The aggrieved employee was not notified of the time limits or otherwise
             was not aware of them.
       2.    Despite due diligence, the aggrieved employee was prevented from timely
             requesting mediation by circumstances beyond his/her control.
C.     Who serves as mediator. (Chapter IX, sec. 4B1 and 2.)




     EDR Bench Book for Judges (March 2011)                                             94


         Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 130 of 159
       1.    The chief judge or EDR Coordinator generally designates the mediator.
       2.    Any person with skills to assist in resolving disputes, except the EDR
             Coordinator, may serve as a mediator.
       3.    If the alleged violator is a judicial officer, the mediator is assigned under
             the circuit judicial council procedure. (See “Employment Dispute
             Resolution Process Cases Involving Judges,” supra sec. 4.)
D.     Purpose and process of mediation. (Chapter IX, sec. 9B3.)
       1.    The mediator meets, separately and/or jointly, with the aggrieved
             employee and his/her representative, if any, and the employing office to
             help the parties:
                   a.     Identify the issues (claims) in dispute;
                   b.     Uncover their real interests;
                   c.     Explore the range of possible solutions to help the parties
                          fashion an acceptable resolution.
       2.    The mediator encourages achievement of a voluntary, mutually
             satisfactory resolution of the dispute.
       3.    The aggrieved employee must attend at least one mediation session.
             (Chapter IX, sec. 9C.)




E.     Representation. (Chapter IX, sec. 5B.)




     EDR Bench Book for Judges (March 2011)                                              95


         Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 131 of 159
       1.    An aggrieved employee who invokes the employment dispute resolution
             process may be represented by the person of his/her choice if the person:
                   a.     Is available; and
                   b.     Consents.
        2.   A court employee may agree to such representation if it will not:
                   a.     Unduly interfere with his/her court duties; or
                   b.     Constitute a conflict of interest, as determined by the
                          representative's appointing officer.
       3.    The Model EDR Plan does not authorize payment of attorney fees to
             complainant, except as authorized by the Back Pay Act. (Chapter IX, sec.
             12B6.)
       4.    The Model EDR Plan is silent regarding representation of the employing
             office.
F.     Confidentiality. (Chapter IX, sec. 9B4.)
       Any person or party involved in mediation cannot disclose, in whole or in part,
       any information or records obtained through, or prepared specifically for,
       mediation, except:
       1.    As necessary to consult with the parties or representatives, then only after
             notice to all parties;
       2.    To provide a mediator's report to the EDR Coordinator.
       3.    Where the settlement is reached, the settlement may be released as
             necessary to carry out its terms or for enforcement purposes.


G.     Resolution of the matter. (Chapter IX, sec. 9B5.)




     EDR Bench Book for Judges (March 2011)                                              96


         Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 132 of 159
       The mediator:
       1.    Reduces to writing any settlement achieved during mediation; and
       2.    Secures the signature of the aggrieved employee, his/her representative, if
             any, and the official of the employing office who is authorized to agree to
             settlement on behalf of the employing office.
       3.    As stated in any signed settlement.
H.     Mediation agreement must:
       1.    Be neutral.
       2.    Be clear.
       3.    Be measured by objective standards.
       4.    Identify specifically the matter being resolved.
       5.    Completely describe each individual's and the employing office's
             responsibilities under the agreement.
       6.    Include a specific time period for each required action.
       7.    Where warranted, describe what happens if there is noncompliance.
I.     Duration of mediation. (Chapter IX, sec. 9C.)
       Under the Model EDR Plan, the mediation period is 30 days or less, beginning
       on the date the EDR Coordinator receives the employee's request for mediation.




J.     End of mediation period and notice. (Chapter IX, sec. 9D.)




     EDR Bench Book for Judges (March 2011)                                           97


         Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 133 of 159
       1.    If, at the end of the mediation period, the parties have not resolved the
             matter that is the subject of the mediation request, the EDR Coordinator
             notifies the aggrieved employee, the aggrieved employee's representative,
             if any, and the employing office, in writing, that the mediation period has
             ended.
       2.    The notice also informs the aggrieved employee of his/her right to file a
             complaint.
K.     Mediation record.
       1.    The mediator should maintain a record of all mediation contacts and any
             issues raised during mediation that were not identified in the request for
             mediation and make it available to the EDR Coordinator.
       2.    If the aggrieved employee files a complaint under Chapter IX, sec. 10,
             designated judicial officer has access to the record of any claims raised in
             mediation.
       3.    The mediation record should include:
                   a.      Identifying information about the aggrieved employee (name,
                           job title, address, phone number);
                   b.      Identifying information about the employing office (names,
                           job titles, addresses, phone numbers);
                   c.      A description of the specific claims addressed in the
                           mediation, including any additional claims not identified in
                           the request for mediation;
                   d.      The date(s) of the mediation session(s) and duration of the
                           session(s);
                   e.      The outcome of the mediation (settlement agreement/no
                           settlement).




     EDR Bench Book for Judges (March 2011)                                               98


         Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 134 of 159
                                                                      APPENDIX B-4
                                        SAMPLE
                              MEDIATOR'S REPORT
                                   Case File No. 00-001
I.      Mediator:
        A.    Name of Mediator:         Betty Jones
        B.     Business Address:        Jones and Associates, 123 W. Main Street, Some
                                        City, PA 12345
        C.     Business Telephone No.: (728) 222-2929
        D.    Business Fax No.:         (728) 222-2930
II.     Parties:
        A.    Employee (Name, Job Title, Employing Office, Address, Phone No.):
              Julia Boyd, Court Reporter, U.S. Federal Court, Some City, PA 12355,
              (728) 177-0455
              Employee Representative (Name, Address, Phone No.): Claudia Rivers,
              Law Offices of Claudia Rivers, 778 E. Main Street, Some City, PA
               12344, (728) 519-6189
        B.    Management Official (Name, Job Title, Employing Office, Address,
              Phone No.): Stuart Ferguson, Clerk of Court, U.S. Federal Court, Some
              City, PA 12355, (728) 177-4100
              Management Representative (Name, Address, Phone No.): None




      EDR Bench Book for Judges (March 2011)                                          99


          Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 135 of 159
III. Key Dates:
       A.        Date of notification of right to request mediation: July 5, 2000
                 Date of written request for mediation: July 10, 2000
                 Reason for delay of mediation request beyond 15 days, if applicable:
                 N/A
       B.        Date Mediator first contacted parties:
                 Employee: July 12, 2000
                 Management Official: July 12, 2000
       C.        Mediation session(s) (list date and number of hours of each session):
                 Date: July 17, 2000               No. of Hours: 4
       D.        Date(s) and Nature of Additional Contact with Parties, if any: None
IV.    Claims Mediated (briefly identify allegations and bases):
       Employee alleges she was discriminated against on the basis of sex (female) when
       she was denied 12 weeks unpaid leave and placed on AWOL status on June 1,
       2000. She alleges she cannot return to work because she still is in rehabilitation and
       the building is partially inaccessible to her wheelchair. She further alleges the
       denial of leave violated the Family and Medical Leave Act.
V.     Outcome:
       A.        Session Resulted in Resolution: Yes:        No: X
            1.   If Settled: N/A
                 Date Settlement Agreement Signed by Parties:
                 Date Copy of Agreement Provided to Each Party:
                 If case was settled without written agreement, explanation:




     EDR Bench Book for Judges (March 2011)                                              100


         Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 136 of 159
     2.    If Not Settled:
           Date of Notification to EDR Coordinator that Mediation Has Concluded:
           July 18, 2000.




EDR Bench Book for Judges (March 2011)                                      101


    Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 137 of 159
                                                                           APPENDIX C


                              RELEVANT DOCUMENTS


1.        Generic disparate treatment
          a.      Workforce profile, as of the date of the action at issue, showing for
                  each employee under the direct and indirect supervision of the official
                  who made the decision at issue: organizational unit, name, position
                  title, series, grade, and identification of membership in the protected
                  group(s) which form the basis for the complaint.
          b.      Documentation showing whether the action at issue occurred, when it
                  occurred, and why it occurred.
          c.      Documentation showing similar actions taken by the official
                  responsible for the action at issue in the two-year period prior to the
                  action at issue, with each affected employee identified by the protected
                  group(s) which form the basis for the complaint, redacted for privacy
                  considerations, as appropriate.
          d.      Pertinent policy manuals, guides, and regulations governing the action
                  at issue in effect as of the date of the action at issue.
2.        Sexual harassment
          a.      Workforce profile, as of the date of the action at issue (or, if a
                  continuing violation, as of the date of complaint), showing for each
                  employee under the direct and indirect supervision of the official who
                  allegedly harassed the complainant, or, if the alleged harassment was
                  by a coworker or nonemployee, the official who knew or should have
                  known of the harassment: organizational unit, name, position title,
                  series, grade, and sex.


         b.    Documentation of the alleged harassment at issue, such as
               contemporaneous notes kept by the complainant.

     EDR Bench Book for Judges (March 2011)                                            102


         Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 138 of 159
       c.    Documentation of other allegations of harassment made by others against
             the manager, employee, or nonemployee who is alleged to have harassed
             the complainant. Documentation should be redacted for privacy
             considerations, as appropriate.
       d.    Documentation of any sexual harassment prevention training provided to
             the alleged harasser by the Agency prior to the alleged harassment at
             issue.
       e.    Sexual harassment policy and guidance.
3.     Reasonable accommodation to disability
       a.    Workforce profile, as of the date of the action at issue, showing for each
             employee under the direct and indirect supervision of the official who
             made the accommodation decision at issue: organizational unit, name,
             position title, series, grade, and disability status.
       b.    Complainant's request(s) for accommodation and agency response(s).
       c.    Medical documentation showing complainant's physical or mental
             impairment.
       d.    Complainant's position description as of the request(s) for
             accommodation.
       .
       e.    Agency policy on reasonable accommodation in effect as of the denial of
             the request for accommodation at issue.




4.     Failure to promote (career, noncompetitive)
       a.    Workforce profile, as of the date of the failure to promote at issue,
             showing for each employee under the direct and indirect supervision of

     EDR Bench Book for Judges (March 2011)                                           103



         Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 139 of 159
             the official who failed to promote the complainant: organizational unit,
             name, position title, series, grade, and identification of membership in the
             protected group(s) which form the basis for the complaint.
       b.    Complainant's position description as of the date of the complaint.
       c.    Position description for position to which the complainant states he/she
             should have been promoted.
       d.    Personnel action showing the complainant's position in effect as of the
             date of the complaint.
       e.    Complainant's performance evaluations and standards for the two year
             period prior to his/her complaint.
       f.    For the two-year period prior to the complaint, listing of all career
             promotions of employees under the supervision of the official responsible
             for the complainant's nonpromotion, with each employee identified by the
             protected group(s) which form the basis for the complaint, redacted for
             privacy considerations, as appropriate. Please also indicate the time in
             grade for each of these employees prior to their promotion.
       g.    Qualification and classification standards for the series and grade
             complainant was in at the time of the complaint and for the position to
             which the complainant states he/she should have been promoted.
       h.    Pertinent policy manuals, guides and regulations governing career ladder
             promotions in effect as of the date of the action at issue.




5.     Nonselection




     EDR Bench Book for Judges (March 2011)                                             104



         Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 140 of 159
      a.    Workforce profile, as of the date of the action at issue, showing for each
            employee under the direct and indirect supervision of the selecting
            official: organizational unit, name, position title, series, grade, and
            identification of membership in the protected group(s) which form the
            basis for the complaint.
      b.    Documentation contained in the selection file for the position at issue,
            advertised under announcement number ____:
            (1)    Announcement;
            (2)    Position description;
            (3)    Ratings and rankings of candidates;
            (4)    Selection referral(s) (certificates), with each candidate referred for
                   selection consideration, if known, identified by the protected
                   group(s) which form the basis for the complaint;
            (5)    Interview questions and notes, if applicable;
            (6)    Any written recommendation or justification for the selection at
                   issue;
            (7)    Documentation of complainant's notification of nonselection;
            (8)    Applications of complainant and selectee(s).
      c.    Selection referrals (certificates) for all selections made by the selecting
            official in the two-year period prior to the selection at issue, with each
            candidate referred for selection consideration identified by the protected
            group(s) which form the basis for the complaint, if known, redacted for
            privacy considerations, as appropriate.
      d.    Pertinent policy manuals, guides, and regulations governing competitive
            selection in effect as of the date of the selection at issue.




6. Disciplinary action


   EDR Bench Book for Judges (March 2011)                                              105



       Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 141 of 159
       a.    Workforce profile, as of the date of the discipline at issue, showing for
             each employee under the direct and indirect supervision of the official
             who disciplined the complainant: organizational unit, name, position title,
             series, grade, and identification of membership in the protected groups(s)
             which form the basis for the complaint.
       b.    Complainant's position description in effect at the time the discipline was
             proposed or issued.
       c.    Pertinent documentation on the discipline at issue, including:
             (1)   The personnel action showing the disciplinary action;
             (2)   Any proposal to discipline, with all supporting documentation;
             (3)   Complainant's response, if any;
             (4)   Decision letter.
       d.    Disciplinary actions taken by the official who disciplined the complainant
             during the two-year period prior to the action at issue, with each
             disciplined employee identified by the protected group(s) which form the
             basis for the complaint, redacted for privacy considerations, as
             appropriate.
       e.    Record of any previous disciplinary action taken against the complainant.
       f.    Rules and regulations on discipline, including any table of penalties, as of
             the date of the discipline at issue.
7.     Performance evaluation
       a.    Workforce profile, as of the date of the action at issue, showing for each
             employee under the official who rated the complainant's performance:
             organizational unit, name, position title, series, grade, and identification of
             membership in the protected group(s) which form the basis for the
             complaint.


       b.    Complainant's position description as of the rating period at issue.


     EDR Bench Book for Judges (March 2011)                                             106



         Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 142 of 159
     c.    Performance evaluations and standards for all employees whose
           performance was rated by the official who rated the complainant's
           performance for the rating period at issue and for the previous year, with
           each employee identified by membership in the protected group(s) which
           form the basis for the complaint, redacted for privacy considerations, as
           appropriate.
     d.    Workproduct documentation on the complainant's performance during the
           rating period at issue.
     e.    Workproduct documentation on employees in the complainant's position
           and grade who were rated more favorably than the complainant during the
           performance period at issue by the official who rated the complainant's
           performance.
     f.    Any record of counseling or performance discussion with complainant
           during the performance period at issue.
     g.    Evaluations of the complainant under different management in the two
           year period prior to the evaluation at issue.
     h.    Pertinent policy manuals, guides, and regulations governing rating of
           employee performance in effect as of the date of the performance rating at
           issue.
8. Leave
     a.    Workforce profile, as of the date of the denial of leave at issue, showing
           for each employee under the direct and indirect supervision of the official
           who denied the complainant's leave: organizational unit, name, position
           title, series, grade, and identification of membership in the protected
           group(s) which form the basis for the complaint.
     b.    Complainant's request(s) for leave, management's response, and
           supporting documentation.
     c.    Complainant's time and attendance records for the two year period prior to
           the denial of leave at issue.




  EDR Bench Book for Judges (March 2011)                                           107



      Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 143 of 159
      d.    Documentation of any counseling provided the complainant regarding
            leave prior to denial of leave at issue.
      e.    Requests for leave and management response for all other leave denied by
            the official responsible for denying the complainant leave, in the two-year
            period prior to the action at issue, with each affected employee identified
            by the protected group(s) which form the basis for the complaint, redacted
            for privacy considerations, as appropriate.
      f.    Pertinent rules and regulations governing denial of leave in effect as of the
            date of the action at issue.
9. Detail or reassignment
      a.    Workforce profile, as of the date of the action at issue, showing for each
            employee under the direct and indirect supervision of the official who
            made the detail or reassignment decision at issue: organizational unit,
            name, position title, series, grade, and identification of membership in the
            protected groups(s) which form the basis for the complaint.
      b.    Personnel action on the detail or reassignment at issue.
      c.    Complainant's position description prior to the detail or reassignment at
            issue.
      d.    Complainant's position description after the detail or reassignment at
            issue.
      e.    Notice to the complainant on the detail or reassignment at issue and any
            underlying documentation.
      f.    For the two-year period prior to the detail or reassignment at issue, a
            listing of all other involuntary details or reassignments made by the
            official responsible for the decision at issue, with each affected employee
            identified by the protected group(s) which form the basis for the
            complaint, redacted for privacy considerations, as appropriate.
      g.    Pertinent policy manuals, guides, and regulations governing detail or
            reassignment in effect as of the date of the action at issue.



   EDR Bench Book for Judges (March 2011)                                            108



       Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 144 of 159
10.      Denial of training
         a.        Workforce profile, as of the date of the denial of the request for training at
                   issue, showing for each employee under the direct and indirect
                   supervision of the official who denied the complainant's request for
                   training: organizational unit, name, position title, series, grade, and
                   identification of membership in the protected group(s) which form the
                   basis for the complaint.
         b.        Complainant's request for training and management response.
         c.        Complainant's position description as of the date of the denial of the
                   request for training at issue.
         d.        Complainant's training plan in effect as of the denial of the request for
                   training at issue, if applicable.
         e.        Record of training for complainant for the two year period prior to the
                   denial of request for training.
         f.        For the two year period prior to the denial of the request for training at
                   issue, record of all other training requests denied by the official who
                   denied complainant's request for training, with each employee denied
                   training identified by the protected group(s) which form the basis for the
                   complaint.
         g.        Record of training for all other employees under the direct and indirect
                   supervision of the official10 who denied the complainant's request for
                   training, with each affected employee identified by the protected group(s)
                   which form the basis for the complaint, redacted for privacy
                   considerations, as appropriate.




              10
                This comparative data may be narrowed to other employees in the same position and
      grade as complainant, as appropriate.

      EDR Bench Book for Judges (March 2011)                                                        109



           Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 145 of 159
                                                                        APPENDIX D


              STATUTES RELATED TO THE MODEL EDR PLAN


1.     Title VII, Civil Rights Act of 1964, 42 U.S.C. sec. 2000e et seq. (Chapter II
       of the Model EDR Plan.)
       A.    Major provisions
             1.    Prohibits employment discrimination or harassment based on:
                   a.    Race,
                   b.    Color,
                   c.    Religion,
                   d.    Sex (including sexual harassment and discrimination based
                         on pregnancy), and
                   e.    National origin.
             2.    Theories of discrimination include:
                   a.    Disparate treatment/intentional discrimination,
                   b.    Disparate impact/adverse impact, which does not require
                         intent,
                   c.    Harassment (hostile work environment and quid pro quo),
                   d.    Failure to make reasonable accommodation,
             3.    Prohibits retaliation or reprisal for engaging in previous EEO
                   activity.




     EDR Bench Book for Judges (March 2011)                                         110



         Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 146 of 159
B.     Coverage
             1.    Substantive protections provided by the statute apply to all
                   employees and employing offices covered under the Model EDR
                   Plan. Check coverage under court EDR Plan.
             2.    The age discrimination provision of Chapter II, sec. 1, of the Model
                   EDR Plan does not apply to the initial hiring of probation and
                   pretrial services officers or assistants. Chapter II, sec. 3. See
                   Report of the Proceedings of the Judicial Conference of the United
                   States (March 1991), pp. 16-17.
2.     Age Discrimination in Employment Act of 1967 (ADEA), 29 U.S.C. sec. 621
       et seq. (Chapter II of the Model EDR Plan.)
       A.    Major provisions
             1.    Prohibits employment discrimination based on age.
             2.    Age must be established as the determinative factor in the
                   employer's decision.
       B.    Coverage
             1.    Substantive protections provided by the statute apply to all
                   employees of employing offices who are 40 years of age or older
                   under the Model EDR Plan. Check coverage under court EDR
                   Plan.
             2.    The age discrimination provision of Chapter II, sec. 1, of the Model
                   EDR Plan does not apply to the initial hiring of probation and
                   pretrial services officers or assistants. Chapter II, sec. 3. See
                   Report of the Proceedings of the Judicial Conference of the United
                   States (March 1991), pp. 16-17.




     EDR Bench Book for Judges (March 2011)                                          111



         Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 147 of 159
3.     Rehabilitation Act of 1973, 29 U.S.C. sec. 791 et seq, and Americans with
       Disabilities Act of 1990 (ADA), 42 U.S.C. sec. 12101 et seq., as amended by
       the American with Disabilities Act Amendments Act of 2008 (ADAA).
       (Chapter II of the Model EDR Plan.)
       A.    Major provisions
             1.    Prohibit intentional employment discrimination against persons
                   with disabilities.
             2.    A disabled person is defined as one who:
                   a.    Has a "major physical or mental impairment that
                         substantially limits one or more of [such person's] major life
                         activities." Major life activities include but are not limited to:
                         (1) - Caring for oneself, performing manual tasks, seeing,
                         hearing. eating, sleeping, walking, standing, lifting, bending,
                         speaking, breathing, learning, reading, concentrating,
                         thinking, communicating, and working; and
                         (2) - The operation of a major bodily function including but
                         not limited to, function of the immune system, normal cell
                         growth, digestive, bowel, bladder, neurological, brain,
                         respiratory, circulatory, endocrine, and reproductive
                         functions.
                   b.    Has a "record of such an impairment"; or
                   c.    Is "regarded as having such an impairment". See 42 U.S.C.
                         sec. 12102(2).
             3.    Require reasonable accommodation to the known limitations of an
                   otherwise qualified disabled person to perform the essential
                   functions of his/her position, unless such accommodation would
                   result in an undue hardship to the employer.
             4.    Prohibit discrimination against an employee because of his/her
                   association with a disabled person, e.g., an employee's spouse.
       B.    Coverage

     EDR Bench Book for Judges (March 2011)                                            112



         Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 148 of 159
           1.    Substantive protections provided by the statute apply to all disabled
                 employees of an employing office who meet the above definition
                 under the Model EDR Plan. Check coverage under court EDR
                 Plan.
           2.    Apply to all employees of an employing office who are associated
                 with disabled persons who meet the above definition under the
                 Model EDR Plan. Check coverage under court EDR Plan.
4. Family and Medical Leave Act of 1993 (FMLA), 5 U.S.C. sec. 6381 et seq.
   (Chapter III of the Model EDR Plan.)
  A.       Major provisions
           1.    Provides a maximum of 12 weeks unpaid leave (for which paid
                 leave may be substituted at the employees discretion) in a 12-month
                 period to eligible employees for one or more of the following
                 reasons:
                 a.    Birth of newborn child;
                 b.    Care of adopted or foster child (within one year after
                       placement);
                 c.    Care of spouse, child, or parent with a serious health
                       condition; and/or
                 d.    A serious health condition that makes the employee unable to
                       perform his/her job functions.
           2.    "Serious health condition" is defined as an illness, injury,
                 impairment, or physical or mental condition that involves:
                 a.    Inpatient care in a:
                       (1)    Hospital;
                       (2)    Hospice; or
                       (3)    Residential medical care facility; or




  EDR Bench Book for Judges (March 2011)                                           113



       Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 149 of 159
               b.    Continuing treatment by a health care provider, as further
                     defined in 5 C.F.R. sec. 630.1202.
         3.    Provides military family leave entitlements for a federal employee
               who is the spouse, son, daughter, parent, or next of kin (defined as
               the nearest blood relative) of a covered service member with a
               serious injury or illness and who provides care for such service
               member.
               a.    The serious illness or injury must have been incurred by the
                     covered service member in the line of duty while on active
                     duty in the Armed Forces.
               b.    Covered family members are entitled to up to 26 weeks of
                     FMLA leave during a single 12-month period to care for the
                     service member (hereafter referred to as “military family
                     leave”).
               c.    During the single 12-month period, the employee is entitled
                     to a combined total 26 weeks of regular FMLA leave and
                     military family leave.
               d.    The use of this military family leave in a single 12-month
                     period does not limit the use of regular FMLA leave during
                     any other 12-month period.
B.       Coverage
         1.    The Model EDR Plan reaffirms that Title II of FMLA applies by
               statute to judicial branch employees, as described in Vol. 12,
               Chapter 9, sec. 920.20.35, Guide to Judiciary Policies.
         2.    Covered employees must have completed at least 12 months of
               civilian service with the federal government.
         3.    The 12-month period of FMLA leave is computed 12 months from
               date of employee's first FMLA leave; see 5 C.F.R. sec. 630.1203(c).




EDR Bench Book for Judges (March 2011)                                            114



     Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 150 of 159
           4.   A covered employee must provide:
                a.    At least 30 days advance notice when the leave is
                      foreseeable; 5 C.F.R. sec. 630.1206; and
                b.    Adequate and acceptable medical documentation, 5 C.F.R.
                      sec. 630.1207. The employing office may require:
                      (1)     Certification by a health care provider; and
                      (2)     A second opinion, if it doubts the opinion of the
                              primary health care provider; and
                      (3)     A mandatory third opinion to resolve any conflict
                              between the first and second opinions.
           5.   An employer may not designate leave as FMLA leave unless the
                employer has obtained confirmation from the employee of intent to
                invoke FMLA leave; 5 C.F.R. sec. 630.1203(h).
           6.   Employees may elect to substitute annual leave or sick leave for
                leave without pay consistent with the laws and regulations covering
                usage. 5 CF.R. Sec. 630.1205 (e).
           7.   An employee may not retroactively designate paid leave for leave
                without pay. 5 C.F.R. sec. 630.1205(e).
5. Worker Adjustment and Retraining Notification Act (WARN), 29 U.S.C. sec.
   2101 et seq. Chapter IV of the Model EDR Plan.
     A.    Major provisions
           1.   Requires a 60-day written notice to affected employees before an
                "employing office closing" or a "mass layoff."
           2.   Defines the term "employing office closing" as:
                a.    The permanent or temporary shutdown of a single
                      employment site, if:
                b.    The shutdown results in an employment loss of 50 or more
                      full-time employees during any 30-day period.


  EDR Bench Book for Judges (March 2011)                                          115



      Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 151 of 159
        3.    Defines the term "mass layoff" as:
              a.    A reduction-in-force (RIF) at a single employment site
                    during any 30-day period, resulting in termination or layoff
                    of at least 33% of full-time employees, where at least 50 full-
                    time employees are affected; or
              b.    A RIF of at least 500 full-time employees, regardless of the
                    percentage of the workforce; and
              c.    In either a. or b. above, the RIF is not the result of an
                    employing office closing.
        4.    Delineates notice requirements:
              a.    The notice must be in writing;
              b.    The notice must be issued to all affected employees, defined
                    as those who reasonably may be expected to experience an
                    employment loss as a consequence of their employing
                    office's closing or mass layoff.
              c.    The notice period must be at least 60 days, except where:
                    (1)   Court business circumstances exist that were not
                          reasonably foreseeable at the time the 60-day notice
                          would have been required; or
                    (2)   A natural disaster, such as an earthquake, flood, or
                          hurricane, has occurred.
              d.    Additional notice should be given to affected employees
                    when the date, or schedule of dates, of a planned office
                    closing or mass layoff is extended beyond the date
                    announced in the original notice.




EDR Bench Book for Judges (March 2011)                                           116



    Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 152 of 159
B.     Coverage
             1.    Does not apply to an employee office closing or mass layoff that
                   results from the absence of appropriated funds.
             2.    Applies to all court employees whose employing offices meet the
                   above definitions.
6.     Uniformed Services Employment and Reemployment Rights Act
       (USERRA), 38 U.S.C. sec. 4301 et seq. (Chapter V of the Model EDR Plan.)
       A.    Major provisions
             1.    Prohibits employing offices from denying:
                   a.    Initial employment;
                   b.    Reemployment;
                   c.    Retention in employment;
                   d     Promotion; or
                   e.    Any other employment benefit.
             2.    On the basis of the employee's:
                   a.    Service;
                   b.    Application for service; or
                   c.    Obligation of service in the "uniformed services."
             3.    The service, application for, or obligation of, service must be a
                   "substantial or motivating factor" in any adverse employment
                   action.
             4.    An employee must timely request reemployment upon return from
                   service in the uniformed services by:
                   a.    Reporting for work in the employing office the next day; or




     EDR Bench Book for Judges (March 2011)                                            117



         Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 153 of 159
              b.    Submitting an application for reemployment with the
                    employing office within 14-90 days, depending on how long
                    the service lasted.
        5.    The time for reemployment may be extended for up to two years
              based on a service-connected injury.
        6.    A reemployed eligible employee:
              a.    Is entitled to:
                    (1)    The seniority and other seniority-based rights and
                           benefits he/she had on the date of the beginning of the
                           service; and
                    (2)    Any additional rights and benefits he/she would have
                           received with continuous employment.
              b.    May elect to continue health insurance coverage, with
                    payment, for up to 18 months while performing service.
              c.    Must receive credit for the period of service as if employed
                    by the employing office, for purposes of accrual and non-
                    forfeitability of benefits.
              d.    Is protected from termination, except for cause, for 180 days
                    or one year, depending on the length of service in the
                    uniformed services.
        7.    The employing office is not required to reemploy an eligible
              employee, if it establishes any of the following:
              a.    The employing office's circumstances have so changed that
                    reemployment is unreasonable or impossible;
              b.    Reemployment would impose an undue hardship on the
                    employer; or
              c.    The eligible employee's original employment was for a brief,
                    nonrecurrent period, and there was no reasonable expectation



EDR Bench Book for Judges (March 2011)                                          118



    Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 154 of 159
                     that employment would continue indefinitely or for a
                     significant period.
B.       Coverage
         1.    Applies by statute to all judiciary branch employees who meet the
               following statutory criteria:
               a.    Performed service in the uniformed services, including:
                     (1)   Armed Forces;
                     (2)   National Guard;
                     (3)   Commissioned Corps of the Public Health Service; or
                     (4)   Any other category designated by the President during
                           time of war or national emergency.
               b.    Service includes:
                     (1)   Weekend drills and training; and
                     (2)   All periods of voluntary or involuntary active service.
         2.    Does not apply to employees:
               a.    Terminated from service because of dishonorable or bad
                     conduct discharge;
               b.    Separated under other than honorable conditions;
               c.    Dismissed by a general court martial, by commutation of
                     sentence, or by order of the President in time of war; or




         d.    Dropped from the rolls because of:




EDR Bench Book for Judges (March 2011)                                           119



     Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 155 of 159
                         (1)    An unauthorized three-month absence; or
                         (2)    A sentence to confinement.
       C.    Remedies
             Where a court is unable to reemploy an eligible employee:
             1.    The employing office:
                   a.    May notify the Office of Personnel Management (OPM) of
                         the inability to reemploy; and
                   b.    Should notify the eligible employee of his/her rights under 38
                         U.S.C. sec. 4314, including his/her right to apply to OPM.
             2.    OPM is required, under 38 U.S.C. sec. 4301 et seq., to find a
                   position for the eligible employee in an executive branch agency.
7.     Occupational Safety and Health Act of 1970 (OSHA), 29 U.S.C. sec. 651 et
       seq. (Chapter VI of the Model EDR Plan.)
       A.    Major provisions
             1.    Employing office must provide a place of employment to its
                   employees which is free from recognized hazards that cause, or are
                   likely to cause, death or serious physical harm.
             2.    Courts are required to implement a health and safety program under
                   standards established by the Occupational Safety and Health
                   Administration (OSHA).
       B.     Coverage
             1.    Applies to all employees and employing offices covered under the
                   Model EDR Plan.
             2.    The Judiciary:
                   a.    Has no direct authority to procure facilities for its own use.




     EDR Bench Book for Judges (March 2011)                                           120



         Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 156 of 159
                     b.    Generally occupies property acquired and maintained by the
                           General Services Administration (GSA) and the United
                           States Postal Service (USPS).
                           (1)    GSA and USPS are subject to OSHA regulations and
                                  additional safety and health regulations applicable to
                                  federal agencies.
                           (2)    GSA and USPS do not oversee tenant-controlled
                                  space.
                     c.    Courts occupying space which neither GSA nor USPS
                           oversees are required to implement a program to ensure a
                           place of employment free from recognized hazards that cause
                           or are likely to cause death or serious physical harm to
                           employees.
          C.   Special procedural considerations
               Alleged violations involving property exclusively within the jurisdiction
               of GSA or USPS should be filed directly with GSA or USPS.
8.        Employee Polygraph Protection Act of 1988 (EPPA), 29 U.S.C. sec. 2001 et
          seq. Chapter VII of the Model EDR Plan.
          A.   Major provisions
               1.    Prohibits requiring employees or prospective employees to take a
                     polygraph test, with certain exceptions.
               2.    Prohibits, with certain exceptions, requesting employees to take a
                     polygraph test.




     B.        Application to the Judiciary




     EDR Bench Book for Judges (March 2011)                                            121



           Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 157 of 159
        1.    The Judicial Conference Report (December 1996), which studied
              Judicial Branch coverage of applicable statutes, affirmed the
              principles of the EPPA.
        2.    The Judicial Branch does not currently request or require its
              employees or prospective employees to take a polygraph test for
              any reason except where required to access classified information
              or where otherwise required by law.
        3.    Under Chapter VII, sec. 1, of the Model EDR Plan, no employee
              may be required to take a polygraph test except as noted above.
  C.    Coverage
        With limited exceptions noted in 8B2, above, the principles of the EPPA
        apply to all employees and employing offices covered under the Model
        EDR Plan except to the extent the Model EDR plan is modified by a
        circuit or local plan.




EDR Bench Book for Judges (March 2011)                                          122



    Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 158 of 159
B.        Application to the Judiciary
          1.    The Judicial Conference Report (December 1996), which studied
                Judicial Branch coverage of applicable statutes, affirmed the
                principles of the EPPA.
          2.    The Judicial Branch does not currently request or require its
                employees or prospective employees to take a polygraph test for
                any reason except where required to access classified information
                or where otherwise required by law.
          3.    Under Chapter VII, sec. 1, of the Model EDR Plan, no employee
                may be required to take a polygraph test except as noted above.
     C.   Coverage
          With limited exceptions noted in 8B2, above, the principles of the EPPA
          apply to all employees and employing offices covered under the Model
          EDR Plan except to the extent the Model EDR plan is modified by a
          circuit or local plan.




EDR Bench Book for Judges (March 2011)                                            123



      Case 1:20-cv-00066-WGY Document 78-5 Filed 10/02/20 Page 159 of 159
